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                         Exhibit A

                        Time Entries
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quinn emanuel trial lawyers
865 S. Figueroa Street, 10th Floor
Los Angeles, California 90017




                                                                September 06, 2023



John Ray III
Chief Executive Officer
Unit #3B, Bryson's Commercial Complex
Friars Hill Road
St. John's Antigua

Matter #: 11807-00001
Invoice Number: 101-0000157114
Responsible Attorney: Sascha Rand



                                                                     FTX Trading


For Professional Services through July 31, 2023 in connection with role as special litigation counsel for FTX
Trading Ltd. and its Affiliated Debtors.


                                                                           Fees                                                              $4,540,067.55
                         Credit for 50% Non-working Travel                                                                                          -$1,718.10
                                                          Net Billed Fees                                                                    $4,538,349.45
                                                                   Expenses                                                                         $10,027.36
                                                              Net Amount                                                                     $4,548,376.81
                                              Total Due This Invoice                                                                         $4,548,376.81




Confidential – May include attorney-client privileged and work-product information

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                                                                  Statement Detail

01 Asset Analysis and Recovery


07/01/23       SNR                       Address strategy re: Grayscale                                                                       0.80     1,274.40
                                         complaint and various
                                         communications w/ counsel for
                                         holder re: same (0.8).

07/01/23       SH6                       Team onboarding for counsel                                                                          2.80     2,356.20
                                         conflicts issues (0.6); analyze rule
                                         2004 response for deficiencies and
                                         correspondence with K. Lemire re:
                                         the same (1.9); correspondence with
                                         rule 2004 recipient re: production
                                         (0.3).

07/02/23       KL                        Review investigative report outline                                                                  0.80     1,274.40
                                         on professionals (.8).

07/02/23       TCM                       Call w/ S. Hill re. fact memoranda re.                                                               0.40      486.00
                                         two investigative targets (.4).

07/02/23       SH6                       Conference with T. Murray re: rule                                                                   0.40      336.60
                                         2004 targets and professionals
                                         investigative report (0.4).

07/03/23       MS1                       Investigations team meeting (.3);                                                                    5.00     3,735.00
                                         review in connection with
                                         investigations target (4.7).

07/03/23       TCM                       Review of draft 2004 process and                                                                     0.30      364.50
                                         procedures memo and draft
                                         professionals investigative report
                                         outline (.3).

07/03/23       JP                        Internal correspondence regarding                                                                    0.40      457.20
                                         Rule 2004 productions (0.4).

07/03/23       KL                        Edit investigative report outline (.7);                                                              2.10     3,345.30
                                         review J. Ray report to board (.2);
                                         draft emails re status of 2004
                                         discovery (.2); tc S. Hill re
                                         professionals investigative report and
                                         law firm 2004 responses (.2); edit
                                         memo re person of interest and viable
                                         claims (.8).


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07/03/23       DRM                       Confer with S. Hill and A. Gerber re:                                                                6.00     4,482.00
                                         professional targets for document
                                         review (0.3); correspondence with A.
                                         Gerber re: division of document
                                         review (0.1); review documents from
                                         professional subpoenas and confer re:
                                         same (5.6).

07/03/23       SNR                       Address Grayscale claim strategy and                                                                 2.90     4,619.70
                                         various communications re: same
                                         (1.2); address strategy re: specific
                                         venture book investment and review
                                         materials and rule 2004 discovery re:
                                         same (1.7).

07/03/23       SS7                       Participate in meeting regarding                                                                     0.50      420.75
                                         status of investigation and upcoming
                                         tasks with T. Murray and S. Hill (0.5).

07/03/23       AG3                       TC with SH and DRM regarding                                                                         3.40     2,539.80
                                         review of document produced by law
                                         firm in response to 2004 request (.3);
                                         review and analyze documents
                                         produced by law firm in response to
                                         2004 request (3.1).

07/03/23       AK2                       Review and analyze communications                                                                    0.20      243.00
                                         re: upcoming Reports and outlines
                                         relating to same (.2).

07/03/23       SH6                       Conference with D. Murphy, A.                                                                        9.00     7,573.50
                                         Gerber, and M. Smith re:
                                         professionals investigative report
                                         review (0.3); conference with K.
                                         Lemire re: staffing matters and
                                         investigations topics (0.2); conference
                                         with T. Murray and S. Snow re:
                                         staffing (0.5); review third party
                                         production to 2004 request (1.3); draft
                                         investigative report processes and
                                         procedures regarding rule 2004
                                         requests (4.6); onboard team
                                         members for professionals review
                                         (0.6); internal correspondence with
                                         QE reviewers re: professionals report
                                         workflow and follow-up (1.1);
                                         correspondence with K. Lemire and

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                                         C. Mund re: counsel conflicts matters
                                         (0.4).

07/04/23       TCM                       Call w/ K. Lemire and S. Hill re.                                                                    1.60     1,944.00
                                         continued document review and
                                         drafting memoranda on particular
                                         insiders and outside professionals
                                         investigative report (1).

07/04/23       CM                        Review and analysis of documents                                                                     4.20     2,135.70
                                         received from law firm investigative
                                         target in connection with
                                         professionals investigation (2.9);
                                         Prepare legal memorandum
                                         summarizing pertinent documents in
                                         connection with same (1.3).

07/04/23       DRM                       Review and analyze documents from                                                                    5.40     4,033.80
                                         professional subpoenas (5.4).

07/04/23       SS7                       Analyze documents produced by                                                                        3.40     2,861.10
                                         third party to determine relevance
                                         and draft memorandum regarding
                                         the same (3.4).

07/04/23       AG3                       Review and analyze documents                                                                         4.70     3,510.90
                                         produced by law firm in response to
                                         2004 request (4.7).

07/04/23       KL                        Edit and add material to investigative                                                               2.70     4,301.10
                                         report outline (.4); edit memo on
                                         person of interest (2.3).

07/04/23       SH6                       Review third-party production to                                                                     3.40     2,861.10
                                         2004 request (3.1); review and revise
                                         professionals investigative report
                                         outline (0.3).

07/05/23       AR0                       Weekly team call (0.5).                                                                              0.50      571.50

07/05/23       KL                        Edit draft outline for professionals                                                                 5.80     9,239.40
                                         investigative report (1.2); read and
                                         reply to emails re same (.3); edit
                                         memo on subject of interest and
                                         potential claims (1.2); review emails
                                         re 2004 requests (.2); emails re
                                         upcoming interviews (.2); tc T.
                                         Murray re reports on subjects and
                                         2004 responses (.7); weekly internal
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                                         QE call (.5); tc A. Alden re
                                         professionals investigative report
                                         outline (.2); call with 2004 team re
                                         updates (.3); tc S. Hill re professionals
                                         investigative report and 2004
                                         requests (1.0).

07/05/23       OBY                       Review outside law firm documents                                                                    2.10     1,899.45
                                         and send summary to S. Hill for
                                         professionals investigative report
                                         (1.0); call with K. Sullivan, A. Curran,
                                         C. Mund on professionals
                                         investigative report target (.6); follow
                                         up call with K. Sullivan on same (.2);
                                         update 2004 tracker with updates
                                         from targets (.3).

07/05/23       AS2                       Review and revise amended                                                                            4.20     4,800.60
                                         complaint in Grayscale litigation
                                         (3.4); review team legal research
                                         work product in connection with
                                         motion to dismiss issues in Grayscale
                                         litigation (0.8).

07/05/23       TS4                       Review documents for potential                                                                       3.30     2,776.95
                                         avoidance action against
                                         investigative target (1.1); prepare
                                         memorandum related to strength of
                                         avoidance actions against potential
                                         target investigative target (1.3);
                                         prepare memorandum related to
                                         strength of avoidance action related
                                         to different investigative target (0.7);
                                         review correspondence from A&M
                                         regarding potential targets (0.2).

07/05/23       TCM                       Calls w/ K. Lemire re. on-going work                                                                 4.40     5,346.00
                                         on memoranda for particular insiders
                                         and privilege issues re. certain 2004
                                         productions (.7); Rule 2004 team call
                                         (.3); continued M&C with particular
                                         university re. status of Rule 2004
                                         production and follow-up call and
                                         emails w/ S. Hill (1.2); review of 2004
                                         production protocol proposal from
                                         insider's counsel (.2); review relevant
                                         documents and draft professionals
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                                         investigative report outline insert
                                         (1.8); review of detailed prof.
                                         investigative report outline and
                                         emails re. same (.2).

07/05/23       KJS                       Prepare for and attend weekly QE                                                                     0.50      958.50
                                         team call (0.5).

07/05/23       JY1                       Weekly team meeting (partial                                                                         1.00     1,183.50
                                         attendance) (.3); conference regarding
                                         2004 requests (.3); correspondence
                                         regarding review projects and
                                         staffing (.4).

07/05/23       GC2                       Call with Sophie Hill re: asset                                                                      4.10     3,062.70
                                         analysis (0.2); analysis of third party
                                         pre-bankruptcy involvement (3.9).

07/05/23       CM                        Review and analysis of documents                                                                     4.10     2,084.85
                                         received from law firm in connection
                                         with professionals investigation (2.8);
                                         review and revise legal
                                         memorandum summarizing
                                         pertinent documents from review in
                                         connection with same (1.3).

07/05/23       MRS                       Attend weekly QE team call (0.5).                                                                    0.50      659.25

07/05/23       WS1                       Call with QE team re: litigation                                                                     0.90     1,121.85
                                         strategy and asset recovery (.5); call
                                         with Friedberg re: waiving service
                                         and follow-up call with QE team re:
                                         same (.3); review waiver of service
                                         form and emails with team re: same
                                         (.1).

07/05/23       EK                        Conference with team re: litigation                                                                  0.50      623.25
                                         strategy and case management
                                         updates (0.5).

07/05/23       APA                       Attend weekly QE team meeting                                                                        0.50      720.00
                                         (0.5).

07/05/23       JP                        Correspondence and coordination                                                                      3.50     4,000.50
                                         internally, with Committee, and with
                                         Rule 2004 targets regarding Rule 2004
                                         negotiations and productions (1.0);
                                         team call to discuss case updates
                                         (0.5); conference call with Rule 2004
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                                         team to discuss progress of Rule 2004
                                         productions and drafting
                                         investigative report (0.3); review and
                                         analysis of second interim report
                                         (0.7); review and revise Rule 2004
                                         motion against delinquent Rule 2004
                                         targets (1.0).

07/05/23       MW2                       Team call to discuss investigations,                                                                 0.50      373.50
                                         pending litigation and 2004 discovery
                                         (.5).

07/05/23       SNR                       Address strategy re: Friedberg                                                                       4.90     7,805.70
                                         complaint and follow up w/ W. Sears
                                         and K. Lemire re: same (0.8); address
                                         strategy re: specific venture book
                                         investments and review materials re:
                                         same (3.4); address strategy re:
                                         Grayscale claim strategy and follow
                                         up w/ E. Kapur re: same (0.7).

07/05/23       SH6                       Conference with associates regarding                                                                 9.30     7,825.95
                                         professionals investigative report
                                         review (0.4); conference with G.
                                         Coyle regarding 2004 document
                                         review (0.2); weekly all-team meeting
                                         (0.5); 2004 weekly conference (0.3);
                                         conference with K. Lemire regarding
                                         professionals investigative report
                                         outline (1); conference regarding rule
                                         2004 production and follow up call
                                         with T. Murray regarding the same
                                         (1.1); correspondence with K. Lemire
                                         re: fact research follow up for
                                         complaint target memo (1.8);
                                         onboarding team members and
                                         internal correspondence re: same
                                         (0.9); correspondence with 2004
                                         targets (0.2); review and revise
                                         accountant 2004 request and internal
                                         correspondence re: same (0.9); fact
                                         research re: professionals
                                         investigative report (1.3); analyze
                                         reviewers' findings re: 2004 review
                                         (0.7).


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07/05/23       AG3                       Review and analyze documents                                                                         8.40     6,274.80
                                         produced by law firms in response to
                                         2004 request and prepare
                                         memoranda regarding same (8.4).

07/05/23       DRM                       Review of documents from                                                                             4.60     3,436.20
                                         professional subpoena targets and
                                         confer re: same (3.2); prepare
                                         professional subpoena description
                                         and confer re: same (1.4).

07/05/23       NH2                       Weekly Team call - discussed                                                                         0.50      452.25
                                         investigation, venture deals, and
                                         other case updates (0.5).

07/05/23       AK2                       Attend weekly team meeting (.5);                                                                     0.70      850.50
                                         confer with M.Lev re: same (.1);
                                         confer with I.Nesser and Sullivan and
                                         Cromwell re: upcoming call on
                                         Ventures Report (.1).

07/05/23       SS7                       Analyze documents produced by                                                                      11.30      9,508.95
                                         third party to determine relevance
                                         (11.3).

07/05/23       MS1                       Review and analyze documents in                                                                      9.10     6,797.70
                                         connection with investigations target
                                         (9.1).

07/05/23       NH2                       Collect transactional documents for                                                                  0.40      361.80
                                         drafting a memo on a venture deal
                                         (0.4).

07/06/23       AS2                       Review and revise amended                                                                            4.50     5,143.50
                                         complaint in Grayscale litigation
                                         (2.4); legal research in support of
                                         Grayscale matter (1.7); review factual
                                         and legal work product related to
                                         Grayscale matter (0.4).

07/06/23       TS4                       Preparing memorandum for                                                                             3.10     2,608.65
                                         feasibility of avoidance action against
                                         investigative target (1.5); preparing
                                         memorandum for feasibility of
                                         avoidance action against different
                                         investigative target (1.6).

07/06/23       JY1                       Review and revise outline of                                                                         3.00     3,550.50
                                         professionals investigative report and
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                                         related correspondence (2.5);
                                         conference regarding professionals
                                         investigative report (.5).

07/06/23       GC2                       Analysis of third party involvement                                                                  3.40     2,539.80
                                         with debtors (.5); draft memorandum
                                         summarizing findings of same (2.9).

07/06/23       AK2                       Attend call with Sullivan and                                                                        1.60     1,944.00
                                         Cromwell, I.Nesser, and S.Rand re:
                                         investigative report on venture
                                         targets (.4); conduct research in
                                         support of investigative report on
                                         venture targets (.3); conduct research
                                         re: potential Rule 2004 requests on
                                         Ventures investments (.6); confer
                                         with S.Rand and I.Nesser re: Rule
                                         2004 requests on Venture Book
                                         investments (.2); confer with
                                         J.Palmerson re: Embed and Rocket
                                         actions (.1).

07/06/23       CM                        Review and analysis of documents re                                                                  4.40     2,237.40
                                         law firm Rule 2004 recipient in
                                         connection with professionals
                                         investigation (3.1); review and revise
                                         legal memorandum regarding law
                                         firm review to update following
                                         review of documents (1.2);
                                         correspondence to S. Hill regarding
                                         law firm review (0.1).

07/06/23       OBY                       Emails on professionals investigative                                                                0.20      180.90
                                         report with K. Sullivan, C. Mund, S.
                                         Hill, and J. Young (.2).

07/06/23       TCM                       Calls w/ S. Hill re. professionals                                                                   8.20     9,963.00
                                         investigative report (.4); team call re.
                                         professionals investigative report (.5);
                                         review of notes from in-house
                                         counsel interviews (.9);
                                         comprehensive review and edits to
                                         law firm section of professionals
                                         investigative report and review of
                                         supporting documents re. same (6.2);
                                         review of fact memo re. particular
                                         govt affairs firm (.2).

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07/06/23       KL                        Revise outline for professionals                                                                     4.60     7,327.80
                                         investigative report (4.4); discuss
                                         outline with S. Hill (.2).

07/06/23       JP                        Correspondence and coordination                                                                      1.20     1,371.60
                                         internally, with Committee, and with
                                         Rule 2004 targets regarding Rule 2004
                                         negotiations and productions (0.7);
                                         review, revise, and finalize
                                         memorandum on status of Rule 2004
                                         requests against banks (0.5).

07/06/23       SH6                       Conferences with T. Murray re:                                                                       8.60     7,236.90
                                         professionals investigative report
                                         outline (0.4); conferences with K.
                                         Lemire re: professionals investigative
                                         report outline (0.2); fact research and
                                         revisions to outline re: same (1.3);
                                         conference with A&M and QE
                                         professionals investigative report
                                         team re: report requests (0.5); analyze
                                         reviewers findings re: 2004
                                         production (3.9); fact research re:
                                         complaint target (1.2); follow up and
                                         internal correspondence with K.
                                         Lemire and T. Murray re: same (0.3);
                                         analyze law firm documents of
                                         interest (0.6); finalize accountant 2004
                                         request (0.2).

07/06/23       SS7                       Analyze documents produced by                                                                        8.10     6,816.15
                                         third party to determine relevance
                                         (8.1).

07/07/23       OBY                       Revise counsel target memo for                                                                       2.50     2,261.25
                                         professionals investigative report.
                                         (2.5).

07/07/23       AS2                       Review and revise asset recovery                                                                     7.10     8,115.30
                                         memorandum in Grayscale litigation
                                         (1.9); review and revise amended
                                         complaint in Grayscale litigation
                                         (2.6); legal research regarding
                                         Delaware law in connection with
                                         Grayscale matter (1.1); prepare legal
                                         research work product in connection
                                         with Grayscale matter (1.5).

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07/07/23       AK2                       Analyze next steps re: Red Sea                                                                       1.60     1,944.00
                                         Research, MJMcCaffrey, and Lonely
                                         Road Rule 2004 requests and
                                         response to same and confer with
                                         J.Palmerson re: same (.2); attend
                                         monetization coordination call with
                                         S.Glustein and A.Canale (.2); review
                                         and analyze documents re:
                                         monetization coordination (.3); confer
                                         with J.Palmerson and A.Alden re:
                                         Embed and Rocket actions and
                                         conduct research re: same (.3); confer
                                         with J.Croke re: investigative report
                                         on venture investments and data for
                                         same and conduct research re: same
                                         (.6).

07/07/23       JP                        Correspondence and coordination                                                                      0.90     1,028.70
                                         internally, with Committee, and with
                                         Rule 2004 targets regarding Rule 2004
                                         negotiations and productions (0.9).

07/07/23       KL                        Review draft outline of investigative                                                                2.10     3,345.30
                                         report on professionals (1.1); email re
                                         2004 requests (.2); call re 2004
                                         requests with subject’s counsel (.3);
                                         correspondence with S. Hill re
                                         investigative report outline edits (.5).

07/07/23       SNR                       Address strategy re: venture                                                                         1.20     1,911.60
                                         investment and analysis re: same
                                         (1.2).

07/07/23       TCM                       Further revisions to professionals                                                                   4.70     5,710.50
                                         investigative report outline and
                                         emails w/ K. Lemire and S. Hill re.
                                         same (4.3); continued M&C on Rule
                                         2004 requests to particular insider
                                         (.3); correspondence w/ S. Snower re.
                                         preparation of fact memorandum on
                                         investigative target (.1).

07/08/23       OBY                       Review audit target documents and                                                                    0.60      542.70
                                         send summary to AA (.6).

07/08/23       KL                        Review and analysis of recent court                                                                  0.90     1,433.70
                                         filings (.4); edit investigative report

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                                         outline (.3); edit memo on person of
                                         interest (.2).

07/08/23       SH6                       Prepare 2004 target search terms and                                                                 6.50     5,469.75
                                         internal correspondence re: same
                                         (1.9); correspondence with T. Murray
                                         re: production schedule for 2004
                                         target (0.7); internal correspondence
                                         re: professionals documents of
                                         interest and fact research re: same
                                         (2.6); review and revise professionals
                                         investigative report outline (1.3).

07/09/23       AS2                       Review and revise amended                                                                            2.90     3,314.70
                                         complaint in Grayscale litigation in
                                         light of team comments (2.9).

07/09/23       TCM                       Review search terms for Rule 2004                                                                    0.40      486.00
                                         production for particular insider and
                                         emails w/ S. Hill re. same (.4).

07/09/23       OBY                       Further revise outside counsel memo                                                                  3.20     2,894.40
                                         for professionals investigative report
                                         (3.2).

07/09/23       KL                        Respond to emails re outline of draft                                                                1.20     1,911.60
                                         investigative report (.3); review and
                                         edit draft outline of investigative
                                         report (.3); email re indemnification
                                         issues re 2004 requests (.1); edit
                                         memo on person of interest (.5).

07/09/23       SH6                       Review and revise professionals                                                                      9.60     8,078.40
                                         investigative report section and
                                         internal correspondence and fact
                                         research re: same (5.6); review and
                                         revise 2004 target search terms and
                                         internal correspondence re: same
                                         (1.1); correspondence with 2004
                                         target counsel re: same (0.2); analyze
                                         reviewers' findings for professionals
                                         investigative report and follow up
                                         correspondence re: same (2.7).

07/10/23       JP                        Correspondence and coordination                                                                      1.70     1,943.10
                                         internally, with Committee, and with
                                         Rule 2004 targets regarding Rule 2004
                                         negotiations and productions (0.8);

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                                         team call to discuss case updates
                                         (0.9).

07/10/23       KJS                       Analyze documents re potential                                                                       0.40       766.80
                                         venture investment claims (0.4).

07/10/23       EK                        Conference with QE team re: overall                                                                  0.50       623.25
                                         case strategy and management
                                         (partial attendance) (0.5).

07/10/23       KL                        Edit draft outline for investigative                                                                 6.60     10,513.80
                                         report (3.6); tc S. Hill re draft outline
                                         edits (.3); draft email re
                                         indemnification issues (.2);
                                         correspondence w/ S. Rand re edits to
                                         outline (.2); weekly QE internal call
                                         (.9); tc S. Hill re investigative report
                                         on professionals (.4); call with M.
                                         Scheck, A. Alden, S. Rand, M.
                                         Anderson re Bahamian litigation (.6);
                                         review draft complaint (.2); review
                                         emails re Bahamian actions (.2).

07/10/23       JY1                       Weekly team meeting (.9); review                                                                     3.40      4,023.90
                                         materials and correspondence
                                         regarding investigative report (2.5).

07/10/23       SS7                       Analyze memorandum and compose                                                                       3.40      2,861.10
                                         email responding to questions
                                         regarding review of third party
                                         document production (3.1); analyze
                                         internal memoranda and identify
                                         relevant information regarding
                                         Insiders (0.3).

07/10/23       SNR                       Attend QE team strategy call (0.9).                                                                  0.90      1,433.70

07/10/23       MRS                       Reviewing and commenting on draft                                                                    0.90      1,186.65
                                         Rule 2004 motion (0.9).

07/10/23       KJS                       Analyze correspondence from PWP                                                                      0.20       383.40
                                         and Isaac Nesser re venture book
                                         targets (0.2).

07/10/23       AK2                       Attend weekly team call (.9);                                                                        2.50      3,037.50
                                         determine next steps re: Rule 2004
                                         discovery on Venture Book entities
                                         and confer with I.Nesser re: next
                                         steps re: same, confer with
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                                         E.Winston, E.Kapur, and J.Palmerson
                                         re: same (1.6); confer with S.Rand and
                                         I.Nesser re: investigative report on
                                         venture investments (.1).

07/10/23       TCM                       Weekly QE team call (.9); call w/ S.                                                                 3.30     4,009.50
                                         Hill re. prof. investigative report and
                                         document review re. particular
                                         insider (.3); emails w/ S. Hill and S.
                                         Snower re. fact memorandum for
                                         investigative target (.2); review of
                                         particular draft avoidance complaint
                                         (.7); review and revise draft letter to
                                         university re. Rule 2004 production
                                         protocol and emails w/ S. Hill re.
                                         same (.9); review of A&M findings re.
                                         certain insiders' expenses (.3).

07/10/23       SH6                       Conferences with K. Lemire re:                                                                     10.50      8,835.75
                                         professionals investigative report and
                                         JPL matters (0.7); weekly team
                                         meeting (partial attendance) (0.1);
                                         conference with T. Murray re: 2004
                                         targets and workflow matters and
                                         follow up re: same (0.3);
                                         correspondence with 2004 target
                                         counsel re: same (0.2); review and
                                         revise outside law firm analysis
                                         tracking (1.2); analyze reviewers fact
                                         findings for professionals
                                         investigative report and draft outside
                                         law firms section re: same (4.7);
                                         follow-up fact research re: in-house
                                         and outside counsel matters (3.3).

07/11/23       AS2                       Team meeting regarding Grayscale                                                                     1.00     1,143.00
                                         litigation strategy (1.0).

07/11/23       KJS                       Exchange correspondence with                                                                         0.20      383.40
                                         Sascha Rand and Isaac Nesser re
                                         venture book target (0.2).

07/11/23       KL                        Draft email re subject of interest (.1);                                                             4.00     6,372.00
                                         review edits to draft investigative
                                         report outline (.6); review email re
                                         edits to draft complaint (.2); draft
                                         email re edits to draft outline (.5);

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                                         review emails re privilege and
                                         reviews (.2); review status of 2004
                                         requests (.2); review draft report on
                                         law firm of interest (.4); edit draft
                                         memo re person of interest and
                                         potential claims (1.4); tc T. Murray re
                                         draft complaints and 2004
                                         examinations (.4).

07/11/23       TCM                       Review of memorandum re.                                                                             6.20     7,533.00
                                         particular law firm's work for FTX
                                         Group (.2); continued Rule 2004 M&C
                                         w/ counsel for particular insider and
                                         follow-up call w/ S. Hill (.3); calls w/
                                         K. Lemire re. prof. investigative
                                         report, ongoing fact memoranda
                                         work, and outstanding Rule 2004
                                         requests (.4); comprehensive
                                         revisions to letter to university re.
                                         Rule 2004 production protocol,
                                         review of related search terms and
                                         university policies, and calls and
                                         emails w/ S. Hill and S. Snower re.
                                         same (5.3).

07/11/23       SNR                       Address analysis re: various venture                                                                 1.30     2,070.90
                                         investments and follow up re: same
                                         (1.3).

07/11/23       SH6                       Conference with K. Lemire re:                                                                      11.60      9,761.40
                                         complaint matters (0.4); fact
                                         investigations re: same (2.2);
                                         conferences and correspondence with
                                         T. Murray re: complaint, report, and
                                         2004 request matters (1); conference
                                         with S. Snower regarding counsel
                                         conflicts assignment (0.2);
                                         correspondence with J. Robbins re:
                                         counsel conflict matters (0.4);
                                         conference with M. Smith re:
                                         consultant investigation and memo
                                         (0.1); analyze reviewers findings re:
                                         counsel engagements and 2004
                                         productions and follow-up re: same
                                         (2.9); correspondence with A&M re:
                                         expenses and fees (0.6); update law
                                         firm engagement tracker (0.9); fact
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                                         research and fact-checking re: outside
                                         counsel memo and correspondence
                                         with K. Lemire re: same (1.3); prepare
                                         search terms for 2004 production and
                                         internal correspondence with T.
                                         Murray and S. Snower re: same and
                                         review and revise letter re: same (1.6).

07/11/23       AK2                       Confer with S. Rand re: upcoming                                                                     2.30     2,794.50
                                         call with Sullivan and Cromwell re:
                                         investigative report on venture
                                         investments (.1); confer with A.
                                         Alden re: professionals engaged by
                                         Debtors in Ventures investments and
                                         conduct research re: same (.3);
                                         analyze potential Rule 2004 requests
                                         on Venture Book investments, status
                                         of same, and next steps re: same (1.3);
                                         revise draft Rule 2004 request (.6).

07/11/23       SS7                       Discuss upcoming assignment with S.                                                                  4.20     3,534.30
                                         Hill (0.2); correspondence re research
                                         assignment with T. Murray (0.2);
                                         analyze draft letter to third party and
                                         propose edits (0.6); conduct legal
                                         research regarding privilege issues in
                                         context of third party production
                                         (3.2).

07/12/23       KL                        Review status of 2004 requests and                                                                   4.00     6,372.00
                                         edit response letters (.5); tc T. Murray
                                         re professionals investigative report
                                         (.4); tc T. Murray and S. Hill re
                                         professionals investigative report (.7);
                                         review email re outline edits for
                                         investigative report, and next steps
                                         (.4); internal call re professionals
                                         investigative report (partial
                                         attendance) (.2); review and respond
                                         to email re privilege issues (.3);
                                         review materials for call on
                                         professionals investigative report (.2);
                                         call with S&C, QE re professionals
                                         investigative report and additional
                                         materials and correspondence re
                                         same (.8); tc S. Hill re professionals
                                         investigative report (.34); tc T.
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                                         Murray re professionals investigative
                                         report (.1).

07/12/23       APA                       Attend weekly status call with Rule                                                                  0.80      1,152.00
                                         2004 team (0.8).

07/12/23       JP                        Conference call with Rule 2004 team                                                                  5.60      6,400.80
                                         to discuss updates and preparation of
                                         investigative report on consultants
                                         and advisers (0.8); review, revise, cite
                                         check, and proof Rule 2004 motion
                                         against delinquent Rule 2004 targets
                                         (4.1); correspondence and
                                         coordination internally, with
                                         Committee, and with Rule 2004
                                         targets regarding Rule 2004
                                         negotiations and productions (0.7).

07/12/23       SH6                       Conference with K. Lemire re:                                                                      11.90      10,013.85
                                         complaint topics (0.4); conferences
                                         and correspondence with T. Murray
                                         re: complaint, professional
                                         investigative report, and 2004 request
                                         topics (1); correspondence with S.
                                         Snower regarding counsel conflicts
                                         matters (0.2); correspondence with J.
                                         Robbins re: counsel conflict matters
                                         (0.4); conference with professionals
                                         investigative report team (0.8);
                                         review and revise draft professionals
                                         investigative report (3.1); fact
                                         investigation and tracking update re:
                                         law firm engagements (1.6);
                                         conference with K. Lemire and T.
                                         Murray re: professionals investigative
                                         report (0.7); fact research re: counsel
                                         engagement and fees, review of law
                                         firm documents of interest re: same
                                         and internal and A&M
                                         correspondence re: same (3.7).

07/12/23       JY1                       Conference with financial consultants                                                                4.90      5,799.15
                                         regarding investigative report (.8);
                                         team conference and correspondence
                                         regarding investigative report (.6);
                                         review materials and correspondence
                                         regarding review projects for
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                                         professionals investigative report
                                         (3.5).

07/12/23       SS7                       Conduct legal research regarding                                                                     7.40      6,227.10
                                         potential privilege issues in context of
                                         third party production and draft
                                         emails regarding the same (7.1);
                                         discuss analysis of research with T.
                                         Murray (0.3).

07/12/23       AK2                       Analyze draft Rule 2004 requests on                                                                  1.80      2,187.00
                                         Venture entities and status of same
                                         (.3); analyze status of pending Rule
                                         2004 requests and next steps re: same
                                         and confer with I.Nesser re: same (.5);
                                         revise draft Rule 2004 discovery
                                         request (.8); confer with A.Alden re:
                                         pending Rule 2004 requests and next
                                         steps re: same (.2).

07/12/23       TCM                       Rule 2004 team weekly call (.8); call                                                                8.70     10,570.50
                                         with QE and A&M teams re. prof.
                                         investigative report (on for part of
                                         call) (.8); calls w/ S. Hill re. university
                                         2004 and prof. investigative report
                                         (.3); calls w/ S. Snower re. university
                                         2004 (.43); calls w/ K. Lemire re.
                                         university 2004, prof. investigative
                                         report, and ongoing work on fact
                                         memoranda re. particular individuals
                                         (.54) (.1); call w/ K. Lemire and S. Hill
                                         re. prof investigative report (.7);
                                         review of legal research memo and
                                         caselaw re. privilege issue on use of
                                         certain email account (3.4); review of
                                         particular documents re. pre-petition
                                         law firm work (1.9).

07/12/23       GC2                       Draft memo summarizing fact                                                                          0.90       672.30
                                         findings for third party (0.9).

07/13/23       JY1                       Correspondence regarding review                                                                      0.40       473.40
                                         projects for professionals
                                         investigative report (.4).

07/13/23       AS2                       Team meeting regarding Grayscale                                                                     0.60       685.80
                                         litigation strategy (0.6).

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07/13/23       APA                       Teleconference with attorneys for                                                                    0.30      432.00
                                         accounting firm and S. Hill (0.3).

07/13/23       TCM                       Review of revised research summary                                                                   5.50     6,682.50
                                         re. privilege issue re. use of particular
                                         email account and correspondence w/
                                         S. Snower re. same (.7); calls w/ K.
                                         Lemire re. university Rule 2004
                                         production protocol and prof.
                                         investigative report (.5); cont'd Rule
                                         2004 M&C w/ counsel for insider and
                                         follow-up call (.4); review of memo
                                         and supporting documents re. pre-
                                         petition work of particular law firm
                                         (.3); review of documents re. fact
                                         memorandum for investigations
                                         target (3.4); emails w/ K. Lemire and
                                         S. Hill re. search terms for Rule 2004
                                         production for particular insider (.2).

07/13/23       OBY                       Emails on outstanding 2004 requests                                                                  4.60     4,160.70
                                         to K. Lemire and team (.4); review
                                         outside audit/valuation firm target
                                         documents (3.2); call with K. Sullivan
                                         on draft professionals investigative
                                         report (.3); follow up emails with
                                         professionals investigative report
                                         team on outside counsel target (.7).

07/13/23       GC2                       Draft memo summarizing                                                                               1.60     1,195.20
                                         investigation findings on third-party
                                         investigative target (1.6).

07/13/23       SH6                       Meet and confer with 2004 target                                                                     8.90     7,489.35
                                         counsel and T. Murray and follow up
                                         re: the same (0.4); meet and confer
                                         with 2004 target counsel and A.
                                         Alden and follow up re: the same
                                         (0.5); analyze documents of interest
                                         re: outside counsel and fact research
                                         follow-up re: same (1.6); review and
                                         revise draft fact memo re: complaint
                                         target and fact research follow-up
                                         and internal correspondence re: same
                                         (2.8); analyze research re: privilege
                                         and 2004 productions and internal
                                         correspondence re: same (0.8);
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                                         correspondence with A. Gerber and J.
                                         Boxer re: venture book review and
                                         counsel matters (0.3); review analysis
                                         re: same (0.8); fact investigation and
                                         tracking update re: law firm
                                         engagements (1.7).

07/13/23       SS7                       Analyze documents regarding                                                                          2.80     2,356.20
                                         individual of interest and draft
                                         memorandum summarizing
                                         noteworthy documents (2.8).

07/13/23       EDW                       Review draft Rule 2004 letter                                                                        0.20      288.00
                                         regarding Chipper (.2).

07/13/23       AK2                       Review and analyze status of Rule                                                                    2.90     3,523.50
                                         2004 requests on Venture Book
                                         entities and next steps re: same (.3);
                                         draft communication to Rule 2004
                                         target and confer with I.Nesser re:
                                         same (.6); confer with E.Winston re:
                                         draft Rule 2004 request (.1); review
                                         and analyze summaries of
                                         transactions for potential inclusion in
                                         investigative report on venture
                                         investments (.3); confer with I.Nesser
                                         re: upcoming call with Sullivan and
                                         Cromwell re: investigative report on
                                         venture investments (.3); attend same
                                         (.6); confer with I.Nesser re: results of
                                         same and next steps (.3).

07/13/23       KL                        Email correspondence re potential                                                                    4.80     7,646.40
                                         DOJ presentation and related 2004
                                         requests (.3); review materials for
                                         professionals investigative report (.6);
                                         edit memo on person of interest (1.2);
                                         call re 2004 requests and follow-up
                                         with S. Hill and T. Murray (.4);
                                         telephone conferences w/ T. Murray
                                         re privilege issues and 2004 requests
                                         (.5); review privilege law re 2004
                                         requests (1.2); correspondence with
                                         M. Scheck, S. Williamson re file
                                         locations for investigation (.4).



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07/14/23       KL                        TC T. Murray re memo on subject of                                                                   2.90     4,619.70
                                         interest (.3); meeting with S. Rand, T.
                                         Murray, W. Sears re status of draft
                                         pre-complaint memos (.4); update
                                         spreadsheet summarizing potential
                                         claims (.5); edit memo re person of
                                         interest (1.5); emails re professionals
                                         investigative report (.2).

07/14/23       JP                        Review and revise Rule 2004 motion                                                                   4.10     4,686.30
                                         for delinquent Rule 2004 targets and
                                         collect exhibits for same (1.5);
                                         correspondence and coordination
                                         internally, with Committee, and with
                                         Rule 2004 targets regarding Rule 2004
                                         negotiations and productions (1.8);
                                         draft correspondence to Wells Fargo
                                         regarding dispute on scope of Rule
                                         2004 production (0.5); review and
                                         analysis of memorandum from A&M
                                         regarding consultant and potential
                                         claims against same (0.3).

07/14/23       TCM                       Call w/ S. Rand, K. Lemire, and W.                                                                   5.20     6,318.00
                                         Sears re. potential complaint against
                                         particular individuals (.4); cont’d
                                         Rule 2004 M&C w/ counsel for
                                         particular insider and follow-up call
                                         w/ S. Hill and email to investigations
                                         team (.3); calls w/ K. Lemire re. prof.
                                         investigative report, potential
                                         complaints, and multiple Rule 2004
                                         productions (.3); call w/ O. Yeffet re.
                                         particular Rule 2004 production (.1);
                                         separate calls w/ S. Snower, and S.
                                         Snower and FTI, re. document review
                                         issues (.4); review of source
                                         documents for fact memorandum re.
                                         investigative target (3.6).

07/14/23       AS2                       Review and revise amended                                                                            6.60     7,543.80
                                         complaint in Grayscale litigation
                                         (4.6); prepare legal argument outline
                                         in connection with asset recovery
                                         litigation (2.0).


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07/14/23       OBY                       Review target law firm documents                                                                     3.80     3,437.10
                                         (.6); review target valuation firm hot
                                         documents (.8); draft summary email
                                         on same (.2); call with T. Murray on
                                         2004 targets (.1); law firm review
                                         team call (.5); prepare documents for
                                         review (.3); draft valuation firm 2004
                                         request and related emails on same
                                         (1.3).

07/14/23       WS1                       Call with S. Rand, K. Lemire, and T.                                                                 0.40      498.60
                                         Murray re: insider complaints (.4).

07/14/23       KJS                       Revise asset recovery presentation for                                                               0.40      766.80
                                         board and exchange correspondence
                                         re same (0.4).

07/14/23       SNR                       Review avoidance action summary                                                                      4.30     6,849.90
                                         and revise (0.9); address analysis re:
                                         venture book targets (1.2); address
                                         Grayscale claims strategy w/ team
                                         (0.8); review materials re: venture
                                         investment and address strategy re:
                                         same. (1.4).

07/14/23       SS7                       Compose correspondence to T.                                                                         3.80     3,197.70
                                         Murray regarding analysis of
                                         potential privilege issues in relation
                                         to third party production and
                                         conduct additional analysis (3.1); call
                                         with T. Murray regarding the same
                                         (0.1); participate in meeting with
                                         document collection vendor
                                         regarding update on collection and
                                         promotion of documents (0.3); call
                                         with S. Hill regarding document
                                         collection, third party production,
                                         and review of documents related to
                                         individual of interest (0.3).

07/14/23       KJS                       Analyze correspondence from John                                                                     0.20      383.40
                                         Ray re valuation issues (0.2).

07/14/23       AK2                       Confer with B.Burck, S.Rand, and                                                                     3.50     4,252.50
                                         J.Shaffer re: potential claims against
                                         target (.1); confer with S.Rand re:
                                         potential revisions to same (.1);
                                         confer with K.Lemire and A.Alden re:
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                                         same (.1); revise same (.7); confer
                                         with J.Croke re: same (.1); review and
                                         analyze communications: re: next
                                         steps on Venture Book 2004 requests,
                                         confer with S.Rand and I.Nesser re:
                                         same, and determine further next
                                         steps re: same (.6); review and revise
                                         draft Rule 2004 requests on Venture
                                         Book investments (1.6); attend
                                         monetization coordination call with
                                         Alvarez and Marsal (.2).

07/14/23       KJS                       Analyze correspondence from PWP                                                                      0.20      383.40
                                         and Isaac Nesser re venture book
                                         analysis (0.2).

07/14/23       SH6                       Conference with S. Snower re:                                                                      10.30      8,667.45
                                         complaint target (0.3); meet and
                                         confer with 2004 target counsel and
                                         follow up with T. Murray (0.3); fact
                                         investigation re: outside counsel
                                         matters and review and revise draft
                                         professional investigative report
                                         section re: same (4.9); update law
                                         firm engagements re: same (3.4);
                                         internal correspondence re:
                                         complaint, 2004 requests and review
                                         matters (1.2); finalize and send
                                         accountant 2004 request (0.2).

07/15/23       JP                        Review and revise Rule 2004 motion                                                                   1.20     1,371.60
                                         for delinquent Rule 2004 targets (0.6);
                                         conduct diligence on SVA document
                                         production in connection with Rule
                                         2004 motion (0.6).

07/15/23       OBY                       Prepare and review law firm target                                                                   0.40      361.80
                                         production (.4).

07/15/23       KL                        Edit memo re person of interest and                                                                  2.20     3,504.60
                                         potential claims (1.9); draft update
                                         email re status of claims (.2); send
                                         emails re 2004 requests (.1).

07/15/23       AK2                       Confer separately with S.Rand,                                                                       0.60      729.00
                                         K.Lemire, and E.Kapur re: draft
                                         board presentation on pending and
                                         potential actions and information for
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                                         inclusion in same and determine next
                                         steps re: same (.6).

07/15/23       SNR                       Review and revise list of avoidance                                                                  1.80     2,867.40
                                         actions (0.6); review materials re:
                                         same (1.2).

07/15/23       SH6                       Update outside counsel engagement                                                                    7.80     6,563.70
                                         tracking and fact research re: same
                                         (3.6); review and revise professional
                                         investigative report draft (4.2).

07/16/23       KL                        Edit memo re person of interest (3.6).                                                               3.60     5,734.80

07/16/23       TCM                       Correspondence w/ S. Hill re. prof.                                                                  0.20      243.00
                                         investigative report (.2).

07/16/23       OBY                       Complete review of valuation firm                                                                    2.90     2,623.05
                                         target documents (1.9); begin drafting
                                         corresponding section of
                                         professionals investigative report
                                         (1.0).

07/16/23       JP                        Review and revise draft Rule 2004                                                                    0.80      914.40
                                         motion against delinquent Rule 2004
                                         targets (0.5); correspondence with
                                         Rule 2004 targets regarding status of
                                         Rule 2004 productions (0.3).

07/16/23       JY1                       Draft section of investigative report                                                                2.50     2,958.75
                                         regarding auditors (2.5).

07/16/23       AK2                       Confer with separately with                                                                          0.40      486.00
                                         K.Lemire, S.Rand, and J.Croke re:
                                         draft board presentation on pending
                                         and potential actions and information
                                         for inclusion in same (.2); revise
                                         document for inclusion in same (.2).

07/16/23       SH6                       Analyze reviewer findings re: outside                                                                3.80     3,197.70
                                         counsel productions and revise draft
                                         professionals investigative report re:
                                         same (3.8).

07/16/23       EK                        Correspondence with S. Rand re:                                                                      0.70      872.55
                                         implications for FTX of court decision
                                         (0.6); correspondence with S. Rand re:
                                         solvency analysis (0.1).


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07/17/23       AS2                       Review and revise amended                                                                            5.60      6,400.80
                                         complaint in Grayscale litigation in
                                         light of team and co-counsel
                                         comments (4.1); team meeting
                                         regarding Grayscale litigation
                                         strategy (0.3); prepare responses and
                                         objections to discovery requests in
                                         Bahamas litigation (1.2).

07/17/23       APA                       Attend weekly QE call regarding                                                                      0.90      1,296.00
                                         tasks and timelines (0.8).

07/17/23       TCM                       Review of documents re. pre-petition                                                               10.50      12,757.50
                                         work by law firms (.8); call w/ S.
                                         Snower re. university Rule 2004
                                         production protocol and draft
                                         memorandum re. investigative target
                                         (.3); review of first draft of
                                         memorandum and source documents
                                         re. investigative target (3.5); emails
                                         w/ O. Yeffet re. law firm Rule 2004
                                         production (.1); weekly QE team call
                                         (.9); calls w/ K. Lemire re. memos on
                                         two investigative targets (.3);
                                         comprehensive edits and review of
                                         underlying documents re. memo re.
                                         separate investigative target (4.6).

07/17/23       OBY                       Revise 2004 request and send request                                                                 3.70      3,346.65
                                         (.9); meet and confer with valuation
                                         target and A. Alden (.4); draft
                                         professionals investigative report for
                                         other financial consultants targets
                                         (2.4).

07/17/23       JY1                       Weekly team meeting (.9).                                                                            0.90      1,065.15

07/17/23       MRS                       Attend QE weekly team meeting                                                                        0.90      1,186.65
                                         (0.9).

07/17/23       AK2                       Review and analyze draft board                                                                       2.50      3,037.50
                                         presentation on pending and
                                         potential actions and confer with
                                         team re: same (.2); review and
                                         analyze communications re:
                                         McCaffrey Rule 2004 requests and
                                         upcoming meet and confer re: same
                                         and confer with I.Nesser, S.Rand, and
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                                         A.Alden re: same (.2); confer with
                                         C.Kim re: same and potential
                                         complaint (.1); confer with I.Nesser
                                         re: Venture Book report, status of
                                         same, and next steps re: same (.1);
                                         attend weekly team meeting (.9);
                                         assess status of draft Rule 2004
                                         requests and confer with I.Nesser re:
                                         same (.1); confer with M.Materni re:
                                         investigative report on venture
                                         investments and insert for same on
                                         filed litigations (.1); revise
                                         investigative report on venture
                                         investments and confer with C.Kim
                                         re: same (.8).

07/17/23       KJS                       Attend QE weekly team meeting                                                                        0.90      1,725.30
                                         (0.9).

07/17/23       KJS                       Confer with Eric Winston re open                                                                     0.20       383.40
                                         venture matters (0.2).

07/17/23       SH6                       Conference with A&M and QE team                                                                    12.60      10,602.90
                                         re: professionals investigative report
                                         and follow up re: same (0.9);
                                         conference with G. Coyle re: outside
                                         counsel review (0.1); internal
                                         correspondence re: 2004 drafts and
                                         review and revise the same (0.5); fact
                                         research re: outside counsel matters
                                         (3.1); updates to outside counsel
                                         engagement tracking sheet (2.2);
                                         analyze review fact findings re:
                                         complaint target matters and internal
                                         correspondence re: same (0.8); review
                                         and revise draft professionals
                                         investigative report and
                                         correspondence with T. Murray re:
                                         same (4.7); fact research follow up re:
                                         complaint target expenses (0.3).

07/17/23       EDW                       Conferences with K. Lemire and J.                                                                    0.30       432.00
                                         Shaffer regarding insider claim issues
                                         and venture matters (.3).

07/17/23       SS7                       Revise letter to university regarding                                                                6.80      5,722.20
                                         third party production (0.3); calls

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                                         with T. Murray regarding the same
                                         (0.3); attend internal associate call led
                                         by K. Lemire regarding status
                                         updates (0.2); compose internal
                                         memorandum regarding individual
                                         of interest (6.0).

07/17/23       EK                        Conference with QE FTX team re:                                                                      1.10     1,371.15
                                         case strategy (0.9); correspondence
                                         with S. Rand and J. Shaffer re: court
                                         decision (0.2).

07/17/23       KMA                       Weekly team meeting (.9).                                                                            0.90     1,093.50

07/17/23       JP                        Review, revise, finalize, and file Rule                                                              3.20     3,657.60
                                         2004 motion against delinquent Rule
                                         2004 targets and internal
                                         correspondence regarding same (3.2).

07/17/23       SNR                       Team strategy call (0.9); various t/c re:                                                            4.70     7,487.10
                                         Grayscale claim strategy and review
                                         materials re: same (1.3); address
                                         avoidance action strategy and follow
                                         up re: same (0.8); review materials
                                         and address claim strategy re:
                                         venture book investment (1.7).

07/17/23       KL                        Review draft motion re 2004 requests                                                                 6.00     9,558.00
                                         (.2); review 2004 responses .(.3);
                                         review draft plan (.2); emails re
                                         investigations report (.2); tc T.
                                         Murray re memo on person of
                                         interest (.3); internal QE weekly call
                                         (.9); tc A&M, QE team re data for
                                         professionals investigative report (.8);
                                         edit draft memo on person of interest
                                         (2.6); tc E. Winston re draft claims
                                         (.1); review and edit memo on entity
                                         of interest (.7).

07/18/23       AG3                       TC with SH and JB re: review of                                                                      1.60     1,195.20
                                         documents relating to family target
                                         and donation recipients (.3); prepare
                                         search terms for review of documents
                                         relating to family target and donation
                                         recipients (.5); correspond with
                                         vendor regarding preparing
                                         document review database (.4);
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                                         review and analyze documents
                                         relating to family target and donation
                                         recipients (.4).

07/18/23       JB11                      Conference call with S. Hill and A.                                                                  0.30       224.10
                                         Gerber re law firms used by FTX
                                         Group (0.3).

07/18/23       AS2                       Correspond with investigator                                                                         6.50      7,429.50
                                         regarding asset recovery efforts in
                                         Grayscale litigation (0.4); review and
                                         revise amended complaint in
                                         Grayscale litigation (2.6); review and
                                         revise asset recovery investigation
                                         memorandum in Grayscale litigation
                                         (0.4); prepare responses and
                                         objections to discovery requests in
                                         Bahamas litigation (2.9); correspond
                                         with Landis regarding asset amended
                                         complaint revisions in Grayscale
                                         litigation (0.2).

07/18/23       TCM                       Emails w/ S. Rand, K. Lemire, and S.                                                                 8.90     10,813.50
                                         Hill re. letter re. university Rule 2004
                                         production protocol (.2); separate
                                         calls w/ K. Lemire and S. Hill, K.
                                         Lemire, and S. Hill re. law firm
                                         section of prof. investigative report
                                         (1.4); comprehensive review and
                                         revisions to law firm section of prof.
                                         investigative report, including review
                                         of source documents (7.3).

07/18/23       JY1                       Correspondence and review                                                                            4.50      5,325.75
                                         materials to support professionals
                                         investigative report (1.5); draft
                                         accountant section of professionals
                                         investigative report (3).

07/18/23       TS4                       Prepare memorandum related to                                                                        4.80      4,039.20
                                         strength of avoidance actions against
                                         potential target (1.7); prepare
                                         memorandum related to strength of
                                         avoidance action related to second
                                         investigative target (1.8); revise
                                         memorandum related to strength of
                                         avoidance actions against third

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                                         investigative target (0.9); revise
                                         memorandum related to strength of
                                         avoidance actions against fourth
                                         investigative target (0.1); revise
                                         memorandum related to strength of
                                         avoidance actions against fifth
                                         investigative target (0.2); correspond
                                         with A. Kutscher re potential
                                         avoidance actions related to venture
                                         book investments (0.1).

07/18/23       AK2                       Analyze status and next steps re:                                                                    1.10     1,336.50
                                         potential Venture Book Rule 2004
                                         requests (.2); review and analyze
                                         documents re: monetization
                                         coordination (.3); confer separately
                                         with C.Kim, S.Rand, and I.Nesser re:
                                         same (.1); confer with S.Rand re:
                                         upcoming call with Perella Weinberg
                                         re: same (.1); attend same (.3); confer
                                         with I.Nesser re: upcoming meet and
                                         confer re: McCaffrey Rule 2004
                                         requests (.1).

07/18/23       SH6                       Conference with A. Gerber and J.                                                                   10.90      9,172.35
                                         Boxer re: 2004 target review (0.3);
                                         internal correspondence re: outside
                                         counsel review assignments (0.9);
                                         review, revise and finalize letter to
                                         2004 target and correspondence with
                                         T. Murray and S. Snower re: same
                                         (1.1); analyze A&M fees schedule and
                                         documents of interest re: outside
                                         counsel and revise law firm
                                         engagement tracking re: same (3.9);
                                         fact research re: outside counsel
                                         matters and internal correspondence
                                         re: same (1.4); review and revise draft
                                         professional investigative reports
                                         (3.3).

07/18/23       JP                        Internal correspondence regarding                                                                    0.30      342.90
                                         Rule 2004 negotiations and
                                         productions (0.3).

07/18/23       OBY                       Correspondence with J. Young on                                                                      7.50     6,783.75
                                         professionals investigative report (.2);
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                                         correspondence with S. Hill on same
                                         (.1); draft additional three sections for
                                         professionals investigative report to
                                         include reviewing documents on
                                         targets (7.2).

07/18/23       SS7                       Analyze draft of complaint against                                                                   1.10       925.65
                                         insiders (1.0); correspondence with S.
                                         Hill regarding individual of interest
                                         (0.1).

07/18/23       SNR                       Address strategy re: venture                                                                         1.70      2,708.10
                                         investment and review materials re:
                                         same (1.4); t/c A. Kutcher re: same
                                         (0.3).

07/18/23       EK                        Revise memorandum re: court                                                                          0.50       623.25
                                         decision and correspondence with S.
                                         Rand and J. Shaffer re: same (0.5).

07/18/23       KL                        Edit letter re 2004 requests (.3); edit                                                              3.80      6,053.40
                                         and distribute memo on subject of
                                         interest (.2); tc T. Murray re
                                         professionals investigative report
                                         draft and staffing (.3); review draft
                                         professionals investigative report
                                         section (1.4); tc T. Murray and S. Hill
                                         re interview of subject (.2); edit
                                         memos on persons of interest (.9);
                                         review memo on subject matter of
                                         interest (.5).

07/19/23       TCM                       Weekly Rule 2004 team call (.4);                                                                   12.80      15,552.00
                                         review memo and source documents
                                         re. FTX DM (.4); call w/ QE and A&M
                                         teams re. prof. investigative report
                                         (.4); comprehensive revisions to law
                                         firm section of prof. investigative
                                         report, including review of source
                                         documents, and multiple calls and
                                         emails w/ S. Hill re. same (11.6).

07/19/23       AS2                       Review and revise asset amended                                                                      5.70      6,515.10
                                         complaint in Grayscale litigation
                                         (2.7); legal research in Grayscale
                                         litigation regarding fiduciary duty
                                         and bad faith claims under Delaware
                                         law (3.0).
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07/19/23       JP                        Conference call with Rule 2004 team                                                                  1.10     1,257.30
                                         to discuss updates and status of
                                         investigative report on professionals
                                         (0.4); correspondence and
                                         coordination internally and with Rule
                                         2004 targets regarding Rule 2004
                                         negotiations and productions (0.7).

07/19/23       JY1                       Conference with A&M regarding                                                                        3.10     3,668.85
                                         payments to professionals (.4);
                                         conference regarding professionals
                                         investigative report (.4); review
                                         materials and correspondence to
                                         support professionals investigative
                                         report (2.3).

07/19/23       KL                        TC counsel for subject re 2004                                                                       3.20     5,097.60
                                         requests (.1); corresp S. Hill re status
                                         of investigative report (.3); review
                                         memos re persons of interest (.2); tc
                                         internal QE meeting re person of
                                         interest (1.1); corresp S. Hill and T.
                                         Murray re attorney proffer for
                                         professionals investigative report (.2);
                                         call with A&M re professionals
                                         investigative report (.4); corresp S.
                                         Hill re status of 2004 requests and
                                         investigative report (.2); tc QE team
                                         re professionals investigative report
                                         (.4); tc M. Anderson re investigative
                                         findings for Bahamas litigation (.4).

07/19/23       AK2                       Confer with I.Nesser re: upcoming                                                                    0.10      121.50
                                         meet and confer re: McCaffrey Rule
                                         2004 requests (.1).

07/19/23       APA                       Attend weekly team call with Rule                                                                    0.40      576.00
                                         2004 team (0.4).

07/19/23       SNR                       Review pleading re: recovery action                                                                  2.20     3,504.60
                                         (1.2); address strategy and analysis
                                         concerning venture book investment
                                         (1.0).

07/19/23       EDW                       Review draft memo re insider                                                                         1.00     1,440.00
                                         matters (1.0).



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07/19/23       KJS                       Analyze correspondence from S&C                                                                      0.20      383.40
                                         and PWP re venture book
                                         investments (0.2).

07/19/23       SH6                       Correspondence with S. Snower re:                                                                  11.10      9,340.65
                                         complaint target matters (0.3); meet
                                         and confer with 2004 target counsel
                                         and follow up with T. Murray re:
                                         same (0.3); weekly 2004 team meeting
                                         (0.4); conference with 2004 counsel re:
                                         production search terms (1.1); review
                                         and revise draft memos re: outside
                                         counsel and follow up fact research
                                         (2.3); review and revise professionals
                                         investigative report and
                                         correspondence with T. Murray re:
                                         same (5.3); internal correspondence
                                         with reviewers re: outside counsel
                                         and complaint targets review (0.7);
                                         internal correspondence re: JPL
                                         documents of interest (0.3); review
                                         and revise draft 2004 requests (0.4).

07/19/23       OBY                       Meeting with A&M on professionals                                                                    3.40     3,075.30
                                         investigative report (.4); revise
                                         professionals investigative report
                                         draft (.9); meeting on 2004 requests
                                         (.4); document search for third party
                                         confidentiality provisions and email
                                         to A. Alden on same (1.2); emails on
                                         2004 requests (.2); emails on law firm
                                         target with J. Boxer, K. Sullivan, and
                                         C. Mund (.3).

07/19/23       SS7                       Analyze documents regarding                                                                          0.50      420.75
                                         individual of interest (0.5).

07/20/23       AG3                       Correspondence with JB re: review of                                                                 7.70     5,751.90
                                         documents relating to family target
                                         and donation recipients (.2); review
                                         and analyze documents relating to
                                         family target and donation recipients
                                         (7.5).

07/20/23       JY1                       Review and revise sections of                                                                        3.80     4,497.30
                                         professionals investigative report and
                                         related correspondence (3.8).

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07/20/23       AS2                       Team meeting regarding Grayscale                                                                     4.30     4,914.90
                                         litigation strategy (0.3); review and
                                         revise amended complaint in
                                         Grayscale litigation in light of team
                                         and co-counsel comments (2.7); legal
                                         research in Grayscale litigation
                                         regarding aiding and abetting breach
                                         of fiduciary duty under Delaware
                                         law (1.3).

07/20/23       TCM                       Comprehensive revisions to law firm                                                                  7.60     9,234.00
                                         section of prof. investigative report
                                         and emails and calls w/ S. Hill re.
                                         same (2.4); call w/ K. Lemire and S.
                                         Hill re. potential complaints against
                                         certain insiders and prof.
                                         investigative report (.8); call w/ K.
                                         Lemire re. same (.2); review and
                                         revise Rule 2004 document requests
                                         for two new law firms (.8); review of
                                         source documents re. draft fact
                                         memorandum for investigative target
                                         (3.4).

07/20/23       OBY                       Emails on law firm investigation                                                                     3.30     2,984.85
                                         target with team (.4); revise draft
                                         professionals investigative report
                                         (1.9); meeting with K. Sullivan, C.
                                         Mund, J. Boxer, A. Curran on law
                                         firm/2004 target (.3); emails on
                                         professionals investigative report (.7).

07/20/23       KJS                       Correspondence with Sascha Rand re                                                                   0.40      766.80
                                         Mysten Labs (0.4).

07/20/23       AK2                       Confer with S.Rand and I.Nesser re:                                                                  1.20     1,458.00
                                         potential Rule 2004 request on
                                         Venture Book entity and next steps
                                         re: same (.1); attend monetization
                                         coordination call with A.Canale,
                                         S.Glustein, and K.Flynn (.2); confer
                                         with S.Rand, I.Nesser, A.Alden,
                                         M.Scheck, J.Shaffer, and M.Lev re:
                                         upcoming call on case updates (.1);
                                         review and analyze potential cases to
                                         recover assets, analyze next steps re:
                                         same, and confer with S.Rand,
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                                         I.Nesser, and M.Scheck re: same (.7);
                                         confer with C.Kim re: timeline for
                                         investigative report on venture book
                                         investments (.1).

07/20/23       JP                        Draft e-mail to Wells Fargo regarding                                                                4.70     5,372.10
                                         Rule 2004 production and
                                         accompanying notice of examination
                                         with revised Rule 2004 requests and
                                         internal correspondence regarding
                                         same (1.8); draft e-mail to Signature
                                         Bank regarding response to Rule 2004
                                         requests and correspondence with
                                         A&M regarding same (1.4); draft
                                         response to Silicon Valley
                                         Accountants regarding Rule 2004
                                         motion and Rule 2004 production
                                         (0.7); correspondence and
                                         coordination internally, with
                                         Committee, and with Rule 2004
                                         targets regarding Rule 2004
                                         negotiations and productions (0.8).

07/20/23       KL                        Review documents for professionals                                                                   1.20     1,911.60
                                         investigative report (.2); meeting with
                                         S. Hill and T. Murray (.8); tc T.
                                         Murray re professionals investigative
                                         report (.2).

07/20/23       SH6                       Conference with K. Lemire and T.                                                                   10.70      9,004.05
                                         Murray regarding staffing,
                                         complaints, and outstanding projects
                                         (0.8); conference with M. Lev re:
                                         professionals investigative report
                                         (0.5); fact research follow-up re: same
                                         (3.1); review and revise professionals
                                         investigative report (0.6); review and
                                         revise fact memo re: outside counsel
                                         target and follow up fact research
                                         and internal correspondence re: same
                                         (4.4); review and revise fact memo re:
                                         outside counsel target and
                                         correspondence with K. Lemire re:
                                         same (0.6); review and update
                                         counsel tracking sheet and internal
                                         correspondence re: same (1.3).

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07/21/23       AG3                       Review and analyze documents                                                                         3.20     2,390.40
                                         relating to family target and donation
                                         recipients (3.2).

07/21/23       TCM                       Cont'd Rule 2004 M&C w/ counsel for                                                                  1.20     1,458.00
                                         insider (.2); call w/ K. Lemire and S.
                                         Snower re. potential complaints
                                         against particular individuals (.2); call
                                         w/ A&M and S. Snower re. analysis
                                         of payments to particular insider and
                                         follow-up call w/ S. Snower (.8).

07/21/23       OBY                       Emails with team on professionals                                                                    0.20      180.90
                                         investigative report (.2).

07/21/23       AS2                       Review investigator work product in                                                                  4.90     5,600.70
                                         connection with asset recovery efforts
                                         in Grayscale litigation (0.7); review
                                         and revise amended complaint in
                                         Grayscale litigation (2.0); legal
                                         research regarding securities laws
                                         issues in connection with asset
                                         recovery in Grayscale litigation (2.2).

07/21/23       JY1                       Review and analysis of pertinent                                                                     1.80     2,130.30
                                         materials related to professionals
                                         investigative report (1.8).

07/21/23       JP                        Correspondence and coordination                                                                      2.20     2,514.60
                                         internally, with Committee, and with
                                         Rule 2004 targets regarding Rule 2004
                                         negotiations and productions (0.7);
                                         draft correspondence to Silicon
                                         Valley Accountants regarding Rule
                                         2004 motion and Rule 2004
                                         production and internal
                                         correspondence and correspondence
                                         with Landis regarding same (0.5);
                                         draft correspondence to Wells Fargo
                                         regarding Rule 2004 production and
                                         internal correspondence regarding
                                         same (0.4); draft correspondence to
                                         Signature Bank regarding Rule 2004
                                         production and internal
                                         correspondence regarding same (0.6).

07/21/23       KL                        Email re revisions to claims memo                                                                    1.20     1,911.60
                                         (.2); edit memo on person of interest
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                                         (.8); tc T. Murray, S. Snower re
                                         revisions to memo on person of
                                         interest (.2).

07/21/23       SNR                       Address Grayscale claim strategy and                                                                 1.30     2,070.90
                                         t/c w/ counsel for holder and then
                                         team re: same (1.3).

07/21/23       SH6                       Fact research follow-up re:                                                                          2.10     1,767.15
                                         professionals investigative report and
                                         correspondence with M. Lev and C.
                                         Mund re: the same (2.1).

07/21/23       SS7                       Participate in meeting with K. Lemire                                                                1.80     1,514.70
                                         and T. Murray regarding
                                         memorandum on individual of
                                         interest (0.2); incorporate edits into
                                         same memorandum (0.6); participate
                                         and take notes during meeting with J.
                                         Bankman's counsel (0.32); follow-up
                                         call with T. Murray regarding
                                         meeting with J. Bankman's counsel
                                         (0.3); participate in call with Alvarez
                                         and Marsal regarding Debtor
                                         expenses (0.5).

07/22/23       OBY                       Revise professionals investigative                                                                   1.50     1,356.75
                                         report (.2); draft section for "other
                                         financial consultants" part of the
                                         investigative report (1.3).

07/22/23       JP                        Draft text message search protocol for                                                               0.50      571.50
                                         SVA (0.5).

07/23/23       OBY                       Revise professionals investigative                                                                   1.00      904.50
                                         report (1.0).

07/23/23       JP                        Internal correspondence regarding                                                                    0.10      114.30
                                         status of Rule 2004 discovery (0.1).

07/23/23       APA                       Review board presentation on                                                                         0.20      288.00
                                         avoidance actions (0.2).

07/23/23       KL                        Review insert for professionals                                                                      0.30      477.90
                                         investigative report (.3).

07/24/23       TCM                       Revisions to law firm section of prof.                                                               3.60     4,374.00
                                         investigative report and call and
                                         emails w/ M. Lev re. same (2.4); calls
                                         w/ O. Yeffet re. same (.2); calls w/ K.
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                                         Lemire re. prof. investigative report
                                         and memoranda re. two investigative
                                         targets (.6); QE weekly team call (.4).

07/24/23       AG3                       Review and analyze documents                                                                         5.50     4,108.50
                                         relating to family target and donation
                                         recipient (5.5).

07/24/23       KJS                       Attend QE team call (0.4).                                                                           0.40      766.80

07/24/23       AS2                       Team meeting regarding Grayscale                                                                     5.30     6,057.90
                                         litigation strategy (0.5); review and
                                         revise asset amended complaint in
                                         Grayscale litigation (2.1); prepare
                                         exhibits in connection with amended
                                         complaint in Grayscale litigation
                                         (0.8); legal research in support of
                                         Grayscale matter (1.9).

07/24/23       MEO                       Team call regarding case strategy                                                                    1.50     1,822.50
                                         (0.4); call regarding investigation for
                                         adversary proceeding (0.5); review
                                         materials related to same (0.6).

07/24/23       APA                       Attend weekly QE team call (0.4).                                                                    0.40      576.00

07/24/23       OBY                       Calls with T. Murray (.1re 2004                                                                      4.50     4,070.25
                                         requests (.2); revise law firms section
                                         of the professionals investigative
                                         report (1.9); review and revise J.
                                         Boxer memo on over the counter
                                         trading business (.4); revise 2004
                                         request and emails to E. Kapur on
                                         same (.4); review documents and
                                         draft related 2004 request to
                                         consultant (1.5); emails with A. Alden
                                         on same (.1).

07/24/23       JY1                       Weekly team meeting (.4); review                                                                     4.20     4,970.70
                                         and revise professionals investigative
                                         report sections and related
                                         correspondence (3.8).

07/24/23       DRM                       Correspondence with S. Snower re:                                                                    0.10       74.70
                                         instructions for new review (0.1).

07/24/23       EK                        QE team conference re: case-wide                                                                     0.40      498.60
                                         strategy (0.4).


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07/24/23       KL                        Emails re person of interest (.2);                                                                   2.70     4,301.10
                                         review draft sections of professionals
                                         investigative report (.6); tcs T.
                                         Murray re professionals investigative
                                         report and next steps on 2004
                                         requests (.6); internal QE team call
                                         (.4); email re witness interview (.1);
                                         review legal memo re claims against
                                         subject (.5); edit memo on person of
                                         interest (.5).

07/24/23       SNR                       Attend team meeting (0.4); address                                                                   1.50     2,389.50
                                         venture investment strategy (0.7);
                                         various communications re:
                                         Grayscale strategy (0.4).

07/24/23       SS7                       Review K. Lemire's edits of                                                                          0.80      673.20
                                         memorandum regarding individual
                                         of interest (0.5); call with T. Murray
                                         regarding draft complaint against
                                         insiders (0.3).

07/24/23       AK2                       Confer with J.Shaffer and M.Scheck                                                                   1.70     2,065.50
                                         re: team meeting (.1); attend same
                                         (.4); confer with I.Nesser re:
                                         upcoming meet and confer on Rule
                                         2004 discovery request on McCaffrey
                                         controlled entities and next steps re:
                                         same (.2); confer with I.Nesser re:
                                         draft Rule 2004 requests on Venture
                                         Book entities and determine next
                                         steps re: same (.3); confer with
                                         separately with J.Palmerson, O.Yeffet,
                                         and S.Hill re: same (.3); research and
                                         analyze status of Rule 2004 requests
                                         on Venture investments (.4).

07/24/23       KMA                       Weekly meeting with core QE                                                                          0.40      486.00
                                         investigations and adversary teams
                                         (.4).

07/24/23       SH6                       Correspondence with O. Yeffet                                                                        0.40      336.60
                                         regarding outside professionals and
                                         follow-up fact research regarding the
                                         same (0.4).

07/24/23       JP                        Correspondence and coordination                                                                      0.20      228.60
                                         internally, with Committee, and with
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                                         Rule 2004 targets regarding Rule 2004
                                         negotiations and productions (0.2).

07/24/23       EDW                       Conference with QE team re insider                                                                   2.30     3,312.00
                                         (0.5); review employment documents
                                         (1.1); review draft memo (0.7).

07/25/23       AG3                       Correspond with SS and JB re: review                                                                 2.30     1,718.10
                                         of document production (.2); review
                                         and analyze documents related to
                                         family target and donation recipient
                                         (2.1).

07/25/23       TCM                       Emails w/ QE team re. revisions to                                                                   7.10     8,626.50
                                         prof. investigative report (.2); review
                                         of documents re. particular donations
                                         to a university (.5); further edits to
                                         Rule 2004 requests to two law firms
                                         (.9); review of documents re.
                                         preparation of topics for subject
                                         interview (4.7); email and call w/ O.
                                         Yeffet re. same (.2); emails with
                                         university counsel re. Rule 2004
                                         production and review of initial
                                         production (.3); emails w/ M. Lev and
                                         J. Boxer re. edits to prof. investigative
                                         report (.2); correspondence w/ S.
                                         Snower re. complaint against
                                         particular individual (.1).

07/25/23       OBY                       Revise 2004 request for consultant                                                                   4.50     4,070.25
                                         (.4); emails with team on
                                         professionals investigative report (.2);
                                         revise 2004 requests for venture book
                                         and emails with A. Kutscher on same
                                         (.6); emails on professionals
                                         investigative report with A. Alden
                                         and M. Lev (.6); draft interview topics
                                         for counsel interview (.4); review
                                         A&M memo and revise accountants
                                         section of professionals investigative
                                         report (.9); call with A. Alden and K.
                                         Sullivan on document review of
                                         consultant and related privilege
                                         issues (.1); revise 2004 chart (.3);
                                         document review related to


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                                         professionals investigative report
                                         (1.0).

07/25/23       JP                        Review status of Rule 2004                                                                           1.60     1,828.80
                                         negotiations with Silicon Valley
                                         Accountants and e-mail summary to
                                         A. Alden regarding same in advance
                                         of meet and confer with Silicon
                                         Valley Accountants (1.0); review and
                                         finalize modified Rule 2004 requests
                                         for Wells Fargo and transmit e-mail
                                         to Wells Fargo regarding same (0.6).

07/25/23       JY1                       Review materials and                                                                                 2.50     2,958.75
                                         correspondence related to
                                         professionals investigative report
                                         (2.5).

07/25/23       AS2                       Review and revise responses and                                                                      5.70     6,515.10
                                         objections in connection with
                                         discovery requests in Bahamas
                                         litigation (3.1); legal research
                                         regarding adversary proceeding
                                         discovery standards (1.4); legal
                                         research in Grayscale litigation
                                         regarding implied covenant issues
                                         under Delaware law (1.2).

07/25/23       DRM                       Document review to support                                                                           4.20     3,137.40
                                         preparation of investigations target
                                         complaint (4.2).

07/25/23       AK2                       Confer with O.Yeffet re: Rule 2004                                                                   2.40     2,916.00
                                         requests on Venture Book
                                         investments, conduct research re:
                                         same, and review drafts of same (.6);
                                         prepare for meet and confer with
                                         counsel for MJMcCaffrey, Red Sea
                                         Research, and Lonely Road re: Rule
                                         2004 discovery requests (.4); attend
                                         same (.4); confer with I.Nesser re:
                                         results of same and determine next
                                         steps re: same (.5); confer with
                                         O.Yeffet re: next steps re: same (.1);
                                         analyze status of Rule 2004 requests
                                         on venture book investments (.2);
                                         confer with O.Yeffet re: protective

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                                         order applicable to Rule 2004
                                         productions (.1); confer with M.Lev
                                         re: investigative report on
                                         professionals (.1).

07/25/23       SS7                       Revise memorandum regarding                                                                          4.40     3,702.60
                                         individual of interest (1.0); compose
                                         draft email to Alvarez and Marsal
                                         including questions related to certain
                                         expenses (0.7); draft legal complaint
                                         against insiders (2.7).

07/25/23       SH6                       Correspondence with S. Snower re:                                                                    0.40      336.60
                                         outside professionals and complaint
                                         targets and follow-up fact research re:
                                         the same (0.4).

07/25/23       EDW                       Exchange e-mails with QE team re                                                                     0.20      288.00
                                         claim theories for insider (.2).

07/25/23       KL                        Draft email re professionals                                                                         0.60      955.80
                                         investigative report edits (.2); review
                                         emails re edits to investigative report
                                         (.3); tc W. Sears re pending
                                         complaints (.1).

07/26/23       APA                       Attend weekly call with Rule 2004                                                                    0.20      288.00
                                         team (0.2).

07/26/23       AS2                       Review and revise amended                                                                            5.10     5,829.30
                                         complaint for Grayscale litigation
                                         (3.7); review and revise responses
                                         and objections to discovery requests
                                         in Bahamas litigation (1.4).

07/26/23       SH6                       Correspondence with S. Snower re:                                                                    0.30      252.45
                                         outside professionals and complaint
                                         targets and follow-up fact research re:
                                         the same (0.3).

07/26/23       AG3                       Review and analyze documents                                                                         4.20     3,137.40
                                         related to family target and donation
                                         recipient (4.2).

07/26/23       TCM                       Correspondence w/ O. Yeffet re. law                                                                  2.10     2,551.50
                                         firm Rule 2004 requests (.3); emails
                                         and calls w/ S. Snower re. complaint
                                         against particular individual (1.1);
                                         call w/ university counsel and re.
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                                         Rule 2004 production (.3); Rule 2004
                                         team meeting (.2); follow-up call w/
                                         A. Alden re. same (.1).

07/26/23       DRM                       Document review to support                                                                           0.80      597.60
                                         preparation of investigations target
                                         complaint (0.8).

07/26/23       KL                        Review memos on entities of interest                                                                 1.30     2,070.90
                                         (.7); internal QE call re professionals
                                         investigative report (left call early)
                                         (.6).

07/26/23       JP                        Conference call with S. Rand, A.                                                                     1.30     1,485.90
                                         Alden, and others to discuss
                                         objections to Rule 2004 motion and
                                         next steps (partial attendance) (0.2);
                                         review and analysis of objections to
                                         Rule 2004 motion from Silvergate
                                         Bank, Evolve Bank, and Silicon
                                         Valley Accountants and
                                         correspondence with S. Rand and A.
                                         Alden regarding objections and
                                         status of negotiations with same (1.1).

07/26/23       JY1                       Conference regarding 2004 requests                                                                   2.70     3,195.45
                                         (.2); conference regarding
                                         investigative report (1); review
                                         materials and correspondence
                                         regarding auditors for professionals
                                         investigative report (1.5).

07/26/23       AK2                       Confer with E.Kapur and O.Yeffet re:                                                                 0.10      121.50
                                         Rule 2004 discovery request on
                                         Venture Book investment and next
                                         steps re: same (.1).

07/26/23       SS7                       Discuss structure of draft complaint                                                                 5.80     4,880.70
                                         against insiders with W. Sears (0.2);
                                         calls with T. Murray regarding
                                         certain Debtor expenses (1.1);
                                         compose correspondence to T.
                                         Murray regarding the same (1.0);
                                         analyze emails from Alvarez and
                                         Marsal regarding Debtor expenses
                                         (0.5); draft complaint against insiders
                                         (3.0).

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07/26/23       OBY                       Call with A&M on professionals                                                                       4.60      4,160.70
                                         investigative report (1.0); meet and
                                         confer A. Alden and accounting
                                         target (.5); 2004 team meeting (.2);
                                         review hit count report and draft
                                         email response to A. Alden on meet
                                         and confer (1.2); revise 2004 request
                                         (.4); review documents for 2004
                                         request and meet and confer (.5); call
                                         with J. Palmerson, A. Alden, M. Lev,
                                         and S. Rand on professionals
                                         investigative report (.4); update 2004
                                         tracker on status of requests (.4).

07/26/23       SNR                       Various t/c and communications re:                                                                   1.20      1,911.60
                                         Grayscale strategy (1.2).

07/27/23       TCM                       Call w/ J. Young and S. Snower re.                                                                   9.20     11,178.00
                                         potential complaint against particular
                                         individual (.1); emails and calls w/ S.
                                         Snower re. same (1.1); emails w/ M.
                                         Lev, J. Boxer, and S. Hill re. edits to
                                         prof. investigative report (.3); calls w/
                                         S. Hill re. same (.2); call w/ K. Lemire
                                         re. fact memorandum for
                                         investigative target and certain
                                         insider expenses (.2); review of
                                         documents re. certain insider
                                         expenses and comprehensive
                                         revisions, and source document
                                         review, re. investigative target
                                         memorandum (7.3).

07/27/23       AS2                       Team meeting regarding Grayscale                                                                     5.60      6,400.80
                                         litigation strategy (0.4); review and
                                         revise amended complaint in
                                         Grayscale litigation in preparation for
                                         filing (3.8); prepare supporting
                                         materials in connection with
                                         amended complaint in Grayscale
                                         litigation (1.4).

07/27/23       OBY                       Revise draft of law firm professionals                                                               5.40      4,884.30
                                         investigative report including review
                                         of documents, and emails with A.
                                         Alden and M. Lev on same (5.4).


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07/27/23       AG3                       Review and analyze documents                                                                         9.90     7,395.30
                                         related to family target and donation
                                         recipient (9.6); correspondence with
                                         JB re: same (.3).

07/27/23       DRM                       Document review to support                                                                           3.00     2,241.00
                                         preparation of investigations target
                                         complaint (3.0).

07/27/23       KL                        TC T. Murray re insider memo (.2);                                                                   0.30      477.90
                                         review email re draft memo on
                                         person of interest (.2).

07/27/23       JY1                       Review materials and                                                                                 1.30     1,538.55
                                         correspondence to support
                                         professionals investigative report
                                         (1.3).

07/27/23       JP                        Correspondence and coordination                                                                      2.40     2,743.20
                                         internally, with Committee, and with
                                         Rule 2004 targets regarding Rule 2004
                                         negotiations and productions (0.9);
                                         conference call with A. Alden to
                                         discuss status of negotiations with
                                         Evolve Bank and Silvergate Bank
                                         with respect to Rule 2004 productions
                                         (0.2); preparation for meet and confer
                                         with Silvergate Bank regarding Rule
                                         2004 production and correspondence
                                         with A. Alden regarding same (0.7);
                                         meet and confer with Silvergate Bank
                                         regarding Rule 2004 production
                                         (0.43); review and revise stipulation
                                         for adjournment of Rule 2004 motion
                                         hearing as to Silicon Valley
                                         Accountants and internal
                                         correspondence regarding same (0.3).

07/27/23       SH6                       Conference with T. Murray regarding                                                                  0.20      168.30
                                         outside professionals and complaint
                                         targets and follow-up fact research
                                         regarding the same (0.2).

07/27/23       SS7                       Participate in call with T. Murray and                                                               2.30     1,935.45
                                         J. Young regarding properties
                                         purchased by Debtors (0.1); calls with
                                         T. Murray regarding the same (0.5);
                                         draft complaint against insiders (1.7).
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07/27/23       AK2                       Confer with M.Lev re: investigative                                                                  0.90      1,093.50
                                         report on professionals and conduct
                                         research re: same (.2); attend weekly
                                         monetization coordination call (.4);
                                         confer with O.Yeffet re: Rule 2004
                                         request on Venture Book investment
                                         and next steps re: same (.1); analyze
                                         status of Rule 2004 requests on
                                         Venture Book entities (.2).

07/28/23       AS2                       Review and revise amended                                                                            5.00      5,715.00
                                         complaint in Grayscale litigation in
                                         preparation for filing (3.3); legal
                                         research regarding fiduciary duty
                                         claims under Delaware law in
                                         Grayscale litigation (1.7).

07/28/23       TCM                       Correspondence w/ M. Lev, S. Hill,                                                                   9.40     11,421.00
                                         and J. Boxer re. edits to prof.
                                         investigative report (.7);
                                         correspondence w/ S. Snower re.
                                         Individual investigative target fact
                                         memorandum (.1); calls w/ K. Lemire
                                         re. same and certain insider expenses
                                         (.3); comprehensive revisions and
                                         review of source documents re.
                                         Individual investigative target fact
                                         memorandum (8.1); external emails
                                         re. law firm Rule 2004 productions
                                         (.2).

07/28/23       OBY                       Revisions to professionals                                                                           2.30      2,080.35
                                         investigative report (1.5); emails with
                                         A. Alden and M. Lev on professionals
                                         investigative report (.8).

07/28/23       AG3                       Correspondence with JB re: review of                                                                 3.40      2,539.80
                                         documents related to family target
                                         and donation recipient (.2); review
                                         and revise memorandum regarding
                                         same (3.2).

07/28/23       KL                        Edit and finalize draft memo on                                                                      0.70      1,115.10
                                         person of interest (.7).

07/28/23       JP                        Preparation for meet and confer with                                                                 4.20      4,800.60
                                         Evolve Bank regarding Rule 2004
                                         production and correspondence with
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                                         A. Alden regarding same (0.4); meet
                                         and confer with Evolve Bank
                                         regarding Rule 2004 production (0.4);
                                         review, revise, finalize, and serve
                                         Rule 2004 requests on Chipper Cash
                                         (1.9); draft e-mail memorializing meet
                                         and confer with Evolve Bank (0.6);
                                         review correspondence regarding
                                         Silvergate Bank Rule 2004 production
                                         and internal correspondence
                                         regarding same (0.2); correspondence
                                         and coordination internally, with
                                         Committee, and with Rule 2004
                                         targets regarding Rule 2004
                                         negotiations and productions (0.7).

07/28/23       DRM                       Document review to support                                                                           2.60     1,942.20
                                         preparation of investigations target
                                         complaint and confer re: same (2.6).

07/28/23       AK2                       Confer with M.Lev re: investigative                                                                  0.30      364.50
                                         report on professionals and conduct
                                         research re: same (.2); confer with
                                         Jackie Palmerson re: Rule 2004
                                         Requests on Venture Book
                                         investment (.1).

07/28/23       SS7                       Draft complaint against insiders (8.2);                                                            10.00      8,415.00
                                         review memorandum regarding
                                         content of third party production
                                         (0.4); compose correspondence to T.
                                         Murray regarding expenses and
                                         certain contributions made from
                                         Debtor entities (1.2); correspondence
                                         with J. Young regarding expenses
                                         (0.2).

07/28/23       EDW                       Review Chipper Cash R. 2004 letter                                                                   0.30      432.00
                                         (.3).

07/28/23       SH6                       Correspondence with T. Murray and                                                                    0.60      504.90
                                         J. Boxer regarding outside
                                         professionals and follow-up fact
                                         research regarding the same (0.6).

07/28/23       JY1                       Review materials and                                                                                 0.80      946.80
                                         correspondence to support
                                         professionals investigative report (.8).
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07/29/23       OBY                       Calls with A. Alden on revisions to                                                                  3.30      2,984.85
                                         professionals investigative report (.4);
                                         review and summarize
                                         confidentiality provisions for
                                         professionals investigative report (.8);
                                         draft new sections for law firm target
                                         in professionals investigative report
                                         and circulate to A. Alden and M. Lev
                                         (2.1).

07/29/23       OBY                       Review memo on family                                                                                0.80       723.60
                                         investigation target and provide
                                         feedback to K. Lemire, T. Murray,
                                         and S. Snowe (.8).

07/29/23       KL                        Finalize memo on subject of interest                                                                 1.20      1,911.60
                                         (1.1); review avoidance action update
                                         (.1).

07/29/23       JP                        Correspondence and coordination                                                                      1.90      2,171.70
                                         internally, with Committee, and with
                                         Rule 2004 targets regarding Rule 2004
                                         productions (0.6); draft proposed text
                                         messages search protocol for Silicon
                                         Valley Accountants (1.0); review
                                         correspondence from Wells Fargo
                                         regarding Rule 2004 production and
                                         internal correspondence with A.
                                         Alden regarding same (0.3).

07/29/23       TCM                       Continued comprehensive revisions                                                                  12.80      15,552.00
                                         and review of source documents re.
                                         investigative target fact
                                         memorandum (8.3); revisions and
                                         review of source documents re.
                                         expenses section of other
                                         investigative target fact
                                         memorandum (2.3); correspondence
                                         w/ S. Snower re. fact memoranda on
                                         two investigative targets (.9); final
                                         revisions to new law firm Rule 2004
                                         requests and emails w/ O. Yeffet re.
                                         same (1.3).

07/29/23       SS7                       Draft insert for insider memorandum                                                                  8.40      7,068.60
                                         (0.2); compose email to Alvarez &


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                                         Marsal regarding expenses (0.3); draft
                                         complaint against insiders (7.9).

07/29/23       SH6                       Review and revise professionals                                                                      2.10     1,767.15
                                         investigative report draft, fact
                                         research, and internal
                                         correspondence re: the same (2.1).

07/30/23       TCM                       Final revisions to fact memorandum                                                                   2.40     2,916.00
                                         in investigative target (2.2); emails w/
                                         K. Lemire and S. Snower re. same (.1);
                                         call w/ S. Snower re. same (.1).

07/30/23       OBY                       Document review and related emails                                                                   0.50      452.25
                                         on entities in professionals
                                         investigative report with A. Alden
                                         and M. Lev (.5).

07/30/23       SS7                       Compose complaint against insiders                                                                   6.30     5,301.45
                                         and conduct related research to
                                         support complaint (6.3).

07/30/23       EK                        Review and revise board deck (0.3).                                                                  0.30      373.95

07/30/23       KL                        Update asset recovery chart (.8); edit                                                               4.00     6,372.00
                                         memos on claims against persons of
                                         interest (2.8).

07/30/23       JP                        Correspondence and coordination                                                                      1.10     1,257.30
                                         internally, with Committee, and with
                                         Rule 2004 targets regarding Rule 2004
                                         productions and pending Rule 2004
                                         motion (1.1).

07/30/23       AK2                       Confer with K.Lemire re: materials                                                                   1.30     1,579.50
                                         for Board meeting, revise same,
                                         confer with A.Alden and E.Kapur re:
                                         same, and confer with S.Wheeler re:
                                         same (1.3).

07/30/23       JY1                       Research and correspondence                                                                          1.80     2,130.30
                                         regarding auditor issue for
                                         investigative report (1.8).

07/31/23       AK2                       Confer with Eric Winston re:                                                                         0.70      850.50
                                         upcoming weekly team call (.1);
                                         analyze status of Rule 2004 requests
                                         on Venture investments and analyze
                                         next steps re: same (.2); attend weekly

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                                         team meeting (.3); confer with S.Rand
                                         re: Board meeting materials (.1).

07/31/23       SS7                       Compose draft complaint against                                                                      6.40     5,385.60
                                         insiders and conduct related research
                                         to support same (5.6); participate in
                                         meeting with family member
                                         investigation targets’ counsel
                                         regarding production of documents
                                         (0.6); call with T. Murray to discuss
                                         the same (0.2).

07/31/23       AS2                       Review and revise amended                                                                            6.80     7,772.40
                                         complaint in Grayscale litigation in
                                         light of team and co-counsel
                                         comment (3.8); review and revise
                                         responses and objections to discovery
                                         requests in Bahamas litigation (3.0).

07/31/23       MEO                       Team call regarding case strategy                                                                    0.30      364.50
                                         (0.3).

07/31/23       EK                        Conference with QE team re: overall                                                                  0.30      373.95
                                         case strategy (0.3).

07/31/23       APA                       Attend weekly QE team status call                                                                    0.30      432.00
                                         (0.3).

07/31/23       TS4                       Correspond with A. Kutscher re                                                                       0.10       84.15
                                         potential target for avoidance action
                                         (0.1).

07/31/23       TCM                       Weekly QE team call (.3); prof.                                                                      3.10     3,766.50
                                         investigative report call w/QE and
                                         A&M teams (.7); call w/ J. Young re.
                                         fact memorandum on investigative
                                         target and particular law firm Rule
                                         2004 production (.2); calls w/ S. Hill
                                         re. prof. investigative report and
                                         insider fact memoranda (.4); calls w/
                                         K. Lemire re. same (.2); call w/ S.
                                         Snower re. draft complaint against
                                         particular individual (.2); emails w/
                                         K. Lemire and S. Hill re. fact
                                         memoranda on two investigative
                                         targets (.1); call w/ counsel for two
                                         investigative targets and S. Snower
                                         re. university 2004 production

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                                         protocol (.6); emails w/ university
                                         counsel and investigative target
                                         counsel re. same (.3); emails w/ S.
                                         Rand, K. Lemire, and QE team re.
                                         status of same (.1).

07/31/23       WS1                       Call with QE team re: litigation                                                                     0.30      373.95
                                         strategy and asset recovery (.3).

07/31/23       EDW                       Participate on team call re Ventures                                                                 0.30      432.00
                                         and other matters (.3).

07/31/23       KL                        Edit memos on claims against                                                                         3.90     6,212.70
                                         persons of interest (1.3); respond to
                                         emails re memos (.4); weekly QE call
                                         (.3); calls with internal team re
                                         professionals investigative report
                                         (1.2); TC S. Hill re status of
                                         memoranda (.2); TC T. Murray
                                         memos re: claims (.2); TC S&C re
                                         editing to investigative report on
                                         professionals (.3).

07/31/23       EDW                       Review Chipper Cash letter and                                                                       0.40      576.00
                                         conference with QE team re same (.4).

07/31/23       JP                        Correspondence and coordination                                                                      0.90     1,028.70
                                         internally, with Committee, and with
                                         Rule 2004 targets regarding Rule 2004
                                         negotiations and productions (0.6);
                                         team call to discuss case updates
                                         (0.3).

07/31/23       KMA                       Weekly QE team meeting (.3).                                                                         0.30      364.50

07/31/23       SH6                       Conference with K. Lemire re:                                                                        6.90     5,806.35
                                         complaint and fact memo check-in
                                         (0.2); weekly team conference (0.3);
                                         conference with A&M re:
                                         professionals investigative report
                                         (partial attendance) and internal
                                         follow-up regarding the same (0.5);
                                         fact research re: professional services
                                         invoices and engagements for A&M
                                         (1.9); internal correspondence re:
                                         venture book targets (0.7); review
                                         and revise professionals investigative
                                         report and fact research re: same

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                                         (1.6); conference with QE
                                         professionals investigative report
                                         team (0.4); review and revise draft
                                         complaint and correspondence with
                                         S. Snower re: same (0.9); conference
                                         with T. Murray re: 2004 targets and
                                         follow-up correspondence re: same
                                         (0.4).

07/31/23       OBY                       Team call with A&M regarding                                                                         0.70          633.15
                                         professionals investigative report (.7).

07/31/23       SNR                       Team strategy meeting (0.3).                                                                         0.30          477.90

07/31/23       JY1                       Conference regarding investigative                                                                   2.40         2,840.40
                                         report (.7); conference regarding
                                         investigative report (.2); conference
                                         with T. Murray regarding
                                         memorandum on insider (.2); review
                                         professionals investigative report
                                         materials (1); weekly team meeting
                                         (.3).

07/31/23       KJS                       Attend QE team meeting (0.3).                                                                        0.30          575.10

07/31/23       MRS                       QE weekly team call (0.3).                                                                           0.30          395.55

                                                                                  SUBTOTAL                                                953.80       1,009,319.85

02 Avoidance Action Analysis


07/03/23       ST4                       Analyzing choice of law issues                                                                       1.30         1,175.85
                                         related to potential claims (1.2).

07/03/23       APA                       Prepare email to NEAR's counsel                                                                      0.20          288.00
                                         (0.2).

07/04/23       ST4                       Analyzing choice of law issues                                                                       1.40         1,266.30
                                         related to potential claims (1.4).

07/05/23       ST4                       Correspondence regarding approach                                                                    0.50          452.25
                                         to avoidance analysis for transactions
                                         (.5).

07/05/23       MM2                       Preparing correspondence re                                                                          0.10          110.70
                                         avoidance actions (0.1).




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07/05/23       MW2                       Review documents related to Debtor                                                                   0.40      298.80
                                         investment in East Asia venture fund
                                         with potential insider (.4).

07/05/23       AK2                       Confer with Connie Kim re:                                                                           3.30     4,009.50
                                         monetization coordination, review
                                         and analyze documents re: same, and
                                         determine next steps re: same (.3);
                                         confer with A.Canale and O.Yeffet re:
                                         avoidance action memoranda and
                                         conduct research re: same (.2); review
                                         and analyze documents, data, and
                                         communications re: potential
                                         avoidance actions and determine next
                                         steps re: same (1.3); confer with
                                         I.Nesser re: avoidance action
                                         memoranda and potential complaint
                                         re: same (.3); analyze status of
                                         avoidance action analyses and
                                         determine next steps re: same (.3);
                                         confer with N.Huh re: analysis of
                                         Venture investments and potential
                                         avoidance actions re: same (.1); revise
                                         avoidance action memorandum and
                                         confer with I.Nesser re: same (.7).

07/06/23       AK2                       Confer with A.Canale and S.Glustein                                                                  2.50     3,037.50
                                         of Alvarez and Marsal re: upcoming
                                         monetization coordination call (.1);
                                         analyze status of in-progress
                                         avoidance action analyses and
                                         determine next steps re: same (.3);
                                         confer with M.Meadows re: potential
                                         avoidance actions (.1); determine next
                                         steps re: potential avoidance actions
                                         and confer with A.Nelson and
                                         M.Wittmann re: same (.8); conduct
                                         research re: potential avoidance
                                         actions and confer with N.Huh re:
                                         next steps re: same (1.2).

07/07/23       AK2                       Revise draft avoidance action                                                                        4.80     5,832.00
                                         memorandum and conduct legal
                                         research re: same and confer with
                                         I.Nesser re: same (4.8).


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07/07/23       ST4                       Analyzing choice of law issues                                                                       0.60      542.70
                                         related to potential claims (.6).

07/07/23       APA                       Emails to and from A. Kutscher                                                                       0.10      144.00
                                         regarding Embed (0.1).

07/10/23       KJS                       Analyze Embed case management                                                                        0.20      383.40
                                         order (0.2).

07/10/23       AK2                       Confer with I.Nesser re: avoidance                                                                   1.10     1,336.50
                                         action memoranda (.4); revise
                                         avoidance action memorandum and
                                         confer with S.Rand and I.Nesser re:
                                         same and next steps re: same (.7).

07/10/23       MW2                       Review documents related to Debtor                                                                   3.60     2,689.20
                                         investment in East Asia venture fund
                                         (1.2); draft memo re. debtor
                                         investment (2.4).

07/10/23       KJS                       Revise avoidance action complaint                                                                    1.40     2,683.80
                                         and exchange correspondence with
                                         S&C re same (1.4).

07/10/23       KJS                       Exchange correspondence with Sam                                                                     0.20      383.40
                                         Williamson and Katie Lemire re
                                         avoidance complaint (0.2).

07/10/23       AN4                       Document review for avoidance                                                                        6.00     4,482.00
                                         action analysis target (6.0).

07/11/23       MM2                       Analyzing discovery documents in                                                                     1.00     1,107.00
                                         support of potential avoidance action
                                         claims (1.0).

07/11/23       KJS                       Analyze documents re potential FTX                                                                   0.60     1,150.20
                                         EU claims (0.6).

07/11/23       KJS                       Research re Bahamas claim theories                                                                   0.50      958.50
                                         and exchange correspondence with
                                         QE team re same (0.5).

07/11/23       KJS                       Further revisions to FTX EU                                                                          1.00     1,917.00
                                         avoidance action complaint and
                                         correspondence with S&C re same
                                         (1.0).

07/11/23       MRS                       Analyzing FTX EU avoidance action                                                                    0.90     1,186.65
                                         complaint and correspondence
                                         internally regarding the same (0.9).

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07/11/23       KJS                       Prepare correspondence to S.                                                                         0.30      575.10
                                         Ehrenberg (S&C) re revisions to
                                         complaint (0.3).

07/11/23       AK2                       Draft memorandum on Venture                                                                          3.70     4,495.50
                                         investments and conduct research in
                                         support of same (2.8); revise
                                         avoidance action memoranda (.9).

07/12/23       APA                       Emails to and from A. Kutscher and I.                                                                0.10      144.00
                                         Nesser regarding discovery (0.1).

07/12/23       AN4                       Prepare memorandum for avoidance                                                                     6.10     4,556.70
                                         action analysis target (6.10).

07/12/23       MW2                       Draft memo re. venture fund                                                                          2.80     2,091.60
                                         investments (1.8); review documents
                                         relating to debtor investments (1).

07/12/23       KJS                       Analyze filed FTX Europe avoidance                                                                   0.30      575.10
                                         action (0.3).

07/12/23       AK2                       Confer with S.Glustein re:                                                                           1.80     2,187.00
                                         undelivered tokens and assess next
                                         steps re: same (.4); revise avoidance
                                         action memoranda, confer with
                                         I.Nesser re: same, and confer with
                                         C.Kim re: same (.8); conduct research
                                         re: potential avoidance action target
                                         and review and analyze
                                         memorandum re: same (.6).

07/13/23       AK2                       Analyze potential basis for fraud                                                                    2.60     3,159.00
                                         claims against Venture Book
                                         investment (.6); confer with I.Nesser
                                         re: same (.2); confer with C.Kim re:
                                         monetization coordination and
                                         review and analyze documents re:
                                         same and determine impact on
                                         potential avoidance action (1.4);
                                         confer with A.Canale, S.Glustein and
                                         K.Flinn re: upcoming call re: same
                                         (.1); confer with investigator re:
                                         research into next steps re: potential
                                         avoidance action and upcoming call
                                         re: same and determine next steps re:
                                         same (.3).


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07/14/23       MM2                       Analyzing discovery documents in                                                                     0.30      332.10
                                         support of potential avoidance action
                                         claims (0.3).

07/14/23       AN4                       Revise and circulate memorandum                                                                      0.30      224.10
                                         on investigation into avoidance
                                         action analysis target (.30).

07/14/23       AK2                       Confer with S.Glustein and W.Walker                                                                  0.70      850.50
                                         re: Venture token investment and
                                         next steps re: same (.1); review and
                                         analyze documents re: potential
                                         monetization of Venture Book
                                         avoidance action target and confer
                                         with C.Kim re: same (.4); confer with
                                         S.Rand and I.Nesser re: same (.1);
                                         confer with M.Wittmann re: potential
                                         avoidance actions and memoranda
                                         re: same (.1).

07/14/23       AN4                       Revise and circulate memorandum                                                                      0.20      149.40
                                         on avoidance action analysis target
                                         (.20).

07/14/23       MW2                       Review documents related to Debtor                                                                   1.80     1,344.60
                                         investment with potential insider (.8);
                                         draft memo regarding referenced
                                         investment (1).

07/18/23       MM2                       Analyzing discovery documents in                                                                     0.30      332.10
                                         support of potential avoidance action
                                         claims (0.3).

07/18/23       APA                       Emails to and from Alvarez & Masal                                                                   0.30      432.00
                                         regarding NEAR tokens (0.3).

07/18/23       AK2                       Confer with S.Rand and I.Nesser re:                                                                  1.70     2,065.50
                                         potential avoidance actions and
                                         merits of same and conduct research
                                         re: same (.8); confer with S.Rand re:
                                         status of Venture Book avoidance
                                         action analysis and conduct research
                                         re: same (.2); confer with I.Nesser re:
                                         Venture Book avoidance action next
                                         steps and conduct research re: same
                                         (.2); confer with S.Rand and I.Nesser
                                         re: on-going research into potential
                                         avoidance action and use of

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                                         investigator to further same (.2);
                                         confer with investigator re: next steps
                                         re: obtaining evidence for potential
                                         avoidance action (.3).

07/18/23       MW2                       Draft memo re. potential insider                                                                     2.20     1,643.40
                                         investment (1.1); review documents
                                         related to investment (.9); review
                                         internal spreadsheets of outside
                                         investors in investment fund (.2).

07/19/23       MM2                       Analyzing discovery documents in                                                                     0.60      664.20
                                         support of potential avoidance action
                                         claims (0.6).

07/19/23       MW2                       Review documents related to debtor                                                                   3.40     2,539.80
                                         investment in East Asia venture fund
                                         (.7); review and revise venture book
                                         memo (1.3); review A&M analysis
                                         regarding bank transfers and
                                         holdings of venture fund on FTX
                                         exchange (.6); draft memo re. said
                                         venture fund (.8).

07/19/23       AK2                       Review and analyze communication                                                                     0.20      243.00
                                         re: Venture Book tokens and
                                         determine next steps re: same (.2).

07/20/23       MM2                       Analyzing discovery documents in                                                                     1.60     1,771.20
                                         support of potential avoidance action
                                         claims (1.6).

07/20/23       MW2                       Review documents related to Debtor                                                                   4.20     3,137.40
                                         purchase of foreign crypto exchange
                                         (3.6); draft analysis of Debtors' said
                                         investment (.6).

07/20/23       AK2                       Analyze potential avoidance action                                                                   1.20     1,458.00
                                         and next steps re: same (.3); review
                                         and analyze investigator
                                         memorandum on potential avoidance
                                         action and determine next steps re:
                                         same (.4); confer with N.Huh re:
                                         avoidance action target and evidence
                                         re: same (.1); review and analyze
                                         documents re: potential monetization
                                         of avoidance action targets and
                                         confer with C.Kim re: same (.4).

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07/21/23       MM2                       Analyzing discovery documents in                                                                     2.40     2,656.80
                                         support of potential avoidance action
                                         claims (2.4).

07/21/23       AK2                       Confer with M.Meadows re:                                                                            0.30      364.50
                                         memoranda on potential avoidance
                                         actions (.1); confer with M.Smith re:
                                         avoidance action memoranda and
                                         next steps re: same (.1); confer with
                                         A.Canale re: document collection and
                                         review for Venture Book analyses
                                         (.1).

07/24/23       AK2                       Confer with Marissa Smith re:                                                                        1.10     1,336.50
                                         upcoming projects (.1); confer with
                                         I.Nesser re: memoranda on potential
                                         avoidance action targets and
                                         investigative work into same (.4);
                                         review and analyze data and
                                         documents re: potential avoidance
                                         action (.6).

07/24/23       MW2                       Review documents related to                                                                          2.50     1,867.50
                                         Debtors' purchase and DD of foreign
                                         crypto exchange (2.5).

07/24/23       APA                       Teleconference with Alvarez &                                                                        0.50      720.00
                                         Marsal regarding NEAR tokens (0.3);
                                         teleconference with I Nesser
                                         regarding Rule 2004 Venture targets
                                         (0.2).

07/25/23       MM2                       Analyzing discovery documents in                                                                     2.70     2,988.90
                                         support of potential avoidance action
                                         claims (1.4); preparing memorandum
                                         re potential avoidance action claims
                                         (1.3).

07/25/23       AK2                       Review and analyze communications                                                                    1.90     2,308.50
                                         re: potential avoidance actions and
                                         determine next steps re: same (.3);
                                         draft memorandum on potential
                                         avoidance actions (1.6).

07/25/23       MW2                       Review documents related to Debtor                                                                   3.30     2,465.10
                                         purchase of crypto exchange (2.4);
                                         research case law re. seeking
                                         avoidance of transfers (.5); corr. with

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                                         FTI re. bank records and transfers
                                         made from Debtor accounts (.1);
                                         review bank records for pertinent
                                         transfers (.3).

07/26/23       MM2                       Analyzing discovery documents in                                                                     3.80     4,206.60
                                         support of potential avoidance action
                                         claims (2.8); preparing memorandum
                                         re potential avoidance action claims
                                         (1).

07/26/23       EK                        Review and revise 2004 meet and                                                                      0.80      997.20
                                         confer letter (0.6); correspondence
                                         with O. Yeffet and A. Kutscher re:
                                         same (0.2).

07/26/23       MW2                       Research case law re. preference                                                                     3.00     2,241.00
                                         claims for purchase agreements and
                                         against subsidiaries (.8); draft memo
                                         re. potential preference claim (.9);
                                         review documents related to Debtor
                                         purchase of crypto exchange (1.3).

07/26/23       AK2                       Analyze potential avoidance action                                                                   0.30      364.50
                                         and next steps re: same (.3).

07/27/23       APA                       Teleconference with Alvarez &                                                                        0.10      144.00
                                         Marsal regarding NEAR tokens (0.1).

07/27/23       AK2                       Conduct research re: potential                                                                       3.40     4,131.00
                                         avoidance action, confer with S.Rand
                                         and I.Nesser re: potential meeting
                                         with investment recipient re: same,
                                         and confer with Perella Weinberg re:
                                         same (2.8); determine next steps re:
                                         same and confer with investigator re:
                                         same (.4); review and analyze
                                         communication re: potential
                                         avoidance action, determine next
                                         steps re: same, and confer with
                                         Alvarez and Marsal re: same (.2).

07/27/23       MM2                       Analyzing discovery documents in                                                                     6.10     6,752.70
                                         support of potential avoidance action
                                         claims (2.3); preparing memoranda re
                                         potential avoidance action claims
                                         (3.8).


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07/28/23       APA                       Emails to and from Alvarez & Marsal                                                                  0.30        432.00
                                         regarding NEAR tokens (0.3).

07/28/23       MM2                       Finalizing memo re potential                                                                         2.70       2,988.90
                                         avoidance action claims (2.7).

07/31/23       APA                       Review memo on NEAR tokens (0.2);                                                                    0.60        864.00
                                         teleconference with Alvarez & Marsal
                                         regarding NEAR tokens (0.4).

07/31/23       AK2                       Confer with M.Wittmann re:                                                                           2.70       3,280.50
                                         potential avoidance action and
                                         memorandum re: same (.1); analyze
                                         status of avoidance action analyses
                                         (.2); confer with S.Rand and I.Nesser
                                         re: upcoming call re: potential
                                         avoidance action (.2); confer with
                                         Sullivan and Cromwell and Perella
                                         Weinberg teams re: same (.1); confer
                                         with I.Nesser re: potential avoidance
                                         actions and next steps re: same (.2);
                                         draft memorandum re: potential
                                         avoidance actions (1.8); confer with
                                         T.Sharma re: potential avoidance
                                         action and memorandum re: same
                                         (.1).

                                                                                  SUBTOTAL                                                106.90       111,516.75

03 Bankruptcy Litigation


07/01/23       SNR                       Address strategy issues re: Bahamian                                                                 1.10       1,752.30
                                         JL claims and related discovery issues
                                         (0.7); various communications w/ M.
                                         Scheck re: same (0.4).

07/01/23       KW                        Legal research for amended                                                                           1.20       1,458.00
                                         complaint in Grayscale litigation
                                         (1.2).

07/02/23       KJS                       Research re Bahamas litigation claims                                                                0.70       1,341.90
                                         (0.7).

07/02/23       KJS                       Analyze documents re JPL/Digital                                                                     0.80       1,533.60
                                         Markets litigation (0.8).

07/02/23       RCE                       Review complaint in Bahamas                                                                          0.30        575.10
                                         litigation (0.3).
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07/02/23       KW                        Legal research for amended                                                                           1.00     1,215.00
                                         complaint in Grayscale litigation
                                         (1.0).

07/03/23       KJS                       Confer with Matt Scheck and                                                                          1.20     2,300.40
                                         McKenzie Anderson re Bahamas
                                         litigation (1.2).

07/03/23       KJS                       Analyze documents re Bahamas                                                                         1.30     2,492.10
                                         claims and analyses of same (1.3).

07/03/23       BC6                       Confer with K. Lemire re Friedberg                                                                   0.20      149.40
                                         litigation and related issues (.2).

07/03/23       KL                        Review and respond to emails re D.                                                                   0.70     1,115.10
                                         Friedberg litigation (.2); tc W. Sears re
                                         staffing (.1); corr. J. Young re staffing
                                         and next steps (.1); send emails re
                                         staffing (.1); tc B. Carroll re Friedberg
                                         background (.2).

07/03/23       EK                        Correspondence with S. Rand and J.                                                                   0.30      373.95
                                         Pickhardt re: discussions with
                                         aligned parties in re: Grayscale (0.1);
                                         analyze legal research in re: amended
                                         complaint strategy and
                                         correspondence with team re: same in
                                         Grayscale litigation (0.2).

07/03/23       AN3                       Review and analysis of Amended                                                                       2.50     3,341.25
                                         Complaint, John Ray Second Report,
                                         JPL declaration in connection with
                                         developing claims and defenses in
                                         Bahamas litigation (2.5).

07/03/23       MW2                       Draft email to E. Kapur re. complaint                                                                0.40      298.80
                                         and legal research re. declaratory
                                         judgment and breach of contract
                                         claims in Grayscale litigation (.3);
                                         analyze availability of damages for
                                         potential breach of contract claim in
                                         Grayscale litigation (.1).

07/03/23       JY1                       Correspondence regarding service of                                                                  0.60      710.10
                                         Friedberg complaint (.6).

07/03/23       JEP                       Review and respond to emails re                                                                      0.60      955.80
                                         litigation strategy in Grayscale
                                         litigation (.6).
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07/03/23       KMA                       Meeting with J. Shaffer and M.                                                                       1.20     1,458.00
                                         Scheck regarding FTX Bahamas
                                         adversary proceeding workstreams
                                         (1.2).

07/03/23       WS1                       Call with K. Lemire re: Friedberg                                                                    0.10      124.65
                                         action (.1).

07/03/23       MRS                       Call with M. Anderson and J. Shaffer                                                                 3.90     5,142.15
                                         regarding JL Litigation motion to
                                         dismiss briefing, discovery, and
                                         strategy (1.2); analyzing documents
                                         for Bahamas investigation related to
                                         JL Litigation (1.6); analyzing motion
                                         to dismiss arguments and research
                                         related to same (1.1).

07/03/23       MEO                       Correspond with team regarding                                                                       0.20      243.00
                                         investigative report, reviewing
                                         related materials (0.2).

07/03/23       KW                        Draft amended complaint in                                                                           3.30     4,009.50
                                         Grayscale litigation (3.3).

07/03/23       KW                        Legal research for amended                                                                           3.40     4,131.00
                                         complaint in Grayscale litigation
                                         (3.4).

07/04/23       JA6                       Legal research in Grayscale litigation                                                               0.30      252.45
                                         re pleading requirements under
                                         Delaware law (0.3).

07/04/23       BC6                       Prepare service on Friedberg (.2).                                                                   0.20      149.40

07/04/23       APA                       Review and revise Rule 2004 motion                                                                   1.40     2,016.00
                                         to SVA, Wells Fargo, Silvergate Bank
                                         and Evolve Bank (1.4).

07/05/23       KJS                       Analyze correspondence from PWP                                                                      0.20      383.40
                                         and QE team re venture book related
                                         discovery (0.2).

07/05/23       JY1                       Conference with Friedberg (.3);                                                                      1.20     1,420.20
                                         correspondence following up on
                                         Friedberg call (.5); review and revise
                                         waiver of service (.4).

07/05/23       AM0                       Review and analyze complaint for                                                                     3.90     4,615.65
                                         the purposes of assessing third-party
                                         discovery priorities in JL litigation
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                                         (1.8); review and analyze motion to
                                         dismiss for the purposes of assessing
                                         third-party discovery priorities in JL
                                         litigation (1.7); legal research
                                         regarding claims for the purposes of
                                         discovery in JL litigation (0.4).

07/05/23       BF1                       Review amended complaint in                                                                          2.40     3,456.00
                                         Bahamas litigation (.9); review prior
                                         motion to dismiss briefing in
                                         Bahamas litigation (1.5).

07/05/23       KJS                       Confer with McKenzie Anderson,                                                                       1.10     2,108.70
                                         Matt Scheck, Isaac Nesser, Andrew
                                         Kutscher, and Jackie Palmerson re
                                         Bahamas litigation (1.1).

07/05/23       KJS                       Exchange correspondence with QE                                                                      0.30      575.10
                                         team re experts (0.3).

07/05/23       KJS                       Analyze documents and research re                                                                    2.30     4,409.10
                                         Bahamas litigation (2.3).

07/05/23       BC6                       Drafting waiver of service forms for                                                                 1.20      896.40
                                         Friedberg service (.8) review and
                                         analysis of Friedberg's Employment
                                         Agreement (.4).

07/05/23       EK                        Correspondence with S. Rand and J.                                                                   0.40      498.60
                                         Pickhardt re: discussions with
                                         aligned parties in re: Grayscale (0.1;);
                                         correspondence with aligned parties
                                         in re: Grayscale (0.3).

07/05/23       KL                        TC D. Friedberg re service with M.                                                                   0.30      477.90
                                         Lev, W. Sears, J. Young (.3).

07/05/23       APA                       Emails to and from J. Palmerson                                                                      0.10      144.00
                                         regarding Rule 2004 motion (0.1).

07/05/23       RCE                       Emails to A Nelder re barristers (0.3).                                                              0.30      575.10

07/05/23       AN3                       Emails with Richard East and                                                                         0.80     1,069.20
                                         McKenzie Anderson re next steps on
                                         Bahamas litigation including in
                                         respect of potential experts (0.8).

07/05/23       JP                        Team call with FTX Bahamas team to                                                                   1.10     1,257.30
                                         discuss status of litigation, discovery
                                         requests, and next steps (1.1).
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07/05/23       MW2                       Edit amended complaint based on                                                                      0.30      224.10
                                         research re. declaratory judgment
                                         claim (.3).

07/05/23       CK                        Pull FTX DM employee data                                                                            2.50     1,080.00
                                         documents from Relativity and
                                         organize same (1.5); pull and
                                         organize court filings (1.0).

07/05/23       MEO                       Call with team regarding Friedberg                                                                   5.30     6,439.50
                                         strategy (0.1); review professionals
                                         investigative report outline (0.9);
                                         review correspondence regarding
                                         insider adversary proceeding (0.4);
                                         call regarding professionals
                                         investigative report (0.3); review
                                         materials related to law firm
                                         representations in same (1.2); review
                                         team work product regarding 2004
                                         discovery (0.4); review investigative
                                         materials related to other
                                         professionals (1.1); annotated same
                                         (0.9).

07/05/23       JEP                       Email investors re Grayscale                                                                         0.50      796.50
                                         litigation (.5).

07/05/23       MRS                       Call with M. Anderson, J. Shaffer, I.                                                                1.70     2,241.45
                                         Nesser, A. Kutscher, and J. Palmerson
                                         regarding JL Litigation discovery and
                                         related issues (1.1); correspondence
                                         with J. Shaffer and S. Rand re JL
                                         Litigation strategy (0.2);
                                         correspondence internally and with
                                         opposing counsel regarding meet and
                                         confer (0.4).

07/05/23       SNR                       Address strategy issues re: Bahamian                                                                 4.50     7,168.50
                                         JL claims and related discovery issues
                                         (1.8); various communications w/ M.
                                         Scheck re: same (0.8); address
                                         solvency analysis issues and t/c w/
                                         expert re: same (0.5); address issues
                                         re: venture sale w/ PWP and related
                                         issues and review materials re:
                                         same.(1.4).


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07/05/23       KMA                       Meeting with J. Shaffer, M. Scheck, I.                                                               1.20     1,458.00
                                         Nesser, J. Palmerson, and A. Kutscher
                                         regarding FTX Bahamas adversary
                                         proceeding and discovery matters
                                         (1.2).

07/05/23       IN                        Confer QE re Bahamas litigation (1.1);                                                               1.40     2,016.00
                                         confer Kutscher regarding venture
                                         book status and strategy (0.3).

07/05/23       KMA                       Correspond with A. Alden, K.                                                                         1.50     1,822.50
                                         Lemire, S. Hill, M. Scheck, and S.
                                         Rand regarding meeting for update
                                         on investigation of certain targets (.2);
                                         review and analyze documents
                                         related to claims and defenses in
                                         Bahamas adversary proceeding (1.3).

07/05/23       KMA                       Correspond with A. Nelder                                                                            0.70      850.50
                                         regarding FTX Bahamas UK and
                                         Bahamian legal issues (.3);
                                         correspond with M. Scheck regarding
                                         same (.2); correspond with S. Rand
                                         regarding potential experts (.2).

07/05/23       MRS                       Research and analysis regarding                                                                      1.40     1,845.90
                                         motion to dismiss issues in JL
                                         Litigation (1.4).

07/05/23       AK2                       Attend call re: Joint Liquidators’                                                                   5.80     7,047.00
                                         discovery requests and next steps re:
                                         same (1.1); conduct factual research
                                         re: FTX Digital Markets employees
                                         and potential custodians and confer
                                         with Connie Kim and FTI re: same
                                         (2.9); confer with S.Rand re: Embed
                                         (.1); confer with Connie Kim re: same
                                         (.1); review and analyze Bahamas
                                         amended complaint and motion to
                                         dismiss (1.6).

07/05/23       KW                        Draft amended complaint in                                                                           2.90     3,523.50
                                         Grayscale litigation (2.9).

07/06/23       KJS                       Correspondence with Cam Kelly,                                                                       1.00     1,917.00
                                         Matt Scheck, and others re Bahamas
                                         litigation (1.0).


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07/06/23       JA6                       TC with QE team re: general                                                                          0.50      420.75
                                         litigation strategy and research
                                         questions (0.5).

07/06/23       KJS                       Analyze documents and research re                                                                    1.60     3,067.20
                                         MTD issues in Bahamas litigation
                                         (1.6).

07/06/23       KJS                       Analysis of FTX Digital Markets                                                                      0.70     1,341.90
                                         transfers (0.7).

07/06/23       JD4                       Confer with K.M. Anderson                                                                            0.40      419.40
                                         regarding claims and defenses in
                                         Bahamas litigation. (0.4).

07/06/23       EK                        Factual analysis in connection with                                                                  2.10     2,617.65
                                         Grayscale amended complaint (0.8]);
                                         conference with QE team re:
                                         complaint amendments (in Grayscale
                                         litigation (0.5); conference with
                                         aligned party re: Grayscale litigation
                                         strategy (.5); correspondence with QE
                                         team re: investigator analysis and
                                         factual research (0.3).

07/06/23       MEO                       Review materials related to                                                                          3.70     4,495.50
                                         adversary proceeding (1.3); review
                                         declarations related to same (0.8); call
                                         with A&M and team regarding
                                         professionals investigative report
                                         (0.5); review correspondence
                                         regarding same (0.4); review
                                         teamwork product regarding audit
                                         reporting and related materials (0.7).

07/06/23       JP                        Review and analysis of FTX Digital                                                                   0.60      685.80
                                         Markets documents received from
                                         S&C (0.5); set up electronic discovery
                                         searches on documents concerning
                                         FTX Digital Markets (0.1).

07/06/23       MW2                       Team call to discuss amended                                                                         0.50      373.50
                                         complaint and redemption of shares
                                         in Grayscale litigation (.5).

07/06/23       JEP                       Teleconference with team re strategic                                                                1.60     2,548.80
                                         considerations in Grayscale litigation
                                         (.5); t/c investor re support discussion

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                                         in Grayscale litigation (.5); email
                                         Grayscale team re claims (.6).

07/06/23       SNR                       Prepare for M/C w/ White and case                                                                    3.90     6,212.70
                                         and address strategy issues re: JL
                                         fraudulent transfer claims and related
                                         discovery issues including various
                                         correspondence w/ M. Scheck, M.
                                         Anderson and team (2.3); address
                                         venture investment analysis and
                                         review materials re: same (1.6).

07/06/23       KMA                       Analyze documents and filings                                                                        2.90     3,523.50
                                         regarding Bahamas litigation (2.2);
                                         correspond regarding workstreams
                                         related to Bahamas litigation (.7).

07/06/23       KMA                       Meeting with J. Dummitt regarding                                                                    0.90     1,093.50
                                         FTX Bahamas claims, defenses, and
                                         status of litigation (.4); review and
                                         analysis of amended complaint and
                                         certain key documents with J.
                                         Dummitt. (.5).

07/06/23       KMA                       Meeting with B. Glueckstein, and QE                                                                  1.50     1,822.50
                                         regarding JPL meet and confer (.7);
                                         meet and confer with JPL counsel
                                         and debriefing and strategy
                                         discussion with BB, and MS
                                         immediately after (0.8).

07/06/23       MRS                       Pre JL Litigation meet and confer call                                                               5.50     7,251.75
                                         with M. Anderson and S. Rand (0.7);
                                         meet and confer with counsel for
                                         Defendants in JL Litigation (0.8);
                                         conferring internally regarding the
                                         same (0.1); analyzing arguments
                                         related to JL Litigation Motion to
                                         Dismiss briefing and research related
                                         to same (1.4); internal correspondence
                                         with S. Rand, M. Anderson, and B.
                                         Burck regarding meet and confer and
                                         related issues (0.4); internal
                                         correspondence with S. Rand, M.
                                         Anderson, and J. Shaffer regarding JL
                                         Litigation claims and defenses,
                                         strategy, staffing, and workstreams

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                                         (0.9); analyzing A&M transaction
                                         analyses related to JL Litigation and
                                         conferring internally regarding the
                                         same (1.2).

07/06/23       AM0                       Review and analyze complaint for                                                                     4.60     5,444.10
                                         the purposes of assessing third-party
                                         discovery priorities in JL litigation
                                         (1.8); review and analyze motion to
                                         dismiss for the purposes of assessing
                                         third-party discovery priorities in JL
                                         litigation (2.8).

07/06/23       KW                        Legal research in connection with                                                                    2.00     2,430.00
                                         amended complaint in Grayscale
                                         litigation (2.0).

07/06/23       AK2                       Confer with C.Kim re: Embed/Rocket                                                                   1.10     1,336.50
                                         adversary proceeding status and next
                                         steps, confer with S.Rand re: same,
                                         and conduct research re: same (.4);
                                         review and analyze FTX.com terms of
                                         service (.6); confer with M.Scheck and
                                         I.Nesser re: upcoming meet and
                                         confer with Joint Liquidators (.1).

07/06/23       PC2                       Attend QE team meeting re: general                                                                   2.30     2,411.55
                                         litigation strategy (0.5); conduct legal
                                         research and analysis in connection
                                         with amending complaint in
                                         Grayscale litigation (1.7).

07/06/23       KW                        Analyze master purchase agreement                                                                    1.00     1,215.00
                                         re Grayscale (1.0).

07/06/23       KW                        Draft amended complaint in                                                                           2.80     3,402.00
                                         Grayscale litigation (2.8).

07/07/23       KJS                       Exchange correspondence with Matt                                                                    0.10      191.70
                                         Scheck and Landis team re motion to
                                         dismiss & stipulation re same in
                                         connection with Bahamas litigation
                                         (0.1).

07/07/23       KJS                       Analyze draft complaint and                                                                          0.30      575.10
                                         exchange correspondence with
                                         Sascha Rand re same (0.3).



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07/07/23       KJS                       Analzye Gemini complaint and                                                                         0.30      575.10
                                         exchange correspondence with
                                         Sascha Rand re same (0.3).

07/07/23       KJS                       Analyze draft investigative report                                                                   0.40      766.80
                                         and correspondence re same (0.4).

07/07/23       EK                        Revise draft amended complaint in                                                                    1.30     1,620.45
                                         Grayscale litigation (0.8); conference
                                         with aligned parties re: Grayscale
                                         strategy (1.0); correspondence with
                                         aligned parties re: Grayscale strategy
                                         (0.4).

07/07/23       KJS                       Exchange correspondence with Katie                                                                   0.10      191.70
                                         Lemire re 2004 requests (0.1).

07/07/23       JP                        Conference call with M. Scheck and                                                                   0.80      914.40
                                         M. Anderson regarding third-party
                                         discovery in Bahamas litigation (0.6);
                                         investigation into potential third-
                                         party discovery targets in Bahamas
                                         litigation (0.2).

07/07/23       KJS                       Research re JPL litigation issues and                                                                1.40     2,683.80
                                         exchange correspondence with Matt
                                         Scheck re same (1.4).

07/07/23       MRS                       Call with J. Palmerson and M.                                                                        5.80     7,647.30
                                         Anderson regarding third-party
                                         discovery for Bahamas litigation (0.6);
                                         call with A&M team regarding
                                         Bahamas litigation (0.9); conferring
                                         with M. Anderson regarding A&M
                                         call (0.2); call with S. Rand, B.
                                         Glueckstein and M. Anderson
                                         regarding Bahamas litigation
                                         discovery (0.4); follow up call with M.
                                         Anderson regarding discovery (0.7);
                                         call with S. Rand and M. Anderson
                                         re: litigation strategy and discovery
                                         in Bahamas litigation (0.2); call with
                                         C. Kelly regarding motion to dismiss
                                         response and related issues in
                                         Bahamas litigation (1.1); conferring
                                         with J. Shaffer regarding motion to
                                         dismiss legal issues in Bahamas
                                         litigation (0.5); analyzing motion to
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                                         dismiss and research related to same
                                         (1.2).

07/07/23       JD4                       Review and analyze court filings and                                                                 3.20     3,355.20
                                         factual memoranda in preparation for
                                         drafting factual and legal timeline. in
                                         connection with Bahamas litigation
                                         (3.2).

07/07/23       JY1                       Correspondence regarding Friedberg                                                                   0.30      355.05
                                         service waiver (.3).

07/07/23       JEP                       Teleconferences with investors re                                                                    1.30     2,070.90
                                         litigation (.5); t/c re investor outreach
                                         (1.3).

07/07/23       KMA                       Meeting with M. Scheck and J.                                                                        2.00     2,430.00
                                         Palmerson regarding third party
                                         discovery in Bahamas litigation (.6);
                                         prepare list of third party discovery
                                         targets in Bahamas litigation and
                                         investigation and correspond with
                                         A&M regarding same (1.4).

07/07/23       SNR                       Review materials re: JL fraudulent                                                                   6.10     9,717.30
                                         transfer claims and related discovery
                                         issues (2.6); various communications
                                         w/ M. Scheck and M. Anderson re:
                                         same (0.8); t/c w/ J. Zakia re:
                                         discovery issues in Bahamas
                                         litigation and follow up re: same
                                         (0.5); address issues re: venture sale
                                         (1.0); t/c with counsel for holder re:
                                         Grayscale claim strategy and various
                                         follow up re: same w/ E. Kapur (1.2).

07/07/23       KMA                       Meeting with M. Scheck and A&M                                                                       1.10     1,336.50
                                         (L. Ryan, A. Canale, M. Shanahan, S.
                                         Coverick) regarding FTX Bahamas
                                         adversary proceeding (.9); call with
                                         M. Scheck regarding same and next
                                         steps (.2).

07/07/23       KMA                       Call with SNR, BB, and MS regarding                                                                  1.80     2,187.00
                                         defensive discovery agreements with
                                         White & Case in Bahamas litigation
                                         and next steps (.2); meeting with
                                         SNR, MS, B. Glueckstein, and S.

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                                         Fulton regarding same (.4); meeting
                                         with M. Scheck regarding strategy
                                         and next steps in Bahamas litigation
                                         (.7); prepare memorandum to IN and
                                         AK regarding defensive discovery
                                         tasks in Bahamas litigation (.5).

07/07/23       AK2                       Conduct research re: upcoming                                                                        2.50     3,037.50
                                         conference in Embed/Rocket
                                         litigation, confer with S.Rand and
                                         I.Nesser re: same, and confer with
                                         A.Staltari re: same (1.1); confer with
                                         M.Anderson re: defensive discovery
                                         in Bahamas action, determine next
                                         steps re: same, confer with N.Huh re:
                                         same, and confer with FTI re: same
                                         (1.2); confer with J.Palmerson,
                                         J.Young, and S.Hill re: Bahamas
                                         action and production for same (.2).

07/07/23       MEO                       Correspond with team regarding                                                                       0.70      850.50
                                         forensic analysis of professional fees,
                                         reviewing related materials (0.7).

07/07/23       CK5                       Call with JS and MS re Bahamian                                                                      1.10      994.95
                                         litigation and response to motion to
                                         dismiss (1.1).

07/08/23       MRS                       Correspondence with Landis team                                                                      0.20      263.70
                                         regarding stipulation in JL Litigation
                                         for motion to dismiss briefing, and
                                         reviewing stipulation (0.2).

07/08/23       EK                        Correspondence with aligned parties                                                                  2.00     2,493.00
                                         re: Grayscale strategy (0.3); revise
                                         draft amended complaint in
                                         Grayscale litigation (1.7).

07/08/23       AK2                       Confer with S.Rand re: upcoming call                                                                 0.10      121.50
                                         on Bahamas litigation discovery (.1).

07/08/23       JP                        Conference call with M. Scheck and                                                                   0.30      342.90
                                         A. Makhijani regarding third-party
                                         discovery in Bahamas litigation (0.3).

07/08/23       MEO                       Review materials related to insider                                                                  2.50     3,037.50
                                         adversary proceeding, annotating
                                         same (1.1); prepare summary of key

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                                         facts for use in upcoming
                                         investigation (1.4).

07/08/23       AM0                       Meet with M. Scheck and J.                                                                           0.30      355.05
                                         Palmerson regarding third party
                                         discovery in Bahamas litigation (0.3).

07/08/23       JEP                       Emails re litigation strategy in                                                                     0.60      955.80
                                         Grayscale litigation (.6).

07/08/23       NH2                       Drafted summary chart regarding                                                                      3.90     3,527.55
                                         individuals and their roles for
                                         purposes of Bahamian litigation (3.9).

07/08/23       MRS                       Analyzing FTX DM Proof of claim,                                                                     2.60     3,428.10
                                         research related to same, and
                                         analyzing documents related to same
                                         (1.4); correspondence with J. Shaffer
                                         regarding the same (0.9); call with A.
                                         Makhijani and J. Palmerson
                                         regarding JL Litigation and 3rd party
                                         discovery (0.3).

07/08/23       SNR                       Review materials re: Bahamian JL                                                                     1.90     3,026.70
                                         fraudulent transfer claims and related
                                         discovery issues (1.6); review and
                                         address stipulation re: schedule in
                                         Bahamas litigation (0.3).

07/08/23       KMA                       Analyze claims filed by JPLs of FTX                                                                  0.60      729.00
                                         Digital Markets (.2); review and
                                         analyze investigative work product
                                         from consultant in connection with
                                         Bahamas litigation (.2); correspond
                                         with A&M regarding discovery in
                                         Bahamas litigation (.2).

07/08/23       PC2                       Conduct legal and factual research in                                                                1.20     1,258.20
                                         connection with amending complaint
                                         in Grayscale litigation (1.2).

07/08/23       KJS                       Analyze FTX DM Proof of Claim and                                                                    2.20     4,217.40
                                         research and exchange
                                         correspondence with Matt Scheck re
                                         same (2.2).

07/09/23       MRS                       Calls with J. Shaffer regarding FTX                                                                  1.80     2,373.30
                                         DM proof of claim and potential
                                         defenses (1.8).
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07/09/23       JA6                       Legal research, discussion and                                                                       0.70      589.05
                                         analysis (0.7).

07/09/23       EK                        Revise amended complaint in                                                                          3.60     4,487.40
                                         Grayscale litigation (2.9);
                                         correspondence with QE team re:
                                         next steps on same and clarifications
                                         in light of legal research (0.7).

07/09/23       PC2                       Conduct legal and factual research in                                                                5.40     5,661.90
                                         connection with amending complaint
                                         (5.4).

07/09/23       KJS                       Confer with Matt Scheck re FTX DM                                                                    1.80     3,450.60
                                         Proof of claim and related issues
                                         (1.8).

07/09/23       NH2                       Reviewed produced documents                                                                          5.50     4,974.75
                                         regarding individuals for purposes of
                                         Bahamian litigation, focusing on the
                                         list of “priority names,” and for all
                                         names on the longer list put together
                                         info on their roles, time of transition,
                                         hiring entities, etc. (5.5).

07/10/23       JP                        Partial attendance on conference call                                                                1.50     1,714.50
                                         with QE team for Bahamas litigation
                                         to discuss case updates and next
                                         steps (0.5); draft tracker for third-
                                         party discovery (1.0).

07/10/23       EK                        Correspondence with Grayscale team                                                                   1.70     2,119.05
                                         re: legal analysis in connection with
                                         amended complaint (0.2); conferences
                                         with aligned parties re: Grayscale
                                         strategy (1.0); conference with vendor
                                         re: project scope in connection with
                                         Grayscale (0.4); correspondence with
                                         Grayscale team re: case management
                                         (0.1).

07/10/23       AK2                       Attend Bahamas team call re:                                                                         3.40     4,131.00
                                         discovery next steps (.6); confer with
                                         FTI re: defensive document
                                         production and determine next steps
                                         re: same (2.1); confer with I.Nesser re:
                                         Embed and Rocket actions next steps
                                         and upcoming call and conduct

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                                         research re: upcoming hearing re:
                                         same (.4); confer with B.Gluekstein
                                         re: Bahamas document production
                                         and determine next steps re: same
                                         (.2); confer with A.Makhijani re:
                                         Bahamas defensive discovery (.1).

07/10/23       KJS                       Exchange correspondence with                                                                         0.10      191.70
                                         consultant re foreign law issues in
                                         connection with Bahamas litigation
                                         (0.1).

07/10/23       BF1                       C.C. with M. Scheck, J. Shaffer re JL                                                                0.80     1,152.00
                                         Litigation and the FTX Digital
                                         Markets Proof of Claim (.8).

07/10/23       RCE                       Review analysis from QE team re                                                                      0.50      958.50
                                         Bahamas legal issues (0.5).

07/10/23       MW2                       Review and analysis of documents                                                                     0.50      373.50
                                         related to pre-petition solvency (.2);
                                         draft email to team summarizing
                                         findings (.3).

07/10/23       JEP                       Teleconference with investor re                                                                      1.30     2,070.90
                                         litigation (.5); review research and
                                         draft pleading in Grayscale litigation
                                         (.8).

07/10/23       AM0                       Prepare for and meet with Bahamas                                                                    6.70     7,929.45
                                         litigation team regarding case
                                         priorities (1.3); review and analyze
                                         case filings and other documents for
                                         the purposes of identifying third-
                                         party discovery targets in Bahamas
                                         litigation (3.2); review and analyze
                                         documents for the purpose of
                                         identifying third-party discovery
                                         targets in Bahamas litigation (2.2).

07/10/23       JD4                       Draft and revise white paper re:                                                                     1.90     1,992.15
                                         factual and legal issues in FTX
                                         Bahamas adversary proceeding.
                                         (1.9).

07/10/23       MEO                       Correspond with team and Landis                                                                      2.40     2,916.00
                                         regarding adversary proceeding,
                                         reviewing related docket materials
                                         (0.6); team call regarding case
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                                         strategy (0.9); call with Landis (0.3);
                                         correspond with team regarding
                                         same (0.6).

07/10/23       MRS                       Call with B. Finestone and J. Shaffer                                                                5.90     7,779.15
                                         regarding JL Litigation strategy and
                                         FTX DM Proof of Claim (0.8); call
                                         with J. Shaffer regarding JL Litigation
                                         strategy and FTX DM Proof of Claim
                                         (0.3); call with M. Anderson
                                         regarding JL Litigation staffing and
                                         next steps (0.3); JL Litigation team
                                         call (0.6); analyzing FTX DM Proof of
                                         Claim and research related to same
                                         (1.6); internal correspondence and
                                         correspondence with consultant
                                         regarding claims asserted in FTX DM
                                         Proof of Claim (0.6); internal call re:
                                         discovery related to Bahamas
                                         litigation (partial attendance) (0.3);
                                         outlining arguments for opposition to
                                         motion to dismiss, research regarding
                                         the same, and analyzing documents
                                         related to same (1.4).

07/10/23       AN3                       Review and analysis FTX proof of                                                                     4.40     5,880.60
                                         claim as a matter of under foreign
                                         law (4.4).

07/10/23       JD4                       Confer with case team regarding case                                                                 0.60      629.10
                                         status, strategy, and workflows.
                                         (0.6).

07/10/23       JD4                       Confer with M. Anderson regarding                                                                    0.70      733.95
                                         drafting white paper re: factual and
                                         legal issues in Bahamas litigation
                                         (0.7).

07/10/23       JY1                       Correspondence regarding Friedberg                                                                   0.30      355.05
                                         litigation (.3).

07/10/23       WS1                       Call with QE team re: case strategy                                                                  2.20     2,742.30
                                         and adversary proceeding against
                                         insiders (.9); review documents re:
                                         Friedberg for purposes of developing
                                         schedule in Friedberg case and
                                         preparing case against Friedberg
                                         (1.1); emails with Friedberg team re:
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                                         service, case schedule, and pre-trial
                                         conference (.2).

07/10/23       KMA                       Meeting with SNR, MS, AA, KL                                                                         0.60      729.00
                                         regarding JL litigation (.6).

07/10/23       KMA                       Meeting with M. Scheck regarding                                                                     1.60     1,944.00
                                         strategy and staffing for JL litigation
                                         (.3); meeting with JL litigation team
                                         regarding strategy, division of
                                         responsibilities, and workflow (.6);
                                         attend part of team meeting
                                         regarding ongoing workstreams (.7).

07/10/23       SNR                       T/c w/ various members of QE team                                                                    1.40     2,230.20
                                         re: discovery issues relating to
                                         Bahamian JL claims (0.6); address
                                         strategy issues re: Bahamian JL
                                         litigation (0.8).

07/10/23       KMA                       Meeting with J. Dummitt regarding                                                                    4.40     5,346.00
                                         affirmative case in JL litigation (.7);
                                         analyze documents and prepare
                                         white paper on JL litigation (3.7).

07/10/23       IN                        Confer QE re Bahamas litigation                                                                      4.30     6,192.00
                                         status and strategy (0.6); review
                                         Bahamas materials relevant to
                                         defensive document discovery (1.6);
                                         confer QE and PWP re venture book
                                         memos and 2004 discovery (2.1).

07/10/23       BC6                       Read litigation communications from                                                                  0.30      224.10
                                         Friedberg for purposes of developing
                                         case strategy (.3).

07/10/23       KJS                       Confer with Matt Scheck re Bahamas                                                                   0.30      575.10
                                         litigation and proof of claim (0.3).

07/10/23       KJS                       Confer with Ben Finestone and Matt                                                                   0.80     1,533.60
                                         Scheck re JL litigation and FTX DM
                                         proof of claim (0.8).

07/10/23       CK5                       Call with Bahamas core litigation                                                                    1.40     1,266.30
                                         team re discovery and briefing
                                         strategy and status (0.6); research re
                                         fraudulent transfer claims in
                                         Bahamas litigation (0.8).


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07/10/23       NH2                       Drafted summary chart regarding                                                                      2.10     1,899.45
                                         FTX DM employees for purposes of
                                         Bahamian litigation (2.1).

07/10/23       PC2                       Conduct legal and factual research in                                                                3.70     3,879.45
                                         connection with amending complaint
                                         in Grayscale litigation (3.7).

07/11/23       JA6                       TC with QE team re: general                                                                          1.20     1,009.80
                                         litigation strategy (1.0); legal research
                                         and connection with amended
                                         complaint in Grayscale (0.2).

07/11/23       MRS                       Meeting with S. Rand, J. Shaffer, and                                                                6.20     8,174.70
                                         M. Anderson regarding strategy and
                                         claims for JL Litigation (0.9); meeting
                                         with M. Anderson, J. Dummitt, and
                                         A&M team regarding work product
                                         and JL Litigation workstreams (0.8);
                                         meeting with R. East, A. Nelder, and
                                         M. Anderson regarding foreign law
                                         issues related to JL Litigation (0.5);
                                         meeting with M. Anderson regarding
                                         JL Litigation workstreams, staffing,
                                         and projects (0.4); call with B.
                                         Gluckstein regarding JL Litigation
                                         (0.2); analyzing documents for
                                         Bahamas investigation related to JL
                                         Litigation, outlining claims and
                                         defenses, and conferring internally
                                         with J. Shaffer regarding the same
                                         (3.4).

07/11/23       EK                        Conference with QE team re:                                                                          7.40     9,224.10
                                         Grayscale litigation strategy (1.0);
                                         conference with S. Rand and J.
                                         Pickhardt re: Grayscale litigation
                                         strategy (0.5); conference with J.
                                         Pickhardt re: Grayscale litigation
                                         strategy (0.4); review and revise
                                         filings for Grayscale (3.2); review
                                         correspondence from outside party
                                         and correspondence with team re:
                                         same (0.2); factual analysis and legal
                                         strategy development in connection
                                         with filings for Grayscale (2.1).


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07/11/23       RCE                       Review draft emails re cases re causes                                                               1.00     1,917.00
                                         of action in Bahamas litigation (0.5)
                                         attend call Quinn team re potential
                                         experts and causes of action (0.5).

07/11/23       KL                        Review draft complaint against                                                                       1.30     2,070.90
                                         investigative target and email
                                         suggested edits (.9); review discovery
                                         issue in Friedberg case (.2); review
                                         email re Friedberg case (.2).

07/11/23       KJS                       Analyze documents re FTX DM                                                                          1.20     2,300.40
                                         litigation and confer with Matt
                                         Scheck re same (1.2).

07/11/23       MW2                       Team call to discuss litigation                                                                      1.00      747.00
                                         strategy in Grayscale matter (1.0).

07/11/23       MEO                       Correspond with team regarding                                                                       5.10     6,196.50
                                         insider adversary proceeding,
                                         revising correspondence regarding
                                         same (0.3); review and revise portion
                                         of professionals investigative report
                                         bearing on law firm activities (1.3);
                                         review portions of first interim report
                                         (0.9); review portions of second
                                         interim report, annotating same (1.1);
                                         draft portion of introduction to
                                         professionals investigative report,
                                         reviewing related materials (1.5).

07/11/23       JD4                       Conduct legal research regarding                                                                     4.60     4,823.10
                                         applicability of Bahamian liquidators'
                                         investigative privilege issues in
                                         Delaware bankruptcy proceedings
                                         and draft and revise memorandum
                                         concerning same. (4.6).

07/11/23       JY1                       Review materials, correspondence,                                                                    0.80      946.80
                                         and service of informal production
                                         (.8).

07/11/23       JD4                       Confer with Alvarez & Marsal team                                                                    0.80      838.80
                                         re: third party discovery, defensive
                                         discovery, and related factual issues
                                         in Bahamas litigation (0.8).

07/11/23       JEP                       Weekly team strategy meeting in                                                                      1.50     2,389.50
                                         Grayscale litigation (1); t/c Kapur and
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                                         Rand re strategy and update
                                         discussion in Grayscale litigation (.5).

07/11/23       WS1                       Review documents to send to                                                                          0.20      249.30
                                         Friedberg and emails with team re:
                                         same (.2).

07/11/23       KMA                       Analyze documents, research, and                                                                     4.30     5,224.50
                                         work product regarding FTX Digital
                                         Markets, and prepare white paper on
                                         same (3.7).

07/11/23       SNR                       Review materials re: FTX DM in                                                                       5.70     9,080.10
                                         connection w/ JL litigation and proofs
                                         of claim (2.4); various
                                         communications w/ M. Scheck and
                                         M. Anderson re: strategy re: same.
                                         (1.3); review materials re: plan (0.6);
                                         review and revise memo re: venture
                                         investment and follow up re: same w/
                                         A. Kutcher (1.4).

07/11/23       KMA                       Meeting with MS, JD, and team at                                                                     3.00     3,645.00
                                         Alvarez & Marsal regarding work
                                         product and FTX Bahamas work
                                         streams (.8); meeting with RE, AN,
                                         and MS regarding foreign law
                                         questions in Bahamas litigation (.5);
                                         meeting with SR, MS, JS, and BF
                                         regarding merits of claim
                                         development in FTX Bahamas case
                                         (.9); meeting with MS regarding work
                                         streams, staffing, and projects in
                                         Bahamas litigation (.4); meeting with
                                         IN regarding defensive discovery in
                                         Bahamas litigation (.4).

07/11/23       CK5                       Analyze local rules for motion to                                                                    1.60     1,447.20
                                         dismiss opposition template in
                                         Bahamas litigation (0.4); prepare
                                         motion to dismiss opposition
                                         template for Bahamas litigation (0.5);
                                         review motion to dismiss in
                                         preparation for drafting opposition in
                                         connection with Bahamas litigation
                                         (0.7).


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07/11/23       PC2                       Attend call with Grayscale team re:                                                                  3.00      3,145.50
                                         general litigation strategy (1.0);
                                         conduct legal and factual research
                                         with view toward amending
                                         complaint (2.0).

07/11/23       AN3                       Review issues raised by JPL                                                                          8.20     10,959.30
                                         liquidators and case law in respect of
                                         foreign law issues (7.2), call with
                                         McKenzie Anderson, Matthew
                                         Scheck and Richard East.re same
                                         (0.5).

07/11/23       BC6                       Review and analysis of Friedberg                                                                     1.30       971.10
                                         employment and equity documents
                                         (1.0) and correspondence with W.
                                         Sears and J. Young re same (.3).

07/11/23       NH2                       Discussion with A. Kutcher and M.                                                                    0.50       452.25
                                         Fuchs regarding employees review
                                         chart for FTX DM (0.5).

07/11/23       KJS                       Corresp with Sascha Rand re                                                                          0.20       383.40
                                         litigation strategy (0.2).

07/11/23       AK2                       Conduct research re: custodians                                                                      3.20      3,888.00
                                         requested by Joint Liquidators and
                                         analysis re same and confer with
                                         Natalie Huh re: next steps re: same
                                         (.8); confer with N.Huh and M.Fuchs
                                         re: upcoming calls on Bahamas
                                         defensive discovery next steps (.2);
                                         confer with M.Fuchs re: Bahamas
                                         litigation, status of same, and on-
                                         going projects re: same (.7); confer
                                         with FTI re: defensive document
                                         review (.1); review and analyze Joint
                                         Liquidators’ document requests and
                                         determine next steps re: same (.6);
                                         determine next steps re: Bahamas
                                         litigation defensive discovery and
                                         document review and production
                                         (.4); attend call with M.Fuchs and
                                         N.Huh re: potential custodians
                                         requested by Joint Liquidators and
                                         research re: same (.5); confer with
                                         I.Nesser and M.Anderson re:

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                                         upcoming call on Bahamas defensive
                                         discovery (.1).

07/11/23       KW                        Discussion re: Litigation Strategy in                                                                1.00     1,215.00
                                         Grayscale litigation (1.0).

07/11/23       IN                        Confer Anderson re defensive                                                                         0.40      576.00
                                         discovery in Bahamas litigation (0.4).

07/11/23       NH2                       Drafted summary chart regarding                                                                      2.80     2,532.60
                                         FTX DM employees for purposes of
                                         Bahamian litigation (2.8).

07/11/23       MF6                       Conferring with A. Kutscher re:                                                                      4.10     3,450.15
                                         claims and defenses in Bahamas
                                         litigation (0.7); review and analysis of
                                         pleadings and key documents for
                                         purposes of assessing same (1.3);
                                         reviewing research on custodians
                                         requested by joint liquidators (0.6);
                                         conferring with A. Kutscher and N.
                                         Huh regarding custodians requested
                                         by joint liquidators (0.5)
                                         correspondence with N. Huh on the
                                         same (0.1); reviewing work product
                                         on employee information (0.9).

07/12/23       WS1                       Review documents from S&C and                                                                        0.60      747.90
                                         order of proof for Friedberg for
                                         purposes of developing Friedberg
                                         litigation strategy (.6).

07/12/23       JA6                       Review and revise amended                                                                            0.40      336.60
                                         complaint to include updated data
                                         points (0.4).

07/12/23       APA                       Emails to and from S. Rand and J.                                                                    0.70     1,008.00
                                         Palmerson regarding Rule 2004
                                         motion (0.2); emails to and from S+C
                                         regarding investigative report (0.5).

07/12/23       KJS                       Confer with Sascha Rand, McKenzie                                                                    1.10     2,108.70
                                         Anderson, and Matt Scheck re
                                         Bahamas litigation strategy, staffing,
                                         and legal and procedural issues (1.1).

07/12/23       MRS                       Call with Antiguan counsel, J.                                                                       6.60     8,702.10
                                         Shaffer, and B. Finestone regarding
                                         Antigua legal issues related to JL
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                                         Litigation and FTX DM's proofs of
                                         claim (0.3); call with J. Shaffer and B.
                                         Finestone regarding JL Litigation
                                         strategy (0.3); calls and corresp with
                                         S. Rand and J. Shaffer regarding JL
                                         Litigation strategy and related issues
                                         (0.9); call with J. Shaffer, S. rand, and
                                         M. Anderson regarding JL Litigation
                                         strategy, staffing, motion to dismiss
                                         briefing, and other procedural and
                                         substantive issues (1.1); follow up call
                                         with M. Anderson regarding the
                                         same (0.1); analyzing documents for
                                         Bahamas investigation regarding JL
                                         Litigation, conferring with A.
                                         Makhijani and J. Dummitt regarding
                                         the same, and outlining assertions
                                         and arguments related to same (3.9);
                                         call with I. Nesser regarding
                                         defensive discovery in Bahamas
                                         litigation (0.5).

07/12/23       KMA                       Meeting with M. Scheck, S. Rand, and                                                                 1.10     1,336.50
                                         J. Shaffer regarding workstreams in
                                         Bahamas adversary proceeding (1.1).

07/12/23       BC6                       Correspondence with W. Sears re                                                                      0.60      448.20
                                         insider complaints (.1); review order
                                         of proof examples and prepare order
                                         of proof (.5).

07/12/23       JD4                       Review and analyze documents in                                                                      5.00     5,242.50
                                         support of factual investigation of
                                         FTX Digital Markets. (5.0).

07/12/23       KJS                       Revise bank 2004 motion and                                                                          0.70     1,341.90
                                         exchange QE correspondence re same
                                         (0.7).

07/12/23       KJS                       Research re FTX DM claim and                                                                         0.80     1,533.60
                                         exchange correspondence with QE
                                         team re same (0.8).

07/12/23       KJS                       Review research re objections to                                                                     0.50      958.50
                                         discovery of employee docs and
                                         exchange correspondence with QE
                                         team re same (0.5).

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07/12/23       KJS                       Confer with Ben Finestone and Matt                                                                   0.30      575.10
                                         Scheck re Bahamas litigation strategy
                                         (0.3).

07/12/23       NH2                       Drafted summary chart regarding                                                                      6.10     5,517.45
                                         FTX DM employees for purposes of
                                         Bahamian litigation (6.1).

07/12/23       JY1                       Correspondence with QE regarding                                                                     0.20      236.70
                                         next steps for investigation of outside
                                         professionals (.2).

07/12/23       EK                        Conferences with confidential                                                                        3.10     3,864.15
                                         aligned parties re: Grayscale strategy
                                         (1.7); correspondence with potential
                                         vendor re: possible assistance with
                                         Grayscale (0.2); correspondence with
                                         potential aligned parties re: Grayscale
                                         strategy and engagement (0.8);
                                         correspondence with K. Wolfe re:
                                         legal research in connection with
                                         Grayscale and implications of same
                                         (0.4).

07/12/23       JEP                       Teleconferences with investors re                                                                    2.50     3,982.50
                                         Grayscale litigation (1.0); review legal
                                         research in Grayscale (.7); emails re
                                         same (.4); emails re litigation strategy
                                         in Grayscale litigation (.4).

07/12/23       SNR                       Internal t/c re: JL Litigation strategy,                                                             3.70     5,894.10
                                         staffing, and legal and procedural
                                         issues (1.1); various communications
                                         and t/c w/ M. Scheck and M.
                                         Anderson re: JL litigation (0.8);
                                         review materials re: FTX DM in
                                         connection w/ JL litigation and proofs
                                         of claim (1.8).

07/12/23       KMA                       Call with MS regarding Bahamas                                                                       1.90     2,308.50
                                         adversary proceeding (.1); call with
                                         IN regarding defensive discovery in
                                         Bahamas adversary proceeding (.4);
                                         analyze claims and defenses in
                                         Bahamas adversary proceeding (1.4).

07/12/23       CK5                       Review amended complaint and                                                                         1.30     1,175.85
                                         motion to dismiss in preparation for

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                                         drafting opposition in Bahamas
                                         litigation (1.3).

07/12/23       JD4                       Confer with A. Makhijani and M.                                                                      0.30       314.55
                                         Scheck re: conducting a factual
                                         investigation of the origins and
                                         purpose of FTX DM. (0.3).

07/12/23       MEO                       Review correspondence regarding                                                                      6.80      8,262.00
                                         insider adversary proceeding
                                         document requests and related
                                         materials, corresponding with team
                                         regarding same (0.7); review
                                         investigative materials regarding
                                         professionals in preparation for
                                         investigative report (0.9); review
                                         portions of first interim report (0.7);
                                         review portions of second interim
                                         report (0.8); call regarding
                                         professionals investigative report
                                         (0.8); review team work product
                                         regarding financial professionals
                                         (0.9); review filings in insider
                                         adversary proceedings in preparation
                                         for investigative report (1.2); review
                                         material regarding law firms at issue
                                         in report and underlying
                                         documentation (0.8).

07/12/23       AM0                       Analyze documents regarding                                                                        10.80      12,781.80
                                         founding of FTX DM (5.8); prepare
                                         memorandum regarding founding of
                                         FTX DM (3.5); confer with J. Dummitt
                                         and M. Scheck regarding founding of
                                         FTX DM (1.5).and analyzing
                                         documents related to the same (1.5).

07/12/23       PC2                       Conduct legal and factual research in                                                                6.90      7,234.65
                                         connection with amending complaint
                                         (2.7); draft same (4.2).

07/12/23       KW                        Supp’l legal research re: amended                                                                    3.00      3,645.00
                                         compl. in Grayscale litigation (3.0).

07/12/23       AK2                       Confer with M.Anderson re: FTX                                                                       9.00     10,935.00
                                         Digital markets employees and
                                         research into dates of employment
                                         and conduct research re: same (1.3);
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                                         confer with N.Huh and M.Fuchs re:
                                         next steps re: same (.2); confer with
                                         R.Gordon of Alvarez and Marsal re:
                                         Joint Liquidators discovery requests,
                                         production in response to same, and
                                         upcoming call re: same and confer
                                         with I.Nesser re: same (.3); confer
                                         with I.Nesser re: Bahamas defensive
                                         discovery status and next steps (.4);
                                         review and analyze Bahamas
                                         document requests and
                                         communications re: same and
                                         determine next steps re: same (1.2);
                                         confer with I.Nesser re: same and
                                         next steps re: responses to same (.4);
                                         attend call with Sullivan and
                                         Cromwell re: Embed action and
                                         upcoming court conference in same
                                         (.3); confer with C.Kim re: JPL’s
                                         requests for production (.1); confer
                                         with M.Scheck re: terms of service
                                         and Bahamas litigation and
                                         upcoming call with Alvarez and
                                         Marsal re: document production (.2);
                                         conduct research and develop search
                                         terms re: potentially privileged
                                         documents re: Bahamas litigation
                                         (2.7); attend call with Alvarez and
                                         Marsal and I.Nesser re: document
                                         collection and document production
                                         in Bahamas litigation (.6); confer with
                                         I.Nesser re: results of same (.2);
                                         conduct research re: service of Rocket
                                         complaint defendants and status of
                                         same (.2); confer with J.Dummit and
                                         A. Makhijani re: Bahamas document
                                         review (.1); determine next steps re:
                                         Responses and Objections to Joint
                                         Liquidators requests for production
                                         and confer with A.Sutton re: same
                                         and confer with Connie Kim re: same
                                         (.8).

07/12/23       KJS                       Confer with Debra Burnette, Matt                                                                     0.30     575.10
                                         Scheck, and Ben Finestone re

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                                         Antiguan legal issues in connection
                                         with JL litigation (0.3).

07/12/23       JD4                       Conduct legal research regarding                                                                     2.00     2,097.00
                                         privilege in Delaware bankruptcy
                                         proceeding and draft internal
                                         memorandum regarding same. (2.0).

07/12/23       IN                        Correspondence QE re Bahamas                                                                         1.70     2,448.00
                                         discovery (0.5); confer Sullcrom and
                                         QE re Embed litigation (0.3); confer
                                         Scheck re defensive discovery in JL
                                         litigation (0.5); confer Anderson re
                                         discovery in JL litigation (0.4).

07/12/23       MF6                       Correspondence with N. Huh about                                                                     5.70     4,796.55
                                         custodians requested by joint
                                         liquidators (0.2); reviewing research
                                         on custodians requested by joint
                                         liquidators (0.7); correspondence
                                         with N. Huh on the same (0.3);
                                         research on the same (4.5).

07/12/23       BF1                       C.C. with M. Scheck, J. Shaffer, and                                                                 0.60      864.00
                                         D. Burnette (Antiguan counsel) re:
                                         Antiguan legal issues (0.3); c.c. with
                                         M. Scheck, J. Shaffer re JL Litigation
                                         strategy (0.3).

07/13/23       APA                       Review and revise Rule 2004 motion                                                                   1.10     1,584.00
                                         and emails regarding same (1.1).

07/13/23       JA6                       TC with QE team re: general                                                                          2.10     1,767.15
                                         litigation strategy (0.6); legal research
                                         in Grayscale litigation regarding
                                         securities law question (1.5).

07/13/23       EK                        Conferences with confidential                                                                        2.50     3,116.25
                                         aligned parties re: Grayscale strategy
                                         (1.0); conference with QE team re:
                                         work on amended complaint for
                                         Grayscale and strategic choices
                                         related thereto (0.6); correspondence
                                         with J. Pickhardt, S. Rand, and K.
                                         Wolfe re: Grayscale strategy issues
                                         (0.2); correspondence with aligned
                                         parties re: Grayscale strategy (0.7).


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07/13/23       JD4                       Review and analyze documents in                                                                      3.70      3,879.45
                                         support of factual investigation of
                                         FTX Digital Markets and draft and
                                         revise memorandum regarding same.
                                         (3.7).

07/13/23       JD4                       Confer with Alvarez & Marsal                                                                         0.20       209.70
                                         regarding factual origins of FTX
                                         Digital Markets. (0.2).

07/13/23       MEO                       Review case materials regarding key                                                                  6.40      7,776.00
                                         actors for investigative report
                                         preparation (1.4); review interview
                                         memoranda for same (1.8); review
                                         declarations from key personnel,
                                         annotating same (1.2); review team
                                         work product regarding various
                                         professionals (1.1); draft portion of
                                         investigative report (0.9).

07/13/23       MW2                       Team call to discuss Grayscale                                                                       0.60       448.20
                                         litigation strategy (.6).

07/13/23       JEP                       Teleconferences with investors’                                                                      2.60      4,141.80
                                         counsel re Grayscale litigation (1.0);
                                         t/c Grayscale team re review of
                                         complaint status and strategy (1);
                                         email team re strategy (.6).

07/13/23       BF1                       C.C. with J. Shaffer, M. Scheck re                                                                   1.10      1,584.00
                                         procedural posture of BS litigation
                                         (.5); c.c. with J. Ray, S. Rand, J.
                                         Shaffer, M. Scheck re next steps re
                                         proof of claim and motion to dismiss
                                         in BS litigation (.6).

07/13/23       AM0                       Prepare for and meet with Alvarez                                                                  10.50      12,426.75
                                         and Marsal regarding review of
                                         documents in connection with
                                         Bahamas litigation (0.4); review and
                                         analyze documents regarding
                                         creation of FTX DM (3.3); review and
                                         analyze documents regarding
                                         regulatory work done by consultants
                                         regarding FTX DM (2.3); review and
                                         analyze FTX DM regulatory filings
                                         (1.5); review and analyze documents

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                                         regarding FTX DM banking
                                         relationships (3.0).

07/13/23       KJS                       Attend QE team call re Bahamas                                                                       0.50      958.50
                                         litigation strategy (0.5).

07/13/23       MRS                       Attend JL team call (0.5); confer with                                                               5.70     7,515.45
                                         John Ray and JL Litigation team re
                                         litigation strategy (0.6); call with S.
                                         Rand, A. Kutscher, and I. Nesser
                                         regarding JL Litigation defensive
                                         discovery (0.5); analyzing documents
                                         for Bahamas investigation related to
                                         JL Litigation, outlining arguments
                                         related to same, and conferring
                                         internally with J. Shaffer regarding
                                         the same (4.1).

07/13/23       KJS                       Analyze memo re employee privilege                                                                   0.40      766.80
                                         issues (0.4).

07/13/23       SNR                       QE internal partners team call re                                                                    2.10     3,345.30
                                         Bahamas litigation strategy (0.5); call
                                         with John Ray re Bahamas litigation
                                         strategy (0.6); various communication
                                         w/ team members re: strategy and
                                         document production issues (1.0).

07/13/23       KMA                       Analyze documents in connection                                                                      2.60     3,159.00
                                         with Bahamas adversary proceeding
                                         (2.4); correspondence with MS
                                         regarding same (.2).

07/13/23       CK5                       Review and analyze FTX DM's                                                                          1.10      994.95
                                         motion to dismiss the amended
                                         complaint in connection with
                                         preparing a response (1.1).

07/13/23       PC2                       Conduct factual research in                                                                          1.90     1,992.15
                                         connection with amending complaint
                                         in Grayscale litigation (1.4); attend
                                         QE meeting re: general litigation
                                         strategy in Grayscale litigation (0.6).

07/13/23       KJS                       Revise draft insider complaint and                                                                   1.90     3,642.30
                                         analyze documents re same (1.9).




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07/13/23       NH2                       Analyze employment record of FTX                                                                     1.80     1,628.10
                                         DM and update the summary chart
                                         (1.8).

07/13/23       AK2                       Review and analyze Joint Liquidators                                                                 5.80     7,047.00
                                         requests for production and analyze
                                         potential responses to same and
                                         sources of documents to produce in
                                         response to same (.8); confer with
                                         I.Nesser re: next steps re: same (.4);
                                         attend call with S.Rand, I.Nesser, and
                                         M.Scheck re: Bahamas requests for
                                         production and responses to same
                                         (.5); confer with I.Nesser re: results of
                                         same and next steps re: same (.2);
                                         confer with S.Rand, I.Nesser and
                                         M.Scheck re: additional call re: same
                                         (.1); attend same (.3); confer with
                                         I.Nesser re: results of same and next
                                         steps (.4); confer with N.Huh and
                                         M.Fuchs re: results of same and next
                                         steps (.2); review and analyze
                                         communications re: Embed litigation
                                         and upcoming conference re: same
                                         (.2); analyze potential custodians for
                                         Bahamas litigation and confer with
                                         N.Huh and M.Fuchs re: same (.9);
                                         confer with I.Nesser re: Bahamas
                                         review and production and confer
                                         with FTI re: same (.5); develop
                                         privilege search terms (1.3).

07/13/23       KJS                       Confer with John Ray re Bahamas                                                                      0.60     1,150.20
                                         litigation strategy (0.6).

07/13/23       IN                        Confer Kutscher re defensive                                                                         3.30     4,752.00
                                         discovery in JL litigation (0.5); confer
                                         Scheck, Rand, Kutscher re same (0.5);
                                         complete review of pleadings and
                                         document requests relevant to
                                         defensive discovery in JL litigation
                                         (2.3).

07/13/23       BC6                       Collect fact documents for and                                                                       5.90     4,407.30
                                         prepare order of proof for Friedberg
                                         litigation (5.9).


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07/13/23       MF6                       Research into custodians requested                                                                   7.40      6,227.10
                                         by the joint liquidators (7.4).

07/13/23       SNR                       Address Grayscale claim strategy and                                                                 1.20      1,911.60
                                         various communications with holders
                                         (1.2).

07/13/23       KW                        Discussion re: Litigation Strategy re                                                                0.60       729.00
                                         Grayscale (0.6).

07/13/23       KW                        Supplemental legal research in                                                                       2.70      3,280.50
                                         connection with amended complaint
                                         in Grayscale litigation (2.7).

07/14/23       JP                        Conference call with M. Scheck to                                                                    3.20      3,657.60
                                         discuss scope of defensive discovery
                                         in Bahamas litigation and review and
                                         analysis of documents regarding
                                         same (3.2).

07/14/23       JD4                       Review and analyze documents in                                                                      1.80      1,887.30
                                         support of factual investigation of
                                         origins of FTX Digital Markets and
                                         draft and revise memorandum
                                         regarding same (1.8).

07/14/23       APA                       Emails to and from S. Rand, J.                                                                       0.50       720.00
                                         Palmerson, J. Shaffer and Paul
                                         Hastings regarding Rule 2004 motion
                                         (0.5).

07/14/23       JEP                       Teleconferences with investors re                                                                    3.00      4,779.00
                                         Grayscale litigation (2.0); email
                                         investors re Grayscale litigation (.6);
                                         t/c Kapur re Grayscale litigation
                                         strategy (.4).

07/14/23       AM0                       Meet with M. Scheck and J. Dummit                                                                  11.40      13,491.90
                                         regarding factual investigation in
                                         Bahamas litigation (0.7); review and
                                         analysis of documents re regulatory
                                         work done by consultants regarding
                                         move to Bahamas (2.3); review and
                                         analyze FTX DM regulatory filings
                                         (2.5); review and analyze documents
                                         regarding FTX DM banking
                                         relationships (3.5); prepare
                                         memorandum regarding founding of
                                         FTX DM (2.4).
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07/14/23       MEO                       Review work product regarding                                                                        1.60     1,944.00
                                         professional law firm engagements,
                                         annotating same (1.2); review related
                                         materials (0.4).

07/14/23       CK5                       Research fraudulent transfer claims                                                                  0.80      723.60
                                         for opposition to JPLs' motion to
                                         dismiss (0.8).

07/14/23       JA6                       Legal research in Grayscale litigation                                                               0.80      673.20
                                         regarding securities law question and
                                         internal discussion, and analysis re
                                         same (0.8).

07/14/23       KMA                       Review and analyze documents from                                                                    1.90     2,308.50
                                         bankruptcy and criminal cases (1.7);
                                         correspond with QE team regarding
                                         third party discovery (.2).

07/14/23       KJS                       Exchange correspondence with                                                                         0.10      191.70
                                         Anthony Alden re 2004 deposition
                                         request (0.1).

07/14/23       NH2                       Review Relativity database for                                                                       8.10     7,326.45
                                         purpose of investigating employees
                                         of a target entity and draft summary
                                         chart (8.1).

07/14/23       KJS                       Revise insider adversary complaint                                                                   0.80     1,533.60
                                         (0.8).

07/14/23       KJS                       Revise 2004 motion and exchange                                                                      0.70     1,341.90
                                         correspondence with Jackie
                                         Palmerson and Anthony Alden re
                                         same (0.7).

07/14/23       KJS                       Exchange correspondence with                                                                         0.10      191.70
                                         committee counsel re 2004 requests
                                         (0.1).

07/14/23       AK2                       Confer with S.Rand, I.Nesser, and                                                                    4.20     5,103.00
                                         M.Scheck re: upcoming call on
                                         review and production of Bahamas
                                         documents (.1); attend same (.7);
                                         develop privilege search terms (1.7);
                                         confer with C.Kim re: responses and
                                         objections to requests for production
                                         (.1); review and analyze analysis of
                                         potential responses and work plan re:
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                                         same (.3); attend call with Alvarez
                                         and Marsal re: same (.5); confer with
                                         N.Huh and M.Fuchs re: same (.1);
                                         attend call with FTI re: same (.6);
                                         confer with M.Scheck re: document
                                         collection and review (.1).

07/14/23       KJS                       Analyze documents re Bahamas                                                                         2.20      4,217.40
                                         investigation and exchange
                                         correspondence with Matt Scheck re
                                         same (2.2).

07/14/23       MRS                       Analyzing documents in connection                                                                    9.80     12,921.30
                                         Bahamas investigation related to JL
                                         Litigation, conferring with A.
                                         Makhijani and J. Dummitt regarding
                                         the same, and outlining arguments
                                         related to claims and defenses in JL
                                         Litigation (5.1); conferring with J.
                                         Shaffer regarding JL Litigation claims
                                         (0.8); analyzing documents related to
                                         production in JL Litigation, and
                                         conferring with J. Palmerson
                                         regarding the same (3.2); call with A.
                                         Kutscher, S. Rand, and I. Nesser
                                         regarding JL Litigation defensive
                                         discovery (0.7).

07/14/23       MF6                       Research into custodians requested                                                                   8.40      7,068.60
                                         by joint liquidators, including
                                         meetings and correspondence with
                                         N. Huh on the same (8.3); reviewing
                                         correspondence from A. Alden
                                         regarding document productions
                                         (0.1).

07/14/23       JD4                       Confer with A. Makhijani and M.                                                                      0.70       733.95
                                         Scheck regarding factual background
                                         of FTX Digital Markets. (0.7).

07/14/23       BC6                       Collect fact documents and prepare                                                                   3.10      2,315.70
                                         order of proof for Friedberg litigation
                                         (3.1).

07/14/23       EK                        Conferences with confidential                                                                        7.10      8,850.15
                                         aligned party re: Grayscale strategy
                                         (1.9); conferring with QE team re:
                                         work on amended complaint for
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                                         Grayscale and strategic choices
                                         related thereto (0.6); conferring with
                                         M. Barlow, S. Rand, and J. Pickhardt
                                         re: Grayscale litigation strategy (0.8);
                                         correspondence with aligned parties
                                         re: Grayscale strategy (1.4); analyze
                                         research by investigator and
                                         correspondence with investigator and
                                         aligned party re: same (1.3); review
                                         and revise draft amended complaint
                                         in Grayscale (1.1).

07/14/23       SNR                       Address Bahamas discovery issues                                                                     2.10     3,345.30
                                         w/ M. Scheck, I. Nesser and A.
                                         Kutcher (0.7); review materials re:
                                         FTX DM re: same and address
                                         strategy (1.4).

07/14/23       IN                        Confer Scheck, Rand, Kutscher re                                                                     1.00     1,440.00
                                         defensive discovery in JL litigation
                                         (0.7); email McCaffrey re 2004
                                         discovery (0.3).

07/14/23       KW                        Supplemental legal research in                                                                       0.20      243.00
                                         connection with amended complaint
                                         in Grayscale litigation (0.2).

07/15/23       JP                        Draft subpoena to bank in connection                                                                 1.10     1,257.30
                                         with Bahamas litigation (1.1).

07/15/23       JA6                       Summarize legal research findings on                                                                 1.00      841.50
                                         securities law question for Grayscale
                                         litigation (1.0).

07/15/23       JEP                       Review legal research in connection                                                                  0.80     1,274.40
                                         with Grayscale litigation (.8).

07/15/23       APA                       Emails to and from J. Palmerson                                                                      0.10      144.00
                                         regarding Rule 2004 motion (0.1).

07/15/23       NH2                       Finalized FTX DM employees review                                                                    1.20     1,085.40
                                         chart and circulate (1.2).

07/15/23       KMA                       Correspond with team regarding                                                                       0.60      729.00
                                         Bahamas adversary proceeding
                                         strategy (.4); correspond with A&M
                                         regarding third party discovery
                                         targets (.2).


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07/15/23       KJS                       Exchange correspondence with                                                                         0.20      383.40
                                         Sascha Rand and Jackie Palmerson re
                                         2004 motion (0.2).

07/15/23       AK2                       Confer with K.Lemire and M.Scheck                                                                    0.50      607.50
                                         re: defensive document review for
                                         Bahamas requests for production (.1);
                                         confer with I.Nesser and M.Scheck re:
                                         Bahamas requests for production and
                                         responses to same (.1); confer with
                                         M.Scheck and FTI re: document
                                         review re: same (.2); confer with
                                         M.Scheck re: document collection and
                                         database for use in responding to
                                         same (.1).

07/15/23       NH2                       Created a new version for FTX DM                                                                     3.90     3,527.55
                                         employees review and add bucketing
                                         based on the status of employees and
                                         entities affiliated (3.1); address A.
                                         Kutscher's comments with M. Fuchs
                                         (0.8).

07/15/23       KJS                       Confer with Bill Burck, Ben                                                                          0.40      766.80
                                         Finestone, Sascha Rand, and Matt
                                         Scheck re Bahamas litigation (0.4).

07/15/23       JD4                       Review and analyze documents in                                                                      0.90      943.65
                                         support of factual investigation of
                                         origins of FTX Digital Markets and
                                         draft and revise memorandum
                                         regarding same. (0.9).

07/15/23       MRS                       Outlining ongoing and needed                                                                         0.60      791.10
                                         workstreams for JL litigation and
                                         internal correspondence with M.
                                         Anderson and S. Rand regarding the
                                         same (0.6).

07/15/23       EK                        Correspondence with A. Kutscher re:                                                                  4.60     5,733.90
                                         board update on Grayscale (0.2);
                                         review and revise draft amended
                                         complaint in Grayscale (4.1); review
                                         legal analysis in re: Grayscale
                                         strategy and correspondence with
                                         team re: same (0.3).



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07/15/23       MF6                       Research into custodians requested                                                                   5.00     4,207.50
                                         by joint liquidators (5.0).

07/15/23       KW                        Supplemental legal research in                                                                       0.40      486.00
                                         connection with amended complaint
                                         in Grayscale litigation (0.4).

07/16/23       JP                        Draft subpoena to bank in connection                                                                 0.90     1,028.70
                                         with Bahamas litigation (0.9).

07/16/23       JD4                       Review and analyze documents in                                                                      6.00     6,291.00
                                         support of factual investigation of
                                         origins of FTX Digital Markets and
                                         draft and revise memorandum
                                         regarding same (6.0).

07/16/23       CK5                       Research fraudulent transfer claims                                                                  8.80     7,959.60
                                         for response to FTX DM motion to
                                         dismiss (8.8).

07/16/23       KJS                       Confer with Matt Scheck re FTX DM                                                                    0.40      766.80
                                         (0.4).

07/16/23       MRS                       Conferring with J. Shaffer and S.                                                                    4.40     5,801.40
                                         Rand regarding JL Litigation and
                                         related issues (1.1); call with B.
                                         Finestone and J. Shaffer regarding JL
                                         Litigation (0.6); call with B. Burck, B.
                                         Finestone, S. Rand, and J. Shaffer
                                         regarding JL Litigation (0.4);
                                         analyzing documents related to
                                         creation of FTX DM and internal
                                         correspondence with A. Makhijani
                                         and J. Dummitt regarding the same
                                         (2.3).

07/16/23       SNR                       Internal strategy call re: JL litigation                                                             0.40      637.20
                                         w/ M. Scheck and M. Anderson (0.4).

07/16/23       KMA                       Confer with Bill Burck, Ben                                                                          0.40      486.00
                                         Finestone, Sascha Rand, and Matt
                                         Scheck re Bahamas litigation (0.4).

07/16/23       KJS                       Confer with Ben Finestone and Matt                                                                   0.60     1,150.20
                                         Scheck re FTX DM litigation (0.6).

07/16/23       KJS                       Confer with Bill Burck, Ben                                                                          0.40      766.80
                                         Finestone, Sascha Rand, and Matt
                                         Scheck re Bahamas litigation (0.4).

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07/16/23       KJS                       Revise 2004 motion and exchange                                                                      0.50      958.50
                                         correspondence with Jackie
                                         Palmerson re same (0.5).

07/16/23       AK2                       Review and analyze research re: FTX                                                                  0.80      972.00
                                         employees, potential custodians, and
                                         potential handover candidates re:
                                         Bahamas litigation, assess status of
                                         same, determine next steps re: same,
                                         and confer with N.Huh and M.Fuchs
                                         re: same (.7); review and analyze FTI
                                         communication re: Google
                                         documents in document database
                                         (.1).

07/16/23       EK                        Review and revise draft Grayscale                                                                    2.40     2,991.60
                                         amended complaint (2.4).

07/16/23       BF1                       C.C. with J. Shaffer, M. Scheck re next                                                              1.00     1,440.00
                                         procedural steps in BS litigation (.6);
                                         c.c. with W. Burke, S. Rand, J. Shaffer,
                                         M. Scheck re next procedural steps
                                         and proof of claim (.4).

07/16/23       MF6                       Research into custodians requested                                                                   3.40     2,861.10
                                         by joint liquidators (3.4).

07/16/23       APA                       Emails to and from J. Palmerson and                                                                  0.70     1,008.00
                                         S. Rand regarding Rule2004Rule 2004
                                         motion (0.4); review and revise Rule
                                         2004 motion (0.2); email same to J.
                                         Ray and S+C (0.1).

07/17/23       JD4                       Confer with K. Anderson regarding                                                                    0.40      419.40
                                         liquidator's privilege under
                                         Bahamian law and associated factual
                                         issues. (0.4).

07/17/23       NH2                       Addressed A. Kutscher's comments                                                                     0.40      361.80
                                         on the summary chart and confirm
                                         information regarding employees at
                                         Bahamian entity (0.4).

07/17/23       JEP                       Teleconference with investor counsel                                                                 1.70     2,708.10
                                         re coordination in Grayscale (1.1); t/c
                                         Grayscale team re complaint strategy
                                         (.3); t/c Kapur re follow up discussion
                                         (.3).

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07/17/23       WS1                       Call with QE team re: bankruptcy                                                                     0.80       997.20
                                         litigation, including Friedberg action
                                         (partial attendance) (.4); review
                                         memo re: claims against family
                                         investigative target for purpose of
                                         drafting complaint (.4).

07/17/23       CK5                       Research and summarize fraudulent                                                                    5.00      4,522.50
                                         transfer law in Delaware for response
                                         to JPL's motion to dismiss (5.0).

07/17/23       BF1                       Weekly coordination call with J. Ray                                                                 0.50       720.00
                                         and QE team (.5).

07/17/23       AM0                       Prepare and revise memorandum                                                                        8.70     10,296.45
                                         regarding founding of FTX DM (2.9);
                                         correspondence with M. Scheck and
                                         J. Dummitt regarding memorandum
                                         regarding FTX DM (2.0); review
                                         documents regarding founding of
                                         FTX DM (3.1); prepare for and meet
                                         with M. Anderson regarding third
                                         party discovery (0.7).

07/17/23       KMA                       Review and analyze documents in                                                                      3.60      4,374.00
                                         repository and filings regarding FTX
                                         Bahamas adversary proceeding
                                         strategy, claims, and defenses (3.6).

07/17/23       MEO                       Review correspondence regarding                                                                      3.20      3,888.00
                                         discovery requests for purposes of
                                         investigation (0.2); review materials
                                         in preparation for team call (0.7);
                                         team call regarding case strategy
                                         (0.9); review materials in preparation
                                         for A&M call (0.6); A&M call
                                         regarding professionals investigative
                                         report (0.8).

07/17/23       KJS                       Attend weekly JL advisor call with                                                                   0.50       958.50
                                         John Ray & S&C (0.5).

07/17/23       KJS                       Exchange correspondence with John                                                                    0.30       575.10
                                         Ray and Matt Scheck re stipulation
                                         with Joint Liquidators (0.3).

07/17/23       KJS                       Exchange correspondence with Jackie                                                                  0.30       575.10
                                         Palmerson re venture book 2004
                                         depositions (0.3).
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07/17/23       MRS                       Weekly JL Litigation adviser call with                                                               7.30     9,625.05
                                         John Ray (0.5); call with J. Shaffer
                                         regarding JL Litigation claims and
                                         motion to dismiss issues (0.5);
                                         correspondence with client and J.
                                         Shaffer and S. Rand, regarding
                                         motion to dismiss briefing deadlines
                                         and acceptance of service (0.7);
                                         conferring with B. Glueckstein
                                         regarding the same (0.2); analyzing
                                         research memorandum related to
                                         motion to dismiss arguments and
                                         correspondence from C. Kelly
                                         regarding the same (0.4); analyzing
                                         memorandum regarding JL Litigation
                                         claims and underlying documents
                                         related to same, and conferring with
                                         M. Anderson and J. Shaffer regarding
                                         the same (1.6); correspondence with J.
                                         Shaffer and S. Rand re JL Litigation
                                         discovery and related issues (0.3);
                                         analyzing proofs of claim filed by
                                         certain potential discovery targets in
                                         JL Litigation and correspondence to
                                         JL Litigation team regarding the same
                                         (0.6); analyzing proofs of claim filed
                                         by Rule 2004 motion targets, and
                                         correspondence to A. Alden, J.
                                         Shaffer, and J. Palmerson regarding
                                         the same (0.7); analyzing documents
                                         related to Terms of Service and
                                         related JL Litigation issues (1.8).

07/17/23       KJS                       Analyze memorandum and                                                                               0.70     1,341.90
                                         correspondence from McKenzie
                                         Anderson re FTX DM claims (0.7).

07/17/23       PC2                       Conduct legal and factual research in                                                                4.50     4,718.25
                                         connection with amending complaint
                                         in Grayscale litigation (2.3); draft
                                         same (1.6); call with J. Arnier re: same
                                         (0.3); attend Grayscale team call re:
                                         general litigation strategy (0.3).

07/17/23       AN3                       Emails with clerks re clearing                                                                       0.50      668.25
                                         conflicts for Bahamian qualified legal
                                         advisors (0.5).
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07/17/23       KJS                       Exchange correspondence with Matt                                                                    0.30      575.10
                                         Scheck and Sascha Rand re FTX DM
                                         discovery (0.3).

07/17/23       KJS                       Analyze memo and correspondence                                                                      0.60     1,150.20
                                         from Cameron Kelly re FTX DM
                                         motion to dismiss (0.6).

07/17/23       AK2                       Confer with I.Nesser re: document                                                                    5.80     7,047.00
                                         review for Bahamas litigation and
                                         determine next steps re: same (.2);
                                         confer with T.Riegler re: same (.1);
                                         review and analyze filings in Rocket
                                         and Embed actions and confer with
                                         C.Kim re: same (.2); confer with
                                         M.Scheck and I.Nesser re: responses
                                         and objections to request for
                                         production in Bahamas litigation,
                                         draft communication to opposing
                                         counsel re: same, and confer with
                                         S.Rand re: same (.6); confer with
                                         C.Kim re: same (.1); review and
                                         analyze research re: FTX employees,
                                         potential custodians, and potential
                                         handover candidates re: Bahamas
                                         litigation, assess status of same,
                                         determine next steps re: same, confer
                                         with N.Huh and M.Fuchs re: same,
                                         and confer with FTI re: same (2.6);
                                         review and analyze communications
                                         re: upcoming hearing in Rocket
                                         matter (.1); attend call with Alvarez
                                         and Marsal re: Bahamas requests for
                                         production and responses to same
                                         and confer with I.Nesser re: results of
                                         same and next steps re: same (1.1);
                                         review and analyze data re: same (.4);
                                         confer with M.Scheck re: document
                                         database and collected documents
                                         (.2); confer with FTI re: same (.1);
                                         confer with S.Rand and I.Nesser re:
                                         upcoming meeting on Bahamas
                                         defensive discovery (.1).

07/17/23       KJS                       Confer with Matt Scheck re FTX DM                                                                    0.50      958.50
                                         litigation claims (0.5).

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07/17/23       KJS                       Revise 2004 motion and exchange                                                                      0.60     1,150.20
                                         correspondence with Jackie
                                         Palmerson and Anthony Alden re
                                         same (0.6).

07/17/23       EK                        Conferences with aligned parties re:                                                                 3.50     4,362.75
                                         Grayscale strategy (1.7); conference
                                         with QE team re: Grayscale amended
                                         complaint strategy (0.3);
                                         correspondence with aligned parties
                                         re: Grayscale strategy (0.6);
                                         correspondence and conference with
                                         J. Pickhardt and B. Adams re:
                                         Grayscale strategy (0.3); review and
                                         revise amended complaint in
                                         Grayscale (0.6).

07/17/23       MF6                       Correspondence with A. Kutscher                                                                      3.10     2,608.65
                                         and N. Huh regarding custodians
                                         requested by joint liquidators (0.7);
                                         revising work product regarding
                                         research on custodians requested by
                                         joint liquidators (2.4).

07/17/23       BC6                       Collect documents for and prepare                                                                    4.60     3,436.20
                                         order of proof for Friedberg litigation
                                         (4.6).

07/17/23       APA                       Review Rule 2004 motion (0.3);                                                                       0.60      864.00
                                         emails to and from client, LR+C, S.
                                         Rand and J. Palmerson regarding
                                         same (0.3).

07/17/23       IN                        Weekly conference QE and Ray re JL                                                                   1.60     2,304.00
                                         adversary proceeding (0.5); confer
                                         A&M and QE re defensive document
                                         production in JL litigation (0.7);
                                         confer Kutscher re same (0.4).

07/17/23       KMA                       Analyze documents and prepare and                                                                    7.40     8,991.00
                                         revise memorandum regarding origin
                                         story of FTX DM (5.9); meeting with
                                         AM regarding third party discovery
                                         (.6); discussion of privilege issues
                                         with JD (.4); meeting with QE team
                                         and J. Ray (.5).



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07/17/23       SNR                       T/c re: JL strategy w/ QE team and J.                                                                3.30      5,256.90
                                         Ray (0.5); review materials re: FTX
                                         DM and address various strategy
                                         issues w/ M. Scheck and M.
                                         Anderson (2.8).

07/17/23       JA6                       Review and revise amended                                                                            3.00      2,524.50
                                         complaint to update data points and
                                         insert additional information from
                                         factual investigation (2.4); TC with
                                         QE team re: general litigation
                                         strategy in Grayscale litigation (0.3);
                                         TC with P. Collins discussion and
                                         analysis re: factual research in
                                         Grayscale litigation (0.3).

07/18/23       KMA                       Analyze documents and foreign                                                                        4.60      5,589.00
                                         regulations regarding claims and
                                         defenses in Bahamas litigation (3.4);
                                         analyze materials and correspond
                                         regarding discovery in Bahamas
                                         litigation (1.2).

07/18/23       KMA                       Meeting with J. Shaffer regarding                                                                    2.10      2,551.50
                                         Bahamas adversary proceeding and
                                         discovery (1.1); meeting with S. Rand,
                                         I. Nesser, M. Scheck, and A. Kutscher
                                         regarding defensive discovery in
                                         Bahamas litigation (1.0).

07/18/23       JD4                       Confer with case team regarding                                                                      0.90       943.65
                                         status of offensive and defensive
                                         discovery in Bahamas litigation, and
                                         strategy and next steps regarding
                                         same. (0.9).

07/18/23       MEO                       Review materials regarding law firm                                                                  8.40     10,206.00
                                         research, in preparation for draft
                                         investigative report (1.3); review
                                         forensic reviews of professional firm
                                         fees (0.9); review work product
                                         regarding auditor professionals (0.7);
                                         draft and revise portion of
                                         investigative report regarding same
                                         (1.9); review work product regarding
                                         financial professionals (1.2); draft and
                                         revise portion of investigative report

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                                         regarding same (1.8); correspond
                                         with team regarding same (0.4).

07/18/23       JEP                       Teleconferences with investors re                                                                    1.30     2,070.90
                                         Grayscale litigation (1.0); emails re
                                         litigation strategy in Grayscale
                                         litigation (.3).

07/18/23       CK5                       Call with QE Bahamas core lit team                                                                   1.30     1,175.85
                                         re discovery and case strategy (0.9);
                                         call with JS and MS re preparing
                                         opposition to JPLs' motion to dismiss
                                         (0.4).

07/18/23       NH2                       Addressed A. Kutscher's questions,                                                                   2.60     2,351.70
                                         reviewed information regarding
                                         employees at Bahamian entity, and
                                         updated the summary chart (2.3);
                                         internal QE discussion on document
                                         discovery regarding Bahamian entity
                                         (0.3).

07/18/23       AN3                       Consideration of privilege issues and                                                                5.80     7,751.70
                                         prepare email for NY team (3.0);
                                         further consideration of foreign law
                                         issues (1.8); call to discuss next steps
                                         with NY team re foreign law issues in
                                         Bahamas litigation (1.0).

07/18/23       KMA                       Meeting with A&M and M. Scheck                                                                       2.50     3,037.50
                                         regarding Bahamas adversary facts,
                                         claims, and defenses (.4); meeting
                                         with M. Scheck regarding
                                         workstreams (.2); meeting with I.
                                         Nesser and associate team regarding
                                         Bahamas adversary workstreams (.9);
                                         meeting with J. Dummit and A.
                                         Nelder regarding foreign law issues
                                         (1.0).

07/18/23       TR2                       Confer with A Kutscher re document                                                                   0.40      178.20
                                         review and review staffing with FTI.

07/18/23       JD4                       Confer with Alvarez & Marsal re:                                                                     0.40      419.40
                                         third party discovery in Bahamas
                                         litigation and factual investigation re:
                                         flow of funds and customers. (0.4).


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07/18/23       AM0                       Meet with Bahamas team regarding                                                                     5.20     6,154.20
                                         case priorities (0.9); review and
                                         finalize list of third-party party
                                         discovery targets in Bahamas
                                         litigation (1.5); correspondence with
                                         team regarding third-party discovery
                                         targets (0.9); research potential third-
                                         party discovery targets (0.9); research
                                         regarding service of discovery in the
                                         Bahamas (1.0).

07/18/23       BF1                       C.C. with S. Rand, M. Scheck re                                                                      0.30      432.00
                                         briefing schedule and opposition to
                                         motion to dismiss and related issues
                                         in Bahamas litigation (.3).

07/18/23       RCE                       Review draft emails to QE team re                                                                    0.70     1,341.90
                                         privilege and causes of actions (0.5);
                                         email to A Nelder re same (0.2).

07/18/23       IN                        Confer QE re JL litigation status and                                                                1.40     2,016.00
                                         strategy (0.9); confer QE re defensive
                                         discovery in JL proceeding (partial
                                         attendance) (0.5).

07/18/23       JA6                       Updated data points in draft                                                                         0.40      336.60
                                         amended complaint in Grayscale
                                         litigation to incorporate updated
                                         research (0.4).

07/18/23       KJS                       Confer with McKenzie Anderson re                                                                     1.10     2,108.70
                                         FTX DM claims (1.1).

07/18/23       MRS                       Call with S. Rand and B. Finestone                                                                   7.40     9,756.90
                                         regarding JL Litigation motion to
                                         dismiss briefing deadlines and scope,
                                         and motion to join issues (0.3); call
                                         with A&M and M. Anderson,
                                         regarding JL Litigation discovery,
                                         analysis of transactions related to JL
                                         Litigation, and related issues (0.4);
                                         internal JL team call (0.9), and follow
                                         up with M. Anderson regarding the
                                         same (0.2); call with A. Kutscher, I.
                                         Nesser, J. Shaffer, and S. Rand
                                         regarding defensive discovery in JL
                                         Litigation, and related issues (1.1);
                                         conferring with C. Kelly and J.
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                                         Shaffer regarding opposition to
                                         motion to dismiss (0.4), analyzing
                                         research related to the same, and
                                         outlining arguments regarding the
                                         same (1.8); analyzing documents
                                         regarding Terms of Service and
                                         alleged migration, and
                                         correspondence with M. Anderson
                                         and J. Shaffer regarding the same
                                         (2.3).

07/18/23       KJS                       Analyze documents re DM migration                                                                    0.80      1,533.60
                                         issues and exchange correspondence
                                         with Matt Scheck and McKenzie
                                         Andersen re same (0.8).

07/18/23       AK2                       Conduct research re: data sources                                                                    8.80     10,692.00
                                         and processing status and confer
                                         with M.Scheck re: same (.3); confer
                                         with M.Fuchs and N.Huh re:
                                         defensive discovery next steps (.3);
                                         confer with FTI re: document review
                                         (.1); confer with Todd Riegler re:
                                         same (.4); confer separately with
                                         N.Huh, I.Nesser, and M.Scheck re:
                                         same (.3); attend Bahamas team
                                         meeting (.9); review and analyze
                                         filings in the Rocket/Embed actions
                                         (.3); confer with investigator re:
                                         document collection and upcoming
                                         call re: same and confer with I.Nesser
                                         re: same (.1); confer with S.Rand and
                                         I.Nesser re: upcoming call on
                                         document production in Bahamas
                                         litigation (.1); confer with Alvarez
                                         and Marsal re: document collection
                                         and review for production and
                                         determine next steps re: same (.1);
                                         confer with I.Nesser re: hearing in
                                         Rocket/Embed action (.1); conduct
                                         research re: Bahamas litigation (.3);
                                         attend call with S.Rand, M.Scheck,
                                         M.Anderson, and I.Nesser re:
                                         Bahamas discovery update and
                                         litigation next steps (1.1); conduct
                                         research re: document production
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                                         and review documents re: same (3.3);
                                         confer with FTI re: same (.2); conduct
                                         research re: Bahamas litigation next
                                         steps (.9).

07/18/23       KJS                       Analyze documents and exchange                                                                       0.40      766.80
                                         correspondence with Matt Scheck
                                         and McKenzie Andersen re FTX DM
                                         discovery (0.4).

07/18/23       KJS                       Analyze proofs of claim filed as                                                                     0.60     1,150.20
                                         related to Bahamas and other
                                         litigation targets (0.6).

07/18/23       KJS                       Analyze memo re motion to dismiss                                                                    0.70     1,341.90
                                         research and exchange
                                         correspondence with Matt Scheck re
                                         same (0.7).

07/18/23       BC6                       Collect documents for and prepare                                                                    3.10     2,315.70
                                         order of proof for Friedberg litigation
                                         (3.1).

07/18/23       SNR                       T/c w/ M. Scheck and B. Finestone re:                                                                3.70     5,894.10
                                         JL claims strategy (0.3); review
                                         materials re: JL claims and address
                                         strategy re: same (2.8); attend JL team
                                         strategy call (0.6 partial call).

07/18/23       JD4                       Conduct legal research regarding                                                                     0.50      524.25
                                         choice of law issues relating to
                                         assertions of privilege. (0.5).

07/18/23       JD4                       Confer with case team regarding                                                                      1.00     1,048.50
                                         Bahamian and U.S. privilege rules
                                         applicable to interviews conducted
                                         by JPLs. (1.0).

07/18/23       EK                        Conferences with aligned parties'                                                                    2.90     3,614.85
                                         counsel re: Grayscale strategy (1.2);
                                         correspondence with aligned parties
                                         re: Grayscale strategy and questions
                                         related thereto (1.1); conduct analysis
                                         regarding and correspondence with J.
                                         Pickhardt and S. Rand re: Grayscale
                                         strategy (0.6).




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07/18/23       APA                       Review and analysis of order by                                                                      0.20      288.00
                                         Third Circuit regarding examiner
                                         appeal (0.2).

07/18/23       MF6                       Meeting with team to discuss                                                                         1.90     1,598.85
                                         discovery and pleadings (0.9);
                                         research into custodians requested by
                                         joint liquidators (1.0).

07/18/23       KJS                       Review QE correspondence re                                                                          0.20      383.40
                                         automatic stay issue in JL litigation
                                         (0.2).

07/18/23       KJS                       Attend call with Matt Scheck re JL                                                                   0.40      766.80
                                         requests re Bahamas litigation (0.4).

07/19/23       KMA                       Analyze documents and investigative                                                                  5.90     7,168.50
                                         memoranda regarding Bahamas
                                         adversary proceeding witnesses,
                                         claims, and defenses (5.5); meeting
                                         with K. Lemire regarding witness
                                         interview (.4).

07/19/23       JD4                       Review and analyze documents                                                                         0.50      524.25
                                         concerning FTX purported migration
                                         to Bahamas (0.5).

07/19/23       WS1                       Analyze memo re: family member                                                                       1.40     1,745.10
                                         investigation target claims to oversee
                                         preparation of complaint (.7); analyze
                                         prior work product re: FTX insiders
                                         and operations for same purpose (.4);
                                         analyze potential claims against
                                         insider (.3).

07/19/23       KMA                       Meeting with K. Lemire, S. Hill, T.                                                                  2.70     3,280.50
                                         Murray, M. Scheck, and S. Rand
                                         regarding Bahamas adversary
                                         proceeding and relevant
                                         investigations (1.1); confer with M.
                                         Scheck regarding Bahamas litigation
                                         workstreams, claims, and defenses
                                         (.7); call with S. Williamson regarding
                                         investigations (.1); meeting with J.
                                         Croke and S. Wheeler, and S.
                                         Williamson regarding investigations
                                         related to Bahamas litigation (.8).


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07/19/23       EK                        Conferences with aligned parties re:                                                                 3.50      4,362.75
                                         Grayscale strategy (1.6);
                                         correspondence with J. Pickhardt and
                                         S. Rand re: Grayscale strategy and
                                         analysis of same (0.6);
                                         correspondence with P. Collins and
                                         A. Sutton re: further edits to
                                         Grayscale amended complaint (0.6);
                                         conference with M. Barlow re:
                                         Grayscale strategy issues (0.3);
                                         correspondence with aligned parties
                                         re: strategy issues (0.4).

07/19/23       JP                        Correspondence with A. Makhijani to                                                                  0.30       342.90
                                         discuss third-party discovery in
                                         Bahamas litigation (0.2); e-mail
                                         correspondence regarding third-
                                         party discovery in Bahamas litigation
                                         (0.1).

07/19/23       AM0                       Analyze and review documents                                                                         8.40      9,941.40
                                         regarding founding of FTX DM and
                                         initial bank deposits (3.9); prepare
                                         memorandum regarding deposits at
                                         FTX DM bank accounts (2.1); analyze
                                         and review documents regarding
                                         transfer of customer deposits to FTX
                                         DM (2.4).

07/19/23       KJS                       Conferring with M. Scheck regarding                                                                  2.10      4,025.70
                                         claims in JL Litigation, arguments
                                         related to motion to dismiss briefing,
                                         and analyzing documents related to
                                         the same (2.1).

07/19/23       PC2                       Conduct legal and factual research in                                                                1.40      1,467.90
                                         connection with amending complaint
                                         in Grayscale litigation (1.4).

07/19/23       JEP                       Teleconference with counsel in                                                                       0.60       955.80
                                         Grayscale re strategic considerations
                                         (.6).

07/19/23       MRS                       Call with K. Lemire, S. Hill, T.                                                                     8.70     11,470.95
                                         Murray, and M. Anderson regarding
                                         investigations work pertinent to JL
                                         Litigation and follow-up regarding
                                         related issues (1.1); analyzing
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                                         documents related to alleged
                                         migration and terms of service and
                                         outlining arguments related to the
                                         same (3.1); analyzing arguments for
                                         motion to dismiss, analyzing
                                         documents and research related to
                                         the same, and conferring with J.
                                         Shaffer regarding the same (3.2);
                                         analyzing memorandum related to
                                         foreign discovery issues (0.6);
                                         correspondence with M. Anderson
                                         and JL Litigation team regarding
                                         strategy and next steps (0.7).

07/19/23       KJS                       Confer with Matt Scheck re Digital                                                                   0.70      1,341.90
                                         Markets (0.7).

07/19/23       KJS                       Analyze doc review results re FTX                                                                    1.30      2,492.10
                                         DM litigation and exchange
                                         correspondence with Matt Scheck re
                                         same (1.3).

07/19/23       KJS                       Exchange correspondence with                                                                         0.20       383.40
                                         Anthony Alden and Jackie Palmerson
                                         re 2004 demands (0.2).

07/19/23       RCE                       Review email from A Nelder re                                                                        0.40       766.80
                                         update (.2); review emails to counsel
                                         re conflicts and meeting (0.2).

07/19/23       MF6                       Research into custodians requested                                                                   2.80      2,356.20
                                         by the joint liquidators (2.8).

07/19/23       MEO                       Correspond with team regarding                                                                     10.50      12,757.50
                                         professionals investigative report
                                         (1.7); internal team call regarding
                                         same (0.4); review portion of work
                                         product regarding legal
                                         professionals, corresponding with
                                         team regarding same (1.4); review
                                         underlying materials supporting
                                         same (1.2); draft and revise portion of
                                         investigative report regarding same
                                         (0.9); review adversary proceeding
                                         filings and work product, annotating
                                         items for investigative report (1.6);
                                         call regarding case strategy (0.4);
                                         correspond with team regarding
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                                         adversary proceedings and related
                                         work product (0.5); review work
                                         product regarding professional fees,
                                         corresponding with A&M regarding
                                         same (0.9); review portion of work
                                         product regarding auditors, revising
                                         portion of investigative report
                                         regarding same (1.1); draft summary
                                         of points for discussion on call
                                         regarding law firm targets,
                                         corresponding with team regarding
                                         same (0.4).

07/19/23       SNR                       Various t/c re: JL discovery issues w/                                                               2.20      3,504.60
                                         A. Kutscher and others (0.9) review
                                         materials and address strategy re:
                                         same (1.3).

07/19/23       AK2                       Conduct research re: Bahamas                                                                         4.90      5,953.50
                                         turnover request and custodians and
                                         documents responsive to same and
                                         confer with FTI re: same (2.4); confer
                                         with M.Scheck re: same (.1); confer
                                         with S.Rand re: upcoming calls re:
                                         same (.1); attend same (.3); confer
                                         with C.Arnett re: document requests
                                         and next steps re: same (.2); confer
                                         with investigator re: upcoming call
                                         re: data collection (.1); attend same
                                         (.8); confer with S.Rand re: results of
                                         meet and confer on Bahamas
                                         custodians and document production
                                         and next steps re: same and draft
                                         communication to opposing counsel
                                         re: same (.9).

07/20/23       MEO                       Review team work product regarding                                                                   9.80     11,907.00
                                         legal professional firms (1.3); review
                                         team work product regarding audit
                                         firms (0.8); draft and revise portion of
                                         investigative report regarding same
                                         (0.7); review documentation
                                         supporting same (1.6); review work
                                         product related to adversary
                                         proceedings (0.9); review materials in
                                         preparation of professional
                                         investigative report, including
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                                         summary work product regarding
                                         same (1.4); revise investigative report
                                         in light of same (0.5); correspond
                                         with team regarding investigative
                                         report (0.9); correspond with A&M
                                         regarding professional fees,
                                         reviewing related work product (0.3);
                                         call with team regarding
                                         investigative report (0.5); correspond
                                         with team regarding same (0.9).

07/20/23       KW                        General Litigation Strategy                                                                          0.30      364.50
                                         Discussion re Grayscale (0.3).

07/20/23       CK5                       Prepare opposition to JPLs' motion to                                                                3.30     2,984.85
                                         dismiss Bahamas complaint (3.3).

07/20/23       JA6                       TC with QE team re: general                                                                          0.30      252.45
                                         litigation strategy in Grayscale
                                         litigation (0.3).

07/20/23       WS1                       Review and edit order of proof for                                                                   0.80      997.20
                                         Friedberg litigation for purposes of
                                         assessing case strategy (.8).

07/20/23       KMA                       Analyze documents and materials in                                                                   3.90     4,738.50
                                         connection with Bahamas litigation
                                         claims and defenses and correspond
                                         with team members regarding same
                                         (3.9).

07/20/23       KMA                       Meeting with J. Dummitt regarding                                                                    3.70     4,495.50
                                         research and analysis for Bahamas
                                         adversary proceeding discovery
                                         dispute (.3); analyze documents and
                                         materials in connection with
                                         discovery dispute (3.4).

07/20/23       EK                        Correspondence with P. Collins and                                                                   1.60     1,994.40
                                         A. Sutton re: adjustments to amended
                                         complaint and strategy related
                                         thereto (0.4); conference with aligned
                                         party re: Grayscale strategy (0.5);
                                         conference with QE Grayscale team
                                         re: complaint (0.3); correspondence
                                         with aligned parties re: Grayscale
                                         strategy (0.4).


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07/20/23       AM0                       Review and analyze documents                                                                         4.80     5,680.80
                                         regarding potential third-party
                                         targets Bahamas litigation (2.3);
                                         prepare target third-party discovery
                                         list (1.1); research service on third-
                                         party witnesses (1.4).

07/20/23       RCE                       Emails to QE team re experts (0.5).                                                                  0.50      958.50

07/20/23       JD4                       Review and manage documents                                                                          0.20      209.70
                                         concerning factual origins of FTX
                                         Digital Markets (0.2).

07/20/23       KJS                       Confer with Ben Finestone and Matt                                                                   1.60     3,067.20
                                         Scheck re Bahamas litigation strategy
                                         (1.6).

07/20/23       KJS                       Analyze jurisdictional research memo                                                                 0.30      575.10
                                         and exchange correspondence with
                                         McKenzie Andersen re same (0.3).

07/20/23       KJS                       Analyze FTX DM research memo and                                                                     0.50      958.50
                                         exchange correspondence with
                                         McKenzie Andersen and Matt Scheck
                                         re same (0.5).

07/20/23       KJS                       Confer with Matt Scheck re JL Motion                                                                 0.40      766.80
                                         to Dismiss (0.4).

07/20/23       KJS                       Revise stipulation with FTX DM joint                                                                 0.50      958.50
                                         liquidators and exchange
                                         correspondence with Matt Scheck
                                         and McKenzie Andersen re same
                                         (0.5).

07/20/23       KJS                       Confer with Sascha Rand, Matt                                                                        0.40      766.80
                                         Scheck and Andrew Kutscher re
                                         Bahamas litigation (0.4).

07/20/23       KJS                       Exchange correspondence with Jackie                                                                  0.20      383.40
                                         Palmerson re 2004s (0.2).

07/20/23       AK2                       Confer with M.Fuchs and N.Huh re:                                                                    7.50     9,112.50
                                         research into potential turnover and
                                         RFP custodians for Bahamas action
                                         and conduct research re: same (1.7);
                                         draft communication to S.Rand,
                                         I.Nesser, M.Scheck, and M.Anderson
                                         re: results of discussion with
                                         investigator on data collection and
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                                         determine next steps re: same (.3);
                                         conduct research re: Bahamas
                                         litigation and custodians and confer
                                         with S.Rand, J.Shaffer, and M.Scheck
                                         re: same (1.8); review and analyze
                                         document sources and data re: same,
                                         determine processing next steps, and
                                         confer with FTI re: same (.6); review
                                         and analyze investigator
                                         memorandum re: Bahamas issues
                                         (.6); develop search terms for
                                         Bahamas hybrid turnover custodians
                                         (1.9); confer with S.Rand re:
                                         upcoming call on Bahamas discovery
                                         status, negotiations, and next steps
                                         (.1); attend same with S.Rand,
                                         J.Shaffer, and M.Scheck (.3); confer
                                         with N.Huh and M.Fuchs re: results
                                         of same (.1); confer with C.Kim re:
                                         Bahamas RFP responses and
                                         objections (.1).

07/20/23       BF1                       C.C. with M. Scheck, J. Shaffer re                                                                   1.60     2,304.00
                                         inbound and outbound claims and
                                         strategy in Bahamas litigation (1.6).

07/20/23       PC2                       Conduct legal and factual research                                                                   2.90     3,040.65
                                         with view toward amending
                                         complaint in Grayscale litigation
                                         (2.6); attend Grayscale team call re:
                                         general litigation strategy (0.3).

07/20/23       MW2                       Team call to discuss Grayscale                                                                       0.30      224.10
                                         complaint (.3).

07/20/23       MRS                       Call with J. Shaffer and B. Finestone                                                                6.60     8,702.10
                                         regarding JL Litigation claims,
                                         strategy, and legal analysis (1.6);
                                         analyzing documents related to JL
                                         claims and outlining arguments
                                         related to same (1.3); analyzing
                                         research memo and related cases
                                         regarding motion to dismiss JL
                                         Litigation (1.1); call with J. Palmerson
                                         re legal research related to JL
                                         Litigation, and analyzing
                                         memorandum related to same (0.6);
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                                         revising stipulation related to
                                         deadlines in JL Litigation and
                                         conferring internally and with Landis
                                         regarding the same (0.7); internal call
                                         with S. Rand, A. Kutscher, and J.
                                         Shaffer regarding JL Litigation
                                         discovery negotiations and related
                                         issues (0.3); analyzing memorandum
                                         related to discovery (0.2); conferring
                                         internally regarding certain
                                         agreements and documents related to
                                         JL Litigation and research related to
                                         same (0.8).

07/20/23       KJS                       Analyze order re FTX DM dispute                                                                      0.10       191.70
                                         mediator (0.1).

07/20/23       NH2                       Addressed follow-up inquiry and                                                                      1.70      1,537.65
                                         conduct research regarding FDM
                                         employees and update the review
                                         chart (1.5), discuss with A. Kutscher
                                         and M. Fuchs (0.2).

07/20/23       AN3                       Emails with McKenzie re availability                                                                 0.70       935.55
                                         of different potential experts for
                                         Bahamas litigation, emails with
                                         potential experts (0.7).

07/20/23       MF6                       Research into custodians requested                                                                   5.10      4,291.65
                                         by the joint liquidators (4.1);
                                         reviewing memo regarding discovery
                                         (0.5); reviewing FTX DM's proof of
                                         claim (0.5).

07/20/23       JD4                       Confer with M. Anderson regarding                                                                    0.30       314.55
                                         choice of law issues in privilege
                                         analysis (0.3).

07/20/23       JP                        Conference call with M. Scheck                                                                       0.40       457.20
                                         regarding research on expert
                                         testimony for Bahamas litigation and
                                         review research regarding same (0.4).

07/20/23       BC6                       Collect documents for and prepare                                                                    2.60      1,942.20
                                         order of proof for Friedberg litigation
                                         (2.6).

07/20/23       SNR                       Attend strategy session and interview                                                                8.20     13,062.60
                                         w/ PwP re: venture book sale and
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                                         related issues (7.4); various follow up
                                         re: same (0.8).

07/20/23       SNR                       Review materials re: JL proofs of                                                                    4.40     7,009.20
                                         claim and address strategy re: same
                                         (3.7); various t/c re: same w/ team
                                         members (0.7).

07/21/23       TR2                       Confer with A. Kutscher re database                                                                  0.20       89.10
                                         set-up and configuration (0.2).

07/21/23       KMA                       Meeting with SNR, MS, AN, and                                                                        2.30     2,794.50
                                         potential experts for JL litigation (.9);
                                         meeting with MS regarding same (.1);
                                         meeting with second potential expert
                                         (1.0); correspond regarding summary
                                         of expert meetings (.3).

07/21/23       KJS                       Exchange correspondence with Jackie                                                                  0.30      575.10
                                         Palmerson re 2004 requests and
                                         follow up demands (0.3).

07/21/23       KJS                       Exchange QE correspondence re FTX                                                                    0.20      383.40
                                         DM demand re 2004 documents (0.2).

07/21/23       KJS                       Exchange correspondence with Ken                                                                     0.20      383.40
                                         Pasquale and Jackie Palmerson re
                                         2004 demands (0.2).

07/21/23       KJS                       Attend QE Bahamas strategy session                                                                   1.80     3,450.60
                                         (1.8).

07/21/23       KJS                       Analyze correspondence from Matt                                                                     0.20      383.40
                                         Scheck re experts (0.2).

07/21/23       KMA                       Analyze documents for offensive                                                                      4.10     4,981.50
                                         strategy in Bahamas litigation (2.8);
                                         meeting with MS and Sullivan &
                                         Cromwell regarding coordination of
                                         Bahamian adversary proceeding (.9);
                                         correspond regarding tasks related to
                                         Bahamas litigation (.4).

07/21/23       AK2                       Confer with T.Riegler re: production                                                                 3.30     4,009.50
                                         and review of documents in Bahamas
                                         litigation (.2); determine next steps re:
                                         same (.6); confer with Andrew Sutton
                                         re: responses and objections to
                                         requests for production in Bahamas
                                         litigation (.1); confer with FTI re:
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                                         document review and upcoming
                                         meeting re: same and determine next
                                         steps re: same (.2); confer with
                                         I.Nesser re: Bahamas document
                                         production negotiations status,
                                         update, and next steps (.2); confer
                                         with M.Fuchs and N.Huh re: same
                                         (.3); determine next steps re: same
                                         and confer with FTI re: same (1.2);
                                         confer with J.Palmerson re: same (.1);
                                         confer with FTI re: document review
                                         (.3); confer with M.Scheck, I.Nesser,
                                         and M.Anderson re: upcoming meet
                                         and confer with opposing counsel in
                                         Bahamas action re: document
                                         discovery (.1).

07/21/23       KJS                       Research re FTX DM litigation claims                                                                 0.90     1,725.30
                                         and defenses (0.9).

07/21/23       KJS                       Analyze hot docs for DM litigation                                                                   0.70     1,341.90
                                         and correspondence from Matt
                                         Scheck re same (0.7).

07/21/23       PC2                       Conduct factual research in                                                                          1.20     1,258.20
                                         connection with amending complaint
                                         in Grayscale (1.0); call with
                                         investigator re: same (0.2).

07/21/23       CK5                       Prepare opposition to JPLs' motion to                                                                2.80     2,532.60
                                         dismiss Bahamas complaint (2.8).

07/21/23       APA                       Emails to and from Alvarez & Marsal                                                                  0.10      144.00
                                         regarding avoidance actions (0.1).

07/21/23       JD4                       Conduct legal research regarding                                                                     3.10     3,250.35
                                         privilege issue in Bahamas litigation
                                         (3.1).

07/21/23       AN3                       Meeting with potential expert and                                                                    3.70     4,945.05
                                         de-brief with QE team (0.9); meeting
                                         with potential expert and debrief
                                         with QE team (1.0); Bahamas strategy
                                         session (1.8).

07/21/23       MRS                       Call with potential expert related to                                                                6.70     8,833.95
                                         JL Litigation, and debrief with QE
                                         team (0.9); conferring with M.
                                         Anderson regarding expert and
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                                         related issues (0.1); call with potential
                                         expert for JL litigation, and debrief
                                         with QE team (1.0); call with M.
                                         Anderson, B. Glueckstein, and S.
                                         Fulton regarding JL Litigation
                                         strategy and timeline (0.9); meeting
                                         with S. Rand, J. Shaffer, and M.
                                         Anderson regarding JL litigation
                                         strategy, key facts and issues,
                                         discovery, and related issues (1.8);
                                         correspondence to J. Ray regarding
                                         potential experts, and conferring
                                         internally regarding the same (0.4);
                                         analyzing documents related to
                                         response to Motion to Dismiss, and
                                         internal correspondence regarding
                                         the same (1.6).

07/21/23       JEP                       Teleconference with investors                                                                        3.20     5,097.60
                                         complaint in Grayscale (1.5).

07/21/23       EK                        Conference with aligned party re:                                                                    1.90     2,368.35
                                         Grayscale litigation strategy (0.5);
                                         correspondence with QE team re:
                                         factual investigation strategy (0.3);
                                         correspondence with aligned party
                                         re: questions in connection with
                                         Grayscale litigation strategy and
                                         execution thereof (0.7); review and
                                         revise amended complaint in
                                         Grayscale (0.4).

07/21/23       MEO                       Correspond with team regarding                                                                       5.20     6,318.00
                                         professionals investigative report
                                         (1.1); review work product regarding
                                         legal firms, revising investigative
                                         report in light of same (1.3); review
                                         work product regarding audit firms,
                                         revising investigative report in light
                                         of same (1.1); call with QE team
                                         regarding professional investigative
                                         report (0.5); draft template for law
                                         firm section for team, revising same
                                         (0.4); review work product regarding
                                         valuation and financial services,
                                         revising investigative report in light
                                         of same (0.8).
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07/21/23       SNR                       Meeting with various UK lawyers                                                                      3.70     5,894.10
                                         and A. Nelder, M. Scheck and M.
                                         Anderson and follow up re: same
                                         (1.9); attend strategy session re: JL
                                         claims and litigation w/ QE team
                                         (1.8).

07/21/23       MF6                       Reviewing correspondence from                                                                        0.80      673.20
                                         team regarding document custodians
                                         (0.4); reviewing the joint liquidators'
                                         requests for production (0.4).

07/22/23       KJS                       Exchange correspondence with QE                                                                      0.20      383.40
                                         team re preparation for JL meet and
                                         confer (0.2).

07/22/23       KJS                       Analyze documents and exchange                                                                       0.80     1,533.60
                                         correspondence with Matt Scheck
                                         and McKenzie Anderson re Bahamas
                                         litigation claims (0.8).

07/22/23       CK5                       Prepare opposition to JPLs motion to                                                                 4.30     3,889.35
                                         dismiss in JL litigation (4.3).

07/22/23       KMA                       Analyze responses and objections to                                                                  0.50      607.50
                                         document requests in Bahamas
                                         litigation (.5); correspond with M.
                                         Scheck regarding same (.2).

07/22/23       AK2                       Confer with FTI re: document                                                                         0.10      121.50
                                         collection and production (.1).

07/22/23       JEP                       Review and comment on amended                                                                        3.30     5,256.90
                                         complaint in Grayscale (2.8); email
                                         Kapur re status (.5).

07/22/23       MRS                       Analyzing documents and outlining                                                                    2.30     3,032.55
                                         arguments related to JL Litigation
                                         and correspondence with M.
                                         Andreson regarding the same (2.3).

07/22/23       EK                        Confer with aligned party re: strategy                                                               2.70     3,365.55
                                         on Grayscale (0.9); analyze outreach
                                         strategy for and correspondence with
                                         additional aligned parties re:
                                         Grayscale strategy (1.8).

07/23/23       MEO                       Review work product regarding                                                                        2.20     2,673.00
                                         valuation professionals (0.9); review

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                                         materials related to same and
                                         underlying documentation (1.3).

07/23/23       APA                       Review recent docket activity (0.2);                                                                 1.00      1,440.00
                                         review complaint against SBF and
                                         other insiders (0.8).

07/23/23       JEP                       Email investors re Grayscale                                                                         2.10      3,345.30
                                         litigation (1.3); review and comment
                                         on amended complaint in Grayscale
                                         (.8).

07/23/23       KMA                       Analyze documents regarding                                                                          1.90      2,308.50
                                         custody arrangements at FTX Digital
                                         Markets (1.9).

07/23/23       EK                        Analyze Grayscale strategy issues                                                                    2.40      2,991.60
                                         and correspondence with S. Rand
                                         and J. Pickhardt re: same (0.6);
                                         correspondence with aligned parties
                                         re: Grayscale strategy (1.5); review
                                         and revise Grayscale amended
                                         complaint and correspondence with
                                         team re: same (0.3).

07/23/23       JD4                       Draft and revise memorandum                                                                          2.50      2,621.25
                                         regarding choice of law issues in
                                         privilege analysis (2.5).

07/24/23       EK                        Conference calls with aligned parties                                                                8.20     10,221.30
                                         re: Grayscale strategy (4.4);
                                         conference with QE team re:
                                         amended complaint strategy (0.5);
                                         correspondence with S Rand and J.
                                         Pickhardt re: Grayscale strategy (0.3);
                                         correspondence with M. Barlow re:
                                         various DE research questions in re:
                                         Grayscale (0.2); correspondence with
                                         M. Cilia re: bank issues (0.2);
                                         correspondence with aligned parties
                                         re: Grayscale strategy (1.7); review
                                         and revise materials from common
                                         interest counsel in re: Grayscale (0.3);
                                         analyze factual issues re: Grayscale
                                         amended complaint strategy (0.6).




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07/24/23       KJS                       Exchange correspondence with QE                                                                      0.20       383.40
                                         team re revisions to scheduling
                                         stipulation with JLs (0.2).

07/24/23       KJS                       Confer with Matt Scheck re Bahamas                                                                   0.70      1,341.90
                                         litigation, motion to dismiss, and
                                         answer (0.7).

07/24/23       KJS                       Exchange correspondence with                                                                         0.30       575.10
                                         Anthony Alden, Jackie Palmerson,
                                         and target counsel re professionals’
                                         2004 discovery (0.3).

07/24/23       KJS                       Confer with John Ray re Bahamas                                                                      0.70      1,341.90
                                         litigation (0.7).

07/24/23       KJS                       Attend call with Bahamas litigation                                                                  0.30       575.10
                                         team re preparation for client call
                                         (0.3).

07/24/23       KJS                       Exchange correspondence with                                                                         0.30       575.10
                                         Sascha Rand and Matt Scheck re
                                         coordination with S&C on litigation
                                         issues (0.3).

07/24/23       JY1                       Conference call regarding potential                                                                  0.50       591.75
                                         claims against insiders (.5).

07/24/23       JD4                       Draft and revise memorandum                                                                          0.80       838.80
                                         regarding choice of law issues in
                                         privilege analysis (0.8).

07/24/23       KJS                       Exchange correspondence with QE                                                                      0.20       383.40
                                         Bahamas team re terms of service
                                         (0.2).

07/24/23       KJS                       Analyze correspondence from                                                                          0.20       383.40
                                         McKenzie Anderson re results of JL
                                         meet and confer (0.2).

07/24/23       TCM                       Call w/ QE team re. potential claims                                                                 0.80       972.00
                                         against investigative target and
                                         follow-up call w/ S. Snower re. same
                                         (.8).

07/24/23       MRS                       Call with JL Litigation team                                                                         8.00     10,548.00
                                         regarding preparation for client call
                                         (0.3); call with client and JL Litigation
                                         team regarding strategy and
                                         workstreams for JL Litigation (0.7);
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                                         call with J. Palmerson regarding third
                                         party discovery in JL Litigation (0.3);
                                         meet and confer with counsel for
                                         Defendants in JL Litigation regarding
                                         discovery (1.0); call with M.
                                         Anderson, S. Rand, B. Glueckstein,
                                         and S. Fulton regarding preparation
                                         for meet and confer call (.5);
                                         analyzing motion to dismiss and
                                         outlining arguments responding to
                                         the same, and conferring with J.
                                         Shaffer regarding the same (2.1);
                                         conferring with J. Shaffer regarding
                                         revisions to scheduling stipulation
                                         with Defendants in JL Litigation, and
                                         revising the same (0.6);
                                         correspondence with S. Rand and J.
                                         Shaffer regarding coordination with
                                         S&C on litigation issues (0.3);
                                         analyzing Terms of Service and
                                         conferring with JL Litigation team
                                         regarding the same (1.1); analyzing
                                         documents related to alleged
                                         migration in JL Litigation, outlining
                                         arguments related to same, and
                                         conferring internally with J. Shaffer
                                         regarding the same (1.4).

07/24/23       BF1                       Pre-call with S. Rand, J. Shaffer, M.                                                                1.10     1,584.00
                                         Scheck re responsibilities for BS
                                         adversary proceeding (.5); meet and
                                         confer with White and Case re
                                         document discovery re DM materials
                                         and related matters (partial
                                         attendance) (.6).

07/24/23       JP                        Conference call with M. Scheck to                                                                    0.70      800.10
                                         discuss third-party discovery in
                                         Bahamas litigation ahead of meet and
                                         confer (0.3); draft e-mail to M. Scheck
                                         following up re same (0.4).

07/24/23       SS7                       Participate in internal strategy                                                                     0.50      420.75
                                         meeting with K. Lemire, E. Winston,
                                         W. Sears, T. Murray, J. Young, and M.
                                         Lev (0.5).

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07/24/23       AK2                       Confer with S.Rand re: document                                                                      5.00     6,075.00
                                         sources in possession of Bahamas
                                         defendants, conduct research re:
                                         same, determine next steps re: same,
                                         and confer with investigator re: same
                                         (.4); confer with I.Nesser re:
                                         upcoming meet and confer on
                                         Bahamas litigation and document
                                         review (.6); prepare for meet and
                                         confer (.4); attend preparation call re:
                                         same (.5); confer with J.Shaffer re:
                                         same (.1); attend same (1.0); confer
                                         with FTI re: document review and
                                         production and determine next steps
                                         re: same (1.1); confer with T.Riegler,
                                         N.Huh, and M.Fuchs re: same and
                                         determine next steps re: same (.2);
                                         confer with A.Sutton re: responses
                                         and objections to Bahamas requests
                                         for production (.1); confer with
                                         M.Scheck, I.Nesser, and M.Anderson
                                         re: document production in Bahamas
                                         litigation (.1); conduct research re:
                                         confidentiality designations and ESI
                                         protocol and determine next steps re:
                                         same (.5).

07/24/23       IN                        Confer QE and Ray re JL adversary                                                                    2.70     3,888.00
                                         case (0.7); confer QE in prep for meet
                                         and confer re defensive discovery for
                                         JL dispute (0.5); confer W&C re
                                         discovery in JL dispute (partial
                                         attendance) (0.7); confer Alden and
                                         Kutscher re Rule 2004 discovery (0.8).

07/24/23       KW                        Review draft Amended Complaint re                                                                    0.50      607.50
                                         Grayscale (0.5).

07/24/23       PC2                       Attend Grayscale team call re:                                                                       0.50      524.25
                                         general litigation strategy (0.5).

07/24/23       APA                       Email to J. Palmerson regarding Rule                                                                 0.10      144.00
                                         2004 hearing (0.1).

07/24/23       KW                        Litigation Strategy Discussion re                                                                    0.50      607.50
                                         Grayscale (0.5).


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07/24/23       JA6                       Perform research and legal analysis                                                                  0.80      673.20
                                         in connection with amended
                                         complaint (0.3); TC with Grayscale
                                         team re: litigation strategy (0.5).

07/24/23       JEP                       Teleconferences with investors re                                                                    4.40     7,009.20
                                         Grayscale litigation (3.2); t/c investor
                                         re litigation (.5); email team re
                                         strategy (.7).

07/24/23       KMA                       Analyze R&Os from joint liquidators                                                                  3.30     4,009.50
                                         in response to document requests
                                         and prepare internal memo regarding
                                         same (1.5); meeting with SNR, JS, MS,
                                         IN, and AK regarding meet and
                                         confer (.5); meet and confer with
                                         counsel for JPLs regarding discovery
                                         (1.0); meeting with SNR and MS
                                         regarding continuation of meet and
                                         confer and email to B. Glueckstein
                                         and S. Fulton regarding same (.3).

07/24/23       KMA                       Meeting with MS, JS, SNR, IN, BB,                                                                    1.20     1,458.00
                                         and J. Ray regarding Bahamas
                                         adversary proceeding strategy and
                                         workstreams (.7); meeting with MS,
                                         JS, and SNR regarding workstreams
                                         and meet and confer (.5).

07/24/23       KMA                       Analyze certain documents regarding                                                                  3.20     3,888.00
                                         September-November 2022 activities
                                         with FTX DM (1.4); research and
                                         prepare privilege memo for offensive
                                         discovery (1.8).

07/24/23       MF6                       Correspondence with A. Kutscher                                                                      1.30     1,093.95
                                         and N. Huh regarding custodians
                                         requested by joint liquidators (0.3);
                                         reviewing correspondence related to
                                         discovery and requests for
                                         production (0.5); reviewing the joint
                                         liquidators' responses and objections
                                         to our document requests (0.5).

07/24/23       JD4                       Review and analyze JPL responses                                                                     0.20      209.70
                                         and objections to discovery requests
                                         in preparation for drafting motion to
                                         compel. (0.2).
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07/24/23       BA1                       Call regarding amended complaint in                                                                  0.50       623.25
                                         Grayscale (0.5).

07/24/23       MEO                       Draft and revise portion of                                                                          8.60     10,449.00
                                         professionals investigative report
                                         regarding international entities (1.2);
                                         review underlying materials in
                                         support of same (0.9); draft and
                                         revise portion of professionals
                                         investigative report regarding
                                         domestic entities (1.1); review
                                         underlying materials in support of
                                         same (1.2); review correspondence
                                         regarding professional investigative
                                         report and revisions to same (0.8);
                                         correspondence with team regarding
                                         law firm portion of professionals
                                         investigative report (0.3); draft and
                                         revise portion of investigative report
                                         related to financial consultants (1.2);
                                         correspond with team regarding
                                         discovery materials cited in
                                         investigation report (0.8); correspond
                                         with A&M regarding forensic review,
                                         reviewing work product related to
                                         same (1.1).

07/24/23       SNR                       Strategy call w/ team and J. Ray re:                                                                 2.90      4,619.70
                                         FTX DM litigation (0.7); prepare for
                                         and attend M/C w/ White and case
                                         and follow up w/ M. Scheck, M.
                                         Anderson and team re: same (2.2).

07/24/23       WS1                       Call with QE team re: litigation                                                                     2.00      2,493.00
                                         strategy (.4); correspondence with S.
                                         Rand re: insider complaints (.2); call
                                         with team re: insider claims (.5);
                                         analyze potential claims against
                                         insider and emails re: same for
                                         purpose of drafting insider complaint
                                         (.9).

07/25/23       KJS                       Exchange correspondence with Matt                                                                    0.20       383.40
                                         Scheck and Sascha Rand re FTX DM
                                         arguments (0.2).



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07/25/23       TR2                       Meeting with N. Huh re document                                                                      0.50       222.75
                                         review and discovery management
                                         (0.5).

07/25/23       KJS                       Analyze FTX DM documents and                                                                         0.70      1,341.90
                                         confer with Matt Scheck re same (0.7).

07/25/23       KJS                       Analyze documents and memoranda                                                                      2.60      4,984.20
                                         re Terms of Service issues and
                                         research re same (2.6).

07/25/23       KJS                       Engage in expert search activities and                                                               0.70      1,341.90
                                         review documents and
                                         correspondence in connection
                                         therewith (0.7).

07/25/23       KJS                       Exchange correspondence re S&C                                                                       0.30       575.10
                                         coordination re litigation (0.3).

07/25/23       MEO                       Draft and revise portion of                                                                        10.80      13,122.00
                                         professionals investigative report
                                         regarding financial consultants (1.1);
                                         review materials underlying same
                                         (1.3); draft and revise portion of
                                         professionals investigative report
                                         regarding legal professionals (1.4);
                                         review materials underlying same
                                         (1.2); conduct research regarding
                                         valuations, research portions of
                                         investigative report regarding same
                                         (0.9); correspond with team regarding
                                         professionals investigative report
                                         (1.6); correspond with team regarding
                                         discovery materials underlying
                                         investigation and related
                                         investigative report (1.1); draft and
                                         revise portion of investigative report
                                         regarding auditor professionals (1.3);
                                         review materials regarding same
                                         (0.9).

07/25/23       IN                        Confer Kutscher and McCaffrey                                                                        0.90      1,296.00
                                         counsel re 2004 discovery (0.9).

07/25/23       WS1                       Call with K. Lemire re: insider                                                                      0.20       249.30
                                         complaints (.1); emails re: same (.1).



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07/25/23       JY1                       Review materials and                                                                                 0.80      946.80
                                         correspondence to support Bahamas
                                         issues (.8).

07/25/23       KJS                       Exchange correspondence with QE                                                                      0.30      575.10
                                         team and banks’ counsel re 2004
                                         negotiations and outstanding
                                         requests (0.3).

07/25/23       EK                        Conference calls with aligned parties                                                                8.00     9,972.00
                                         re: Grayscale strategy (4.1); confer
                                         with QE team re: amended complaint
                                         strategy in Grayscale (0.3); confer
                                         with J. Pickhardt re: Grayscale
                                         strategy (0.2); correspondence with
                                         M. Barlow and M. Thomson re:
                                         various DE research questions in re:
                                         Grayscale (0.4); correspondence with
                                         aligned parties re: Grayscale strategy
                                         (0.8); analyze factual issues re:
                                         Grayscale amended complaint
                                         strategy (1.2); review and revise
                                         affidavit (0.2); review and revise
                                         amended complaint (0.8).

07/25/23       AK2                       Confer with N.Huh and T.Riegler re:                                                                  5.60     6,804.00
                                         upcoming document reviewer call
                                         and next steps re: same (.3); conduct
                                         review to identify potential turnover
                                         documents for Bahamas litigation
                                         and determine next steps re: same
                                         (1.1); confer with M.Scheck re:
                                         upcoming document production (.1);
                                         determine document review next
                                         steps and confer with FTI re: same
                                         (.4); review and analyze proposed
                                         search terms, confer with FTI re:
                                         same, and determine next steps re:
                                         same (.6); confer with I.Nesser,
                                         M.Scheck, and S.Rand re: same (.1);
                                         confer with M.Scheck re: structured
                                         data searches in Relativity and confer
                                         with FTI re: same (.2); prepare for
                                         upcoming meeting with document
                                         review team (.8); host same (.7);
                                         confer with T.Riegler re: results of
                                         same and determine next steps re:
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                                         same (.2); confer with A.Sutton re:
                                         Bahamas requests for production and
                                         responses and objections to same (.2);
                                         review and analyze draft of same (.4);
                                         confer with M.Anderson re: results of
                                         meet and confer on Bahamas
                                         objections to our requests for
                                         production and next steps re: same
                                         (.1); confer with M.Anderson and
                                         J.Young re: employee roles and work
                                         product on same (.1); confer with
                                         investigator re: data collection and
                                         upcoming call re: same (.1); confer
                                         with FTI re: additional data and
                                         documents for review, determine
                                         next steps re: same, and confer with
                                         I.Nesser re: same (.2).

07/25/23       SNR                       Review various pleadings and                                                                         4.00      6,372.00
                                         materials re: Bahamian JL litigation
                                         and address strategy re: same (3.6);
                                         various communications re: same w/
                                         team members (0.4).

07/25/23       JEP                       Teleconferences with investors re                                                                    3.20      5,097.60
                                         litigation (2.5); email correspondence
                                         investors re Grayscale litigation (.7).

07/25/23       KMA                       Meeting with MS regarding Bahamas                                                                    1.90      2,308.50
                                         workstreams and strategy (.8); revise
                                         task list and manage workstreams
                                         and assignments (1.1).

07/25/23       KMA                       Meet and confer with J. Zakia, MS, S.                                                                0.70       850.50
                                         Fulton, A. Chase regarding document
                                         requests to JPLs (.7).

07/25/23       KMA                       Analyze documents regarding claims                                                                   4.50      5,467.50
                                         and defenses for Bahamas adversary
                                         proceeding (4.3); correspond
                                         regarding experts (.2).

07/25/23       JD4                       Draft and revise motion to compel                                                                    1.70      1,782.45
                                         responses to document requests in JL
                                         litigation (1.7).

07/25/23       MRS                       Meet and confer with Defendants'                                                                     7.70     10,152.45
                                         counsel in JL Litigation (0.7); call with

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                                         M. Anderson regarding JL Litigation
                                         strategy and issues (0.8); analyzing
                                         research related to JL litigation
                                         counterclaims and responses thereto,
                                         and conferring with J. Shaffer
                                         regarding the same (1.6); analyzing
                                         documents related to JL Litigation
                                         claims, outlining arguments related
                                         to same, and conferring internally
                                         regarding the same (3.7); call with
                                         A&M team regarding JL Litigation
                                         workstreams, discovery, and related
                                         issues (0.5); corresponding internally
                                         with S. Rand, M. Anderson, and J.
                                         Shaffer regarding expert witnesses
                                         and related issues (0.4).

07/25/23       MF6                       Participating in document review                                                                     1.50      1,262.25
                                         training with A. Kutscher (0.7);
                                         reviewing correspondence from M.
                                         Anderson regarding case schedule
                                         and assignments (0.2); reviewing
                                         various correspondence from A.
                                         Kutscher regarding discovery (0.6).

07/25/23       NH2                       Meeting with T. Riegler to plan                                                                      0.50       452.25
                                         discovery and document review (0.5).

07/26/23       KJS                       Analyze Silvergate objection to Rule                                                                 0.40       766.80
                                         2004 motion (0.4).

07/26/23       KJS                       Analyze internal memo re JL motion                                                                   1.30      2,492.10
                                         to dismiss issues and conduct
                                         supplemental research based on same
                                         (1.3).

07/26/23       KJS                       Exchange internal QE                                                                                 0.20       383.40
                                         correspondence re expert retention
                                         (0.2).

07/26/23       KJS                       Analyze correspondence from Matt                                                                     0.50       958.50
                                         Scheck re various JL-litigation related
                                         documents (0.5).

07/26/23       MEO                       Correspond with team regarding                                                                     10.70      13,000.50
                                         adversary proceedings (0.2);
                                         correspond with Landis regarding
                                         same (0.5); draft and revise portion of

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                                         investigative report (1.7); correspond
                                         with team regarding same (1.6);
                                         integrate edits to law firm and
                                         auditor portions of investigative
                                         report (0.4); review supporting
                                         materials for same (0.9); team call
                                         with A&M (1.0); correspond with
                                         team regarding forensic review and
                                         related data, reviewing same (0.6);
                                         draft and revise portion of
                                         investigative report, integrating team
                                         comments (0.8); team call regarding
                                         same (0.2); review correspondence
                                         regarding same (0.9); review filings
                                         from adversary proceeding (0.4);
                                         team call and correspondence
                                         regarding professionals investigative
                                         report (0.7); correspond with team
                                         regarding same (0.8).

07/26/23       IN                        Confer QE re JL discovery (partial                                                                   0.50       720.00
                                         attendance) (0.5).

07/26/23       APA                       Emails to and from Paul Hastings                                                                     0.90      1,296.00
                                         and Landis Rath regarding August
                                         2nd hearing (0.2); review Evolves
                                         objection to Rule 2004 motion (0.2);
                                         review Silvergate objection to Rule
                                         2004 motion (0.5).

07/26/23       WS1                       Call with S. Snower re: insider                                                                      0.60       747.90
                                         complaint (.2); emails re: schedule in
                                         Friedberg case (.1); review insider
                                         memo for purpose of editing insider
                                         complaint (.3).

07/26/23       BO1                       Teleconference with M. Anderson re                                                                   0.50       591.75
                                         claims and defenses in JL litigation
                                         (0.5).

07/26/23       AM0                       Meet with team regarding litigation                                                                  1.30      1,538.55
                                         priorities and third-party discovery
                                         in Bahamas litigation (1.3).

07/26/23       EK                        Conference calls with aligned parties                                                                8.60     10,719.90
                                         re: Grayscale strategy (2.3);
                                         conference and correspondence with
                                         QE team re: amended complaint
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                                         strategy and legal research (1.8);
                                         conference and correspondence with
                                         J. Pickhardt re: Grayscale strategy
                                         (0.9); correspondence with M. Barlow
                                         and M. Thomson re: various DE
                                         research questions in re: Grayscale
                                         (0.6); correspondence with aligned
                                         parties re: Grayscale strategy (2.6);
                                         review and revise motion for
                                         extension (0.4).

07/26/23       NH2                       Weekly team meeting - Bahamas                                                                        3.40     3,075.30
                                         litigation (1.3), small group call to
                                         discuss discovery dispute (0.4),
                                         review legal memo and documents
                                         (0.9), communication with FTI w/r/t
                                         document uploading and address
                                         reviewers' questions (0.8).

07/26/23       KJS                       Exchange correspondence with Cam                                                                     0.10      191.70
                                         Kelly and Matt Scheck re motion to
                                         dismiss and answer in Bahamas
                                         litigation (0.1).

07/26/23       MG2                       Download, organize and circulate                                                                     0.30      129.60
                                         docket materials (.3).

07/26/23       CK5                       Call with QE Bahamas litigation team                                                                 1.60     1,447.20
                                         re case strategy and discovery issues
                                         (1.4); call with MS re motion to
                                         dismiss opposition in Bahamas
                                         litigation (0.2).

07/26/23       KJS                       Confer with Matt Scheck re experts                                                                   0.40      766.80
                                         (0.4).

07/26/23       KJS                       Exchange correspondence with target                                                                  0.20      383.40
                                         counsel and Jackie Palmerson re
                                         2004s (0.2).

07/26/23       AK2                       Review and analyze documents as                                                                      6.90     8,383.50
                                         part of review in Bahamas litigation,
                                         draft responses to reviewer questions
                                         re: same, confer with T.Riegler,
                                         N.Huh, and M.Fuchs re: same, revise
                                         same, and confer with FTI re: same
                                         (1.1); prepare for Bahamas team
                                         meeting (.2); attend same (1.3); draft

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                                         communication to opposing counsel
                                         re: June 28 requests for production,
                                         conduct research re: same, and confer
                                         with I.Nesser and M.Scheck re: same
                                         (.9); confer with investigator re:
                                         upcoming call re: document
                                         collection sources (.1); confer with
                                         Alvarez and Marsal re: document
                                         discovery in Bahamas litigation and
                                         confer with I.Nesser and M.Scheck re:
                                         same (.1); determine next steps re:
                                         responses and objections to requests
                                         for production and confer with
                                         A.Sutton re: same (.4); confer with
                                         FTI re: proposed search terms and
                                         determine next steps re: same (.3);
                                         review and analyze communications
                                         re: upcoming document production,
                                         assess next steps re: same, and confer
                                         with T.Riegler and N.Huh re: same
                                         (.2); confer with M.Scheck and FTI re:
                                         extracting and processing electronic
                                         data (.2); confer with M.Scheck re:
                                         Google Drive and AWS data and
                                         confer with FTI re: same and
                                         upcoming call re: same (.2);
                                         determine next steps re: Bahamas
                                         document review and production
                                         (.7); review and analyze hot
                                         documents (1.2).

07/26/23       JEP                       Teleconference with Rand and Kapur                                                                   3.50      5,575.50
                                         re Grayscale strategy (.5); t/c client re
                                         strategy (.4); t/c Kapur and counsel re
                                         Grayscale strategy (.5); t/c investor re
                                         support (.4); email investors re
                                         support (.3); t/c counsel re extension
                                         (.4); email team re same (.3); review
                                         motion for extension (.7).

07/26/23       MRS                       Call with S&C team regarding JL                                                                      8.40     11,075.40
                                         Litigation strategy and related issues
                                         (0.8); internal JL Litigation team call
                                         regarding workstreams, strategy, and
                                         related issues (1.3); analyzing JL
                                         Litigation documents and outlining
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                                         arguments related to claims and
                                         defenses and alleged customer
                                         migration (3.2); conferring with J.
                                         Shaffer regarding the same (0.5);
                                         conferring with J. Shaffer regarding
                                         JL Litigation experts and related
                                         issues (0.4); call with C. Kelly
                                         regarding opposition to motion to
                                         dismiss (0.2); analyzing research
                                         related to same (0.4); drafting
                                         portions of opposition to motion to
                                         dismiss and research related to same
                                         (1.4); correspondence with Landis
                                         team regarding expert retention (0.2).

07/26/23       KMA                       Call with B. Odell regarding research                                                                0.50      607.50
                                         issues in Bahamas litigation (.5).

07/26/23       KMA                       Meeting with associate team and MS                                                                   2.20     2,673.00
                                         and IN regarding Bahamas adversary
                                         (1.3); meeting with MF and NH
                                         regarding discovery dispute (.4);
                                         prepare memo and correspond with
                                         SNR and MS regarding discovery
                                         strategy (.5).

07/26/23       KMA                       Analyze claims and defenses in                                                                       4.90     5,953.50
                                         Bahamas adversary proceeding and
                                         research and prepare for discovery
                                         disputes (4.9).

07/26/23       JA6                       Factual development re: amended                                                                      0.80      673.20
                                         complaint in Grayscale (0.4); legal
                                         research and analysis in connection
                                         with amended complaint in
                                         Grayscale (0.4).

07/26/23       JD4                       Research and summary regarding                                                                       0.30      314.55
                                         discovery dispute in Bahamas
                                         litigation (0.3).

07/26/23       MF6                       Reviewing stipulation regarding case                                                                 4.40     3,702.60
                                         deadlines (0.2); reviewing and
                                         revising document review
                                         determinations (0.5); call with M.
                                         Anderson and N. Huh regarding
                                         discovery (0.4); call with team about
                                         discovery and case strategy (1.3);
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                                         reviewing correspondence and work
                                         product from J. Dummit and M.
                                         Anderson about discovery (1.1);
                                         reviewing Silvergate's response to
                                         rule 2004 motion (0.4); reviewing
                                         various correspondence from A.
                                         Alden regarding discovery (0.5).

07/26/23       SNR                       Review various materials re:                                                                         2.50     3,982.50
                                         Bahamian JL litigation and address
                                         strategy re: same including with team
                                         (2.5).

07/27/23       EK                        Conference calls with aligned parties                                                                7.40     9,224.10
                                         re: Grayscale strategy (2.6);
                                         correspondence with QE team re:
                                         amended complaint strategy and
                                         legal research (1.1); conference with
                                         QE team re: legal research in
                                         connection with Grayscale strategy
                                         (0.4); correspondence with M. Barlow
                                         and M. Thomson re: various DE
                                         research questions re: Grayscale (0.4);
                                         correspondence with aligned parties
                                         re: Grayscale strategy (1.7); legal
                                         research in re: Grayscale strategy and
                                         analysis of implications of same (1.2).

07/27/23       APA                       Emails to and from Silvergate,                                                                       1.10     1,584.00
                                         Evolve, Silicon Valley Associates, and
                                         Paul Hastings regarding Rule 2004
                                         motion (1.1).

07/27/23       KJS                       Research re banks’ 2004 objections                                                                   0.40      766.80
                                         (0.4).

07/27/23       KJS                       Exchange correspondence re meet                                                                      0.20      383.40
                                         and confers on banks’ Rule 2004
                                         motion (0.2).

07/27/23       KJS                       Exchange correspondence with                                                                         0.20      383.40
                                         Anthony Alden re 2004 objections
                                         (0.2).

07/27/23       JEP                       Teleconference with team re litigation                                                               1.80     2,867.40
                                         strategy in Grayscale (.4); t/c Kapur
                                         and counsel re outside support re


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                                         Grayscale (.5); email team re
                                         Grayscale strategy (.8).

07/27/23       JA6                       TC with QE team re: amended                                                                          1.30     1,093.95
                                         complaint in Grayscale (0.4); legal
                                         research and analysis in Grayscale
                                         litigation re procedural issue and e-
                                         mail summary to team regarding
                                         same (0.9).

07/27/23       JD4                       Research and analysis re discovery                                                                   0.80      838.80
                                         dispute in Bahamas litigation (0.8).

07/27/23       IN                        Confer A&M and QE re defensive                                                                       0.50      720.00
                                         discovery in JL proceeding (partial
                                         attendance) (0.5).

07/27/23       NH2                       Review documents and draft                                                                           0.30      271.35
                                         responses to document reviewers'
                                         questions (0.3).

07/27/23       WS1                       Call with K. Lemire re: insider                                                                      0.20      249.30
                                         complaint (.1); emails with S. Snower
                                         re: same (.1).

07/27/23       MW2                       Team call to discuss Grayscale                                                                       1.60     1,195.20
                                         complaint (.4); research case law re.
                                         pleading requirements (1.1); draft
                                         email to team re. research (.1).

07/27/23       KL                        TC W. Sears re complaint drafting                                                                    0.10      159.30
                                         against insider (.1).

07/27/23       CK5                       Prepare outline for answer to JPLs'                                                                  1.20     1,085.40
                                         countercomplaint in Bahamas
                                         litigation (1.2).

07/27/23       BO1                       Review and analysis of Amended                                                                       1.00     1,183.50
                                         Complaint for development of claims
                                         and strategy (0.4); teleconf with M.
                                         Scheck and M. Anderson re claims
                                         and defenses in JL litigation (0.6).

07/27/23       NH2                       Legal research on US law on                                                                          4.20     3,798.90
                                         attorney-client privilege and work
                                         product doctrine for purposes of
                                         assessing discovery dispute (4.2).

07/27/23       MRS                       Drafting opposition to motion to                                                                     7.30     9,625.05
                                         dismiss, research and analysis related
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                                         to the same, and conferring with J.
                                         Shaffer regarding the same in JL
                                         litigation (3.4); analyzing documents
                                         and outlining arguments related to JL
                                         adversary claims (2.1); call with B.
                                         Odell and M. Anderson regarding
                                         certain claims and defenses in the JL
                                         Litigation (0.6); call with A&M team
                                         and Bahamas discovery team
                                         regarding discovery in JL Litigation
                                         and related issues (0.7); call with FTI
                                         regarding document analysis for JL
                                         Litigation (0.3); call with M.
                                         Anderson regarding FTI call and
                                         related issues (0.2).

07/27/23       KJS                       Exchange correspondence with QE                                                                      0.20      383.40
                                         team and counsel for bank re Rule
                                         2004 requests (0.2).

07/27/23       KJS                       Research re preparation of FTX DM                                                                    1.30     2,492.10
                                         motion to dismiss (1.3).

07/27/23       KJS                       Confer with Matt Scheck re                                                                           1.80     3,450.60
                                         opposition to motion to dismiss and
                                         Bahamas litigation strategy (1.8).

07/27/23       AM0                       Prepare subpoenas to banking                                                                         6.80     8,047.80
                                         entities in JL litigation (3.3); prepare
                                         subpoenas to law firms in JL
                                         litigation (3.5).

07/27/23       NH2                       Bahamas Lit team discussion                                                                          0.70      633.15
                                         regarding discovery dispute (0.7).

07/27/23       JP                        Correspondence with A. Makhijani                                                                     0.40      457.20
                                         regarding third-party discovery in JL
                                         litigation and investigation regarding
                                         same (0.3); correspondence with M.
                                         Scheck regarding defensive discovery
                                         for JL litigation (0.1).

07/27/23       AK2                       Review and analyze communications                                                                    5.80     7,047.00
                                         re: upcoming document production
                                         in Bahamas litigation (.2); confer with
                                         A.Staltari re: service in Rocket action
                                         (.1); review and analyze proposed
                                         search terms and hit report for same,

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                                         confer with FTI re: same, and
                                         determine next steps re: same (1.3);
                                         confer with FTI re: document review
                                         and next steps re: same and
                                         determine next steps re: same (.8);
                                         attend call with FTI re: data and
                                         document sources and searches (.3);
                                         revise draft communication to
                                         opposing counsel re: requests for
                                         production and confer with M.Scheck
                                         re: same (.3); attend call with Alvarez
                                         and Marsal re: search terms and
                                         document production and next steps
                                         re: same (.7); confer with Alvarez and
                                         Marsal re: next steps re: same
                                         (.1);confer with A.Sutton re:
                                         responses and objections to requests
                                         for production in Bahamas litigation
                                         and determine next steps re: same
                                         (.3); confer with I.Nesser re: same (.1);
                                         confer with M.Scheck and I.Nesser re:
                                         document production and
                                         negotiation status (.1); confer with
                                         investigator re: upcoming call re: data
                                         sources (.1); confer with S.Rand re:
                                         upcoming document production in
                                         Bahamas litigation, determine next
                                         steps re: same, and confer with FTI
                                         re: same (.9); confer with opposing
                                         counsel re: same (.1); review and
                                         analyze documents as part of review
                                         in Bahamas litigation and confer with
                                         T.Riegler, N.Huh, and M.Fuchs re:
                                         same (.4).

07/27/23       KMA                       Meeting with JD, NH, and MF                                                                          2.50     3,037.50
                                         regarding discovery disputes in
                                         Bahamas litigation (.7); meeting with
                                         MS and BO regarding claims and
                                         defenses in Bahamas litigation (.6);
                                         meeting with MS and FTI regarding
                                         documents and databases and IT
                                         questions regarding repositories (.3);
                                         meeting with MS (.2); meeting with
                                         QE discovery team and A&M (.7).

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07/27/23       PC2                       Attend Grayscale team call re:                                                                       0.40       419.40
                                         general litigation strategy (0.4).

07/27/23       JD4                       Confer with K. Anderson, M. Fuchs,                                                                   0.70       733.95
                                         and N. Huh regarding discovery
                                         dispute in Bahamas litigation (0.7).

07/27/23       MEO                       Correspond with team regarding                                                                     10.90      13,243.50
                                         professionals investigative report
                                         (1.3); review and revise auditors
                                         section of same (1.7); review
                                         underlying materials in support of
                                         same (0.6); review and revise law
                                         firm section of same (1.2); review
                                         underlying materials in support of
                                         same (0.8); correspond with team
                                         regarding documentation in support
                                         of investigative report (0.7);
                                         correspond with team regarding
                                         financial consultants (0.4);
                                         correspond with team regarding fee
                                         schedules and supporting
                                         documentation (0.7); correspond with
                                         team regarding same (0.5);
                                         correspond with team regarding
                                         professional fees, drafting revisions
                                         regarding same (0.7); correspond
                                         with team regarding domestic and
                                         international engagements (0.8); team
                                         call regarding investigative report
                                         (0.7); correspond with team regarding
                                         investigative report (0.4); review and
                                         revise same (1.1).

07/27/23       MF6                       Meeting with M. Anderson, J.                                                                         9.60      8,078.40
                                         Dummit, and N. Huh regarding
                                         discovery (0.7); legal research into
                                         privilege (8.2); reviewing and
                                         revising document review
                                         determinations (0.7).

07/27/23       KMA                       Analyze evidence and documents                                                                       4.20      5,103.00
                                         regarding claims and defenses in
                                         Bahamas litigation (3.7).

07/27/23       SNR                       Address strategy issues re: Bahamian                                                                 1.40      2,230.20
                                         JL litigation (1.4).

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07/28/23       AK2                       Confer with FTI re: document                                                                         8.90     10,813.50
                                         production in Bahamas litigation,
                                         assess status of same, and determine
                                         next steps re: same (2.8); confer with
                                         N.Huh re: same (.4); confer with
                                         T.Riegler re: same (.1); confer with
                                         S.Rand, I.Nesser, M.Scheck, and
                                         M.Anderson re: same (.2); confer with
                                         M.Anderson re: upcoming call with
                                         White and Case re: same (.1); attend
                                         call with White and Case re: same
                                         (.1); attend call with investigator re:
                                         data sources (.3); determine next
                                         steps re: search terms and document
                                         review, confer with FTI re: same, and
                                         confer with T.Riegler and N.Huh re:
                                         same (.6); confer with N.Huh re:
                                         upcoming call with document review
                                         team (.1); prepare for meet and confer
                                         with JPL counsel (.2); attend same
                                         (1.1); conduct research re: data
                                         collection and production and
                                         determine next steps re: same (.4);
                                         confer with I.Nesser re: search terms
                                         and date ranges for Bahamas review
                                         and production (.1); confer with
                                         Alvarez and Marsal re: search term
                                         negotiations (.1); confer with N.Huh
                                         and M.Fuchs re: document review
                                         and feedback to reviewers re: same
                                         (.2); review and analyze documents
                                         for potential production (.2); prepare
                                         for call with Alvarez and Marsal re:
                                         search terms and document
                                         production (.2); attend same (.5);
                                         confer with N.Huh re: production
                                         letter (.3); review and revise same
                                         (.7); confer with S.Rand, I.Nesser,
                                         M.Scheck, and M.Anderson re: same
                                         (.2).

07/28/23       CK5                       Research Barton doctrine for                                                                         2.60      2,351.70
                                         opposition to JPLs motion to dismiss
                                         (2.6).


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07/28/23       NH2                       Legal research re attorney-client                                                                    5.90      5,336.55
                                         privileges and work product doctrine
                                         (5.9).

07/28/23       NH2                       Document production - drafted cover                                                                  2.70      2,442.15
                                         letter, work with vendor to confirm
                                         updates, discuss with A. Kutscher to
                                         finalize, and send out (2.7).

07/28/23       MRS                       Attending meet and confer with                                                                       8.10     10,679.85
                                         counsel for Defendants in JL
                                         Litigation (1.1); conferring internally
                                         regarding discovery issues in
                                         advance of JL Litigation meet and
                                         confer (0.6); call with M. Anderson, B.
                                         Glueckstein, and S. Fulton regarding
                                         JL Litigation discovery, motions to
                                         dismiss, and related issues (0.7); call
                                         with M. Anderson regarding JL
                                         Litigation discovery and strategy
                                         (0.7); drafting opposition to motion to
                                         dismiss in JL litigation, analyzing
                                         documents and research related to
                                         same, and conferring with J. Shaffer
                                         regarding the same (2.8); analyzing
                                         documents related to third party
                                         discovery in JL Litigation (1.3);
                                         analyzing documents and outlining
                                         arguments for JL Litigation claims
                                         and defenses (0.9).

07/28/23       EK                        Conference calls with aligned parties                                                                6.60      8,226.90
                                         re: Grayscale strategy (3.3);
                                         correspondence with QE team re:
                                         amended complaint strategy and
                                         legal research (0.9); correspondence
                                         with aligned parties re: Grayscale
                                         strategy (2.4).

07/28/23       KJS                       Exchange correspondence with                                                                         0.40       766.80
                                         Anthony Alden, Jackie Palmerson,
                                         and 3rd party target counsel re
                                         discovery/Rule 2004s for financial
                                         institutions (0.4).

07/28/23       JEP                       Teleconference with investor counsel                                                                 0.40       637.20
                                         re Grayscale litigation (.4).

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07/28/23       MF6                       Legal research regarding privilege                                                                   6.80     5,722.20
                                         (4.8); review and analysis of relevant
                                         documents in connection with
                                         discovery dispute in Bahamas
                                         litigation (0.9); reviewing and
                                         revising letter for production (0.2);
                                         reviewing and revising document
                                         review determinations (0.9).

07/28/23       MEO                       Correspond with team regarding law                                                                   5.30     6,439.50
                                         firm portion of investigative report
                                         (0.7); review and revise same (1.4);
                                         correspond with team and A&M
                                         regarding professional fees,
                                         reviewing related documentation
                                         (0.4); review and revise portions of
                                         professionals investigative report
                                         (0.6); correspond with team regarding
                                         supporting documentation for
                                         investigative report, reviewing same
                                         (0.9); conduct additional round of
                                         edits in professionals investigative
                                         report, reviewing materials in
                                         support of same (1.3).

07/28/23       JD4                       Review and analysis in connection                                                                    1.80     1,887.30
                                         with discovery dispute in Bahamas
                                         litigation (1.8).

07/28/23       KJS                       Analyze terms of service and memos                                                                   0.80     1,533.60
                                         related to same in connection with JL
                                         litigation (0.8).

07/28/23       KMA                       Review and analyze draft term sheet                                                                  5.60     6,804.00
                                         regarding FTX DM treatment (.2);
                                         analyze documents for claims and
                                         defenses in Bahamas litigation (2.8);
                                         meet and confer with counsel for
                                         JPLs (1.1); meeting with MS
                                         regarding strategy of Bahamas
                                         litigation (.7); meeting with MS and
                                         B. Glueckstein regarding
                                         coordination of Bahamas litigation
                                         and Ch. 11 administration (.7);
                                         meeting with AK and White & Case
                                         regarding document production (.1).


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07/28/23       JY1                       Review draft order of proof (1.5).                                                                   1.50      1,775.25

07/28/23       KJS                       Analyze revised plan term sheet and                                                                  1.40      2,683.80
                                         related documents re litigation-
                                         related issues and input re same (1.4).

07/28/23       KJS                       Confer with Matt Scheck re terms of                                                                  0.50       958.50
                                         service and Bahamas litigation (0.5).

07/29/23       MEO                       Correspond with team regarding                                                                       8.60     10,449.00
                                         professionals investigation report and
                                         underlying data, reviewing related
                                         materials (1.3); correspondence
                                         regarding professionals investigative
                                         report (0.5); review and revise
                                         portion of professionals investigative
                                         report regarding US counsel (1.9);
                                         review and revise portion of
                                         professionals investigative report
                                         regarding international counsel (1.8);
                                         review and revise portion of
                                         professionals investigative report
                                         regarding financial professionals
                                         (1.6); review and analyze
                                         correspondence regarding
                                         designation of materials underlying
                                         investigative report and related
                                         strategy (0.9); draft and revise
                                         summary points regarding diligence
                                         and collateral, reviewing underlying
                                         material (6).

07/29/23       NH2                       Document production - draft cover                                                                    1.50      1,356.75
                                         letter, update additional production
                                         volumes, and send out (1.5).

07/29/23       AK2                       Draft production letters, determine                                                                  1.60      1,944.00
                                         next steps re: same, and confer with
                                         Natalie Huh re: same (.9); confer with
                                         FT re: document productions, assess
                                         status of same, and determine next
                                         steps re: same (.7).

07/29/23       EK                        Correspondence with J. Pickhardt                                                                     1.90      2,368.35
                                         and M. Barlow team re: amended
                                         complaint strategy in Grayscale (0.3);
                                         correspondence with aligned parties
                                         re: Grayscale strategy (1.2); legal
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                                         research re: Grayscale strategy and
                                         analysis of implications of same (0.4).

07/29/23       KMA                       Analyze documents and authorities                                                                    1.40      1,701.00
                                         in connection with discovery dispute
                                         and claims in Bahamas adversary
                                         proceeding (1.4).

07/29/23       MRS                       Correspondence internally and with                                                                   0.40       527.40
                                         S&C regarding corporate entity
                                         jurisdictions for JL Litigation draft
                                         answer (0.3); drafting correspondence
                                         to S&C regarding JL Litigation
                                         counterclaims and related issues
                                         (0.1).

07/29/23       KJS                       Analyze correspondence from 2004                                                                     0.20       383.40
                                         targets re motion and meet and
                                         confer (0.2).

07/30/23       KJS                       Exchange correspondence with Matt                                                                    0.20       383.40
                                         Scheck re preparation of answer in
                                         Bahamas litigation (0.2).

07/30/23       MEO                       Review and revise draft portion of                                                                 10.40      12,636.00
                                         professionals investigative report,
                                         implementing team edits (1.8); review
                                         and revise portion of draft regarding
                                         financial and other professionals,
                                         reviewing underlying documentation
                                         (1.3); review case materials regarding
                                         FTX entities at issue, correspond with
                                         team regarding same (0.4); team call
                                         regarding investigative report (0.4);
                                         review and revise portion of
                                         investigative report regarding law
                                         firms, together with information
                                         underlying same (1.9); review
                                         forensic schedule, annotating same
                                         (0.9); correspondence with team
                                         regarding revisions (0.7); correspond
                                         with team and A&M regarding same,
                                         including data regarding specific
                                         professionals, reviewing related
                                         materials (1.8); review draft of law
                                         firm assessment, revising
                                         investigative report in light of same,

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                                         corresponding with team regarding
                                         same (1.2).

07/30/23       WS1                       Review and comment on insider                                                                        0.60      747.90
                                         memos (.5); emails with S. Rand re:
                                         same (.1).

07/30/23       CK5                       Research re Barton Doctrine and                                                                      2.00     1,809.00
                                         automatic stays re opposition to
                                         motion to dismiss in Bahamas
                                         litigation (2.0).

07/30/23       KMA                       Analyze documents in connection                                                                      0.70      850.50
                                         with discovery dispute (.5);
                                         correspond with internal team
                                         regarding meeting to address
                                         workstreams and case management
                                         for Bahamas litigation (.2).

07/30/23       JEP                       Review and comment on legal                                                                          0.70     1,115.10
                                         analysis in connection with Grayscale
                                         litigation (.7).

07/30/23       AK2                       Confer with S.Rand re: upcoming                                                                      0.20      243.00
                                         team meeting re: Bahamas litigation
                                         and review and analyze
                                         communications re: same (.2).

07/30/23       EK                        Compose memorandum re: legal                                                                         3.10     3,864.15
                                         research related to Grayscale
                                         amended complaint and
                                         correspondence with aligned parties
                                         re: same (1.8); correspondence with
                                         aligned parties re: Grayscale strategy
                                         (1.3).

07/30/23       KJS                       Analyze correspondence from Jackie                                                                   0.10      191.70
                                         Palmerson and 2004 targets re motion
                                         (0.1).

07/31/23       EK                        Correspondence with S. Rand and J.                                                                   4.50     5,609.25
                                         Pickhardt re: Grayscale strategy (0.2);
                                         correspondence with aligned parties
                                         re: Grayscale strategy (1.4);
                                         conference with J. Pickhardt re:
                                         Grayscale strategy (0.5); conferences
                                         with aligned parties re: Grayscale
                                         strategy (1.7); correspondence with
                                         A. Sutton re: Grayscale amended
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                                         complaint changes (0.2); analyze
                                         Grayscale factual issues in connection
                                         with amended complaint (0.5).

07/31/23       AK2                       Analyze status of document                                                                           2.30     2,794.50
                                         production, review and analyze
                                         communications re: same, determine
                                         next steps re: same, confer with
                                         T.Riegler and N.Huh re: same, and
                                         confer with FTI re: same (.4); review
                                         and analyze communications re:
                                         upcoming Bahamas team meeting
                                         and prepare for same (.3); attend
                                         Bahamas team meeting (.6); confer
                                         with A.Sutton re: objections and
                                         responses to Bahamas RFPs (.1);
                                         confer with I.Nesser re: Bahamas
                                         document production (.1); review
                                         and analyze JPLs search term
                                         proposal, determine next steps re:
                                         same, confer with FTI re: same, and
                                         confer with S.Rand, I.Nesser, and
                                         M.Scheck re: same (.6); confer with
                                         Alvarez and Marsal re: same (.1);
                                         confer with N.Huh, M.Fuchs, and
                                         T.Riegler re: upcoming document
                                         review team call (.1).

07/31/23       APA                       Emails to and from M. Scheck                                                                         0.20      288.00
                                         regarding FTX DM request for
                                         documents (0.2).

07/31/23       BO1                       Review pleadings and key materials                                                                   3.20     3,787.20
                                         re JL litigation and prepare analysis
                                         of potential claims and defenses (3.2).

07/31/23       NH2                       Legal research and analysis on                                                                       4.50     4,070.25
                                         attorney-client privilege for Bahamas
                                         litigation (4.5).

07/31/23       NH2                       Call with M. Anderson and M. Fuchs                                                                   0.70      633.15
                                         to discuss discovery dispute in
                                         Bahamas litigation (0.7).

07/31/23       JEP                       Teleconference with investors re                                                                     2.10     3,345.30
                                         Grayscale status and next steps (.5);
                                         t/c Kapur and counsel re strategy (.5);
                                         t/c counsel re Grayscale litigation (.5);
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                                         email Kapur and Barlow re strategic
                                         issues (.6).

07/31/23       RCE                       Review emails from A Nelder re                                                                       0.30      575.10
                                         engagement of potential expert in
                                         Bahamas litigation (0.3).

07/31/23       WS1                       Review order of proof for Friedberg                                                                  0.90     1,121.85
                                         complaint and call with B. Caroll re:
                                         same (.3); review and comment on
                                         insider memos (.6).

07/31/23       CK5                       Prepare opposition to JPLs' motion to                                                                1.40     1,266.30
                                         dismiss in Bahamas litigation (1.4).

07/31/23       JP                        Conference call with M. Scheck                                                                       0.60      685.80
                                         regarding factual development of
                                         timeline for Bahamas litigation and
                                         third-party discovery and internal
                                         investigation regarding same (0.6).

07/31/23       JD4                       Research and analysis re discovery                                                                   1.80     1,887.30
                                         dispute in Bahamas litigation (1.8).

07/31/23       KMA                       Analyze documents relating to                                                                        2.80     3,402.00
                                         discovery dispute (1.1); meeting with
                                         SR, AA, AK, JS, AK, IN, and MS
                                         regarding status of Bahamian
                                         litigation and meeting with client J.
                                         Ray (.6); meeting with J. Ray and QE
                                         team regarding Bahamian litigation
                                         (.8); revise third party discovery
                                         drafts for Bahamas litigation and
                                         correspond with MS regarding same
                                         (.3).

07/31/23       KMA                       Meeting with MF and NH regarding                                                                     4.80     5,832.00
                                         discovery dispute (.7); prepare
                                         correspondence to opposing counsel
                                         regarding discovery (3.4); meeting
                                         with MS regarding same (.7).

07/31/23       KJS                       Confer with Matt Scheck re Bahamas                                                                   0.40      766.80
                                         litigation (0.4).

07/31/23       KJS                       Exchange correspondence with QE                                                                      0.30      575.10
                                         team re Bahamas discovery issues
                                         (0.3).


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07/31/23       BC6                       Call with W. Sears re: Friedberg order                                                               0.30      224.10
                                         of proof (.3).

07/31/23       MEO                       Correspond with team regarding                                                                       5.60     6,804.00
                                         professionals investigative report and
                                         underlying data (0.9); call with A&M
                                         and team regarding same (0.7);
                                         correspond with team regarding
                                         missing information and diligence
                                         regarding same (0.8); correspond
                                         with team regarding investigative
                                         report and reviewing related
                                         materials (0.4); call regarding same
                                         (0.4); review and revise portion of
                                         professionals investigative report
                                         regarding law firm professionals,
                                         reviewing relate materials (0.6);
                                         review and revise investigative
                                         report in line with client and team
                                         comments (0.4); team call regarding
                                         professionals investigative report
                                         (0.3); implement additional round of
                                         revisions in professionals
                                         investigative report (0.8); team call
                                         regarding professionals investigative
                                         report (0.3).

07/31/23       SNR                       Strategy call w/ J. Ray and team re:                                                                 3.10     4,938.30
                                         FTX DM and JLs (0.8); strategy call re:
                                         JLs and related issues w. QE partner
                                         team (0.6); review materials re:
                                         Bahamian pleadings and analyze
                                         same (1.7).

07/31/23       JY1                       Correspondence with QE regarding                                                                     0.30      355.05
                                         next steps in investigation of outside
                                         financial professionals (.3).

07/31/23       MF6                       Reviewing notes from meet and                                                                        6.20     5,217.30
                                         confer compiled by M. Anderson
                                         (0.2); research and analysis in
                                         connection with JL litigation
                                         discovery dispute (3.2); reviewing
                                         amended complaint and
                                         counterclaims for the same (0.9);
                                         reviewing affidavit of key party for
                                         the same (0.5); conferring with N.
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                                         Huh and M. Anderson regarding
                                         discovery dispute (0.7);
                                         correspondence with N. Huh
                                         regarding key document (0.7).

07/31/23       KJS                       Revise opposition to motion to                                                                       0.90         1,725.30
                                         dismiss in Bahamas litigation and
                                         exchange correspondence with Matt
                                         Scheck re same (0.9).

07/31/23       KJS                       Exchange correspondence with Matt                                                                    0.20          383.40
                                         Scheck and Sascha Rand re Bahamas
                                         document production (0.2).

07/31/23       MRS                       Internal call with S. Rand, J. Shaffer,                                                              6.90         9,097.65
                                         W. Burck, A. Alden, I. Nesser, A.
                                         Kutscher, and M. Anderson
                                         regarding JL Litigation and
                                         Professionals Investigative Report
                                         (0.6); call with J. Ray and internal
                                         team regarding JL Litigation,
                                         Professionals Investigative Report,
                                         and related issues (0.8); call with J.
                                         Palmerson regarding factual research
                                         for JL Litigation (0.4); call with M.
                                         Anderson regarding discovery in JL
                                         Litigation and related issues (0.7);
                                         drafting opposition to motion to
                                         dismiss in JL Litigation (1.9);
                                         analyzing documents requests related
                                         to 2004 productions in response to JL
                                         Defendants' demands, conferring
                                         with JL counsel regarding the same,
                                         and conferring internally regarding
                                         the same (1.6); analyzing plan term
                                         sheet, plan, and memorandum
                                         regarding plan in relation to JL
                                         Litigation (0.9).

                                                                                  SUBTOTAL                                             1,355.30        1,677,100.50

04 Board/Corporate Governance


07/02/23       APA                       Review and revise outline of                                                                         0.80         1,152.00
                                         investigative report (0.8).


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07/03/23       APA                       Review and analysis of emails from J.                                                                0.50      720.00
                                         Ray regarding investigative reports
                                         (0.1); revise outline of investigative
                                         report and emails to and from S.
                                         Rand and K. Lemire regarding same
                                         (0.4).

07/05/23       APA                       Teleconference with K. Lemire                                                                        0.80     1,152.00
                                         regarding investigative report (0.2);
                                         review and revise investigative
                                         report outline and email to team (0.3);
                                         emails to and from S. Rand and K.
                                         Lemire regarding same (0.1);
                                         correspondence with M. Lev
                                         regarding investigative report (0.2).

07/05/23       SNR                       Attend steering committee call and                                                                   0.80     1,274.40
                                         follow up re: same w/ QE team (0.8).

07/06/23       APA                       Teleconference with Alvarez+Marsal,                                                                  2.10     3,024.00
                                         S. Rand, J. Young, S. Hill, J.
                                         Palmerson and M. Lev regarding
                                         investigative report (0.5);
                                         teleconference with QE team
                                         regarding same (0.2); review and
                                         revise outline for investigative report
                                         and emails to and from S. Rand, K.
                                         Lemire and J. Young regarding same
                                         (1.4).

07/07/23       APA                       Revise investigative report outline                                                                  0.70     1,008.00
                                         and emails to and from S. Rand, S.
                                         Hill and K. Lemire regarding same
                                         (0.7).

07/09/23       APA                       Review and revise outline of                                                                         1.20     1,728.00
                                         investigative report (0.8); emails to
                                         and from O. Yeffet regarding same
                                         (0.2); emails to and from Alvarez &
                                         Marsal regarding same (0.2).

07/09/23       KJS                       Analyze correspondence from                                                                          0.60     1,150.20
                                         Hudson Trent re board materials
                                         (0.6).

07/10/23       APA                       Review and revise outline for                                                                        0.90     1,296.00
                                         investigative report (0.8); email same
                                         to J. Ray (0.1).

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07/10/23       KJS                       Analyze correspondence from                                                                          0.40      766.80
                                         Hudson Trent re additional board
                                         materials (0.4).

07/11/23       APA                       Review and revise outline for                                                                        1.00     1,440.00
                                         investigative report based on
                                         comments from J. Ray and emails
                                         regarding same (0.8); emails to and
                                         from A. Kutscher regarding outside
                                         involvement in Venture investments
                                         (0.2).

07/11/23       KJS                       Attend FTX board meeting (2.3).                                                                      2.30     4,409.10

07/11/23       SNR                       Attend steering committee call and                                                                   3.50     5,575.50
                                         follow up re: same (1.2); attend board
                                         call and follow up re: same (2.3).

07/12/23       APA                       Teleconference with Alvarez &                                                                        2.10     3,024.00
                                         Marsal and QE team regarding
                                         investigative report (0.8);
                                         teleconference with S+C, S. Rand, K.
                                         Lemire and S. Hill regarding
                                         investigative report (0.4);
                                         correspondence with S. Rand, K.
                                         Lemire and S. Hill regarding same
                                         (0.3); review draft section of
                                         investigative report and emails
                                         regarding same (0.6).

07/13/23       APA                       Emails to and from S. Williamson, C.                                                                 0.40      576.00
                                         Mund, O. Yeffet and K. Lemire
                                         regarding investigative report (0.4).

07/14/23       APA                       Review and revise potential claim                                                                    0.20      288.00
                                         tracker and emails regarding same
                                         (0.2).

07/17/23       KJS                       Analyze correspondence from                                                                          0.40      766.80
                                         Hudson Trent re board materials
                                         (0.4).

07/18/23       KJS                       Attend board call and follow up (1.4).                                                               1.40     2,683.80

07/18/23       SNR                       Attend steering committee meeting                                                                    1.90     3,026.70
                                         and follow up re: same (0.9); attend
                                         board meeting and follow up re:
                                         same (1.0).


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07/18/23       APA                       Correspondence with T. Murray                                                                        0.20      288.00
                                         regarding investigative report (0.2).

07/19/23       APA                       Emails to and from Alvarez & Marsal                                                                  2.10     3,024.00
                                         regarding professionals spreadsheet
                                         (0.3); emails to and from S. Rand, J.
                                         Young, J. Shaffer, M. Scheck and O.
                                         Yeffet regarding investigative report
                                         (0.4); review draft investigative
                                         report searches and emails regarding
                                         same (1.2); emails to and from M. Lev
                                         regarding investigative report (0.2).

07/20/23       APA                       Emails to and from M. Lev, S. Hill                                                                   2.20     3,168.00
                                         and J. Young regarding draft
                                         investigative report (0.2); review and
                                         revise section of investigative report
                                         and emails regarding same (1.2);
                                         review another section of
                                         investigative report and emails
                                         regarding same (0.8).

07/21/23       APA                       Review and revise section of                                                                         1.30     1,872.00
                                         investigative report (0.8);
                                         teleconference with S. Rand, M. Lev,
                                         and J. Shaffer regarding investigative
                                         report (0.5).

07/23/23       APA                       Review and revise section of                                                                         1.60     2,304.00
                                         investigative report (1.2) review latest
                                         professionals spreadsheet from
                                         Alvarez & Marsal and emails
                                         regarding same (0.3); email to S. Hill
                                         and T. Murray regarding
                                         investigative report (0.1).

07/24/23       KJS                       Analyze board materials and                                                                          0.70     1,341.90
                                         documents re plan treatment of
                                         litigation-related claims (0.7).

07/24/23       APA                       Emails to and from K. Lemire, M.                                                                     0.20      288.00
                                         Lev, J. Young and Alvarez & Marsal
                                         regarding investigative report (0.2).

07/25/23       KJS                       Attend board meeting and follow up                                                                   0.90     1,725.30
                                         (0.9).



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07/25/23       KJS                       Analyze supplemental materials for                                                                   0.50      958.50
                                         board meeting and correspondence
                                         from Hudson Trent re same (0.5).

07/25/23       SNR                       Attend steering committee meeting                                                                    2.60     4,141.80
                                         and follow up re: same (1.7); attend
                                         board meeting and follow up re:
                                         same (0.9).

07/26/23       APA                       Teleconference with Alvarez &                                                                        6.60     9,504.00
                                         Marsal and QE team regarding
                                         investigative report (1.0);
                                         teleconference with T. Murray
                                         regarding investigative report (0.1);
                                         review and revise draft investigative
                                         report (5.1); teleconference with S.
                                         Rand and M. Lev regarding same
                                         (0.4).

07/27/23       APA                       Correspondence with O. Yeffet and                                                                    1.40     2,016.00
                                         emails to and from S. Rand and M.
                                         Lev regarding investigative report
                                         (0.3); emails to and from S. Rand, M.
                                         Lev and O. Yeffet regarding
                                         investigative report (0.4);
                                         teleconference with S. Rand and M.
                                         Lev regarding same (0.7).

07/28/23       APA                       Review and revise investigative                                                                      4.60     6,624.00
                                         report and emails regarding same
                                         (4.6).

07/29/23       APA                       Correspondence with S. Rand and M.                                                                   3.00     4,320.00
                                         Lev regarding investigative report
                                         (0.8); teleconference with O. Yeffet
                                         regarding same and emails to and
                                         from same (0.4); review law firm
                                         memo and review and revise
                                         investigative report (1.4); emails to
                                         and from O. Yeffet, S. Rand and J.
                                         Shaffer regarding investigative report
                                         (0.4).

07/30/23       APA                       Emails to and from S. Rand and M.                                                                    3.20     4,608.00
                                         Lev regarding investigative report
                                         (0.3); review and revise schedule to
                                         investigative report and email to
                                         Alvarez & Marsal (0.3);
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                                         teleconference with J. Shaffer, M. Lev
                                         and S. Rand regarding investigative
                                         report (0.3); review and revise slide
                                         deck for the board and emails
                                         regarding same (0.3); emails to and
                                         from J. Young and J. Shaffer
                                         regarding Armanino and Moore
                                         Stephens (0.1); review and revise
                                         investigative report (0.8); review
                                         report on law firm (0.5);
                                         teleconference with W. Burck, S.
                                         Rand, J. Shaffer and M. Lev regarding
                                         investigative report (0.4); email draft
                                         investigative report to Alvarez &
                                         Marsal and S+C (0.2).

07/31/23       KJS                       Analyze correspondence from                                                                          0.60      1,150.20
                                         Hudson Trent re board materials
                                         (0.6).

07/31/23       APA                       Teleconference with W. Burck, S.                                                                     4.90      7,056.00
                                         Rand, J. Shaffer, I. Nesser, M. Scheck
                                         and M. Anderson regarding client
                                         call (0.6); teleconference with J. Ray,
                                         W. Burck, S Rand, J. Shaffer, I. Nesser
                                         and M. Anderson regarding
                                         investigative report and other matters
                                         (0.8); teleconference with Alvarez &
                                         Marsal and QE team regarding
                                         investigative report (0.87); emails to
                                         and from S+C regarding investigative
                                         report (0.2); teleconference with S.
                                         Rand, M. Lev, K. Lemire and S+C
                                         regarding investigative report (0.4);
                                         review and revise investigative
                                         report on professionals (1.7);
                                         teleconference with S. Rand, K.
                                         Lemire and M. Lev regarding
                                         investigative report (0.3);
                                         teleconference with K. Lemire, J.
                                         Young, S. Hill and O. Yeffet
                                         regarding investigative report on
                                         professionals (0.2).

                                                                                  SUBTOTAL                                                  58.60      89,451.00


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05 Case Administration


07/05/23       IN                        Confer QE re status and strategy                                                                     0.50      720.00
                                         (0.5).

07/06/23       IN                        Confer S&C re venture book report                                                                    0.40      576.00
                                         (0.4).

07/07/23       CK                        Pull and organize court filings (1.0).                                                               1.00      432.00

07/10/23       IN                        Confer QE re status and strategy                                                                     0.50      720.00
                                         (partial attendance) (0.5).

07/12/23       KJS                       Analyze memo re plan structure re                                                                    1.40     2,683.80
                                         treatment and preservation of
                                         litigation claims; analyze documents
                                         and exchange correspondence with
                                         Sascha Rand re same (1.4).

07/12/23       APA                       Review pro hac motion (0.1).                                                                         0.10      144.00

07/12/23       IN                        Confer Kutscher re venture book                                                                      1.10     1,584.00
                                         analysis (0.7); email Ray, Pasquale,
                                         A&M, QE re same (0.4).

07/13/23       IN                        Confer Sullcrom re venture book                                                                      0.70     1,008.00
                                         report (0.7).

07/17/23       MM2                       Analyzing Friedberg complaint (0.7);                                                                 1.80     1,992.60
                                         analyzing Ray report re controls (1.1).

07/17/23       KJS                       Exchange correspondence with                                                                         0.10      191.70
                                         Sascha Rand re omnibus hearing
                                         (0.1).

07/17/23       AK2                       Confer with K.Lemire re: staffing (.1).                                                              0.10      121.50

07/17/23       IN                        Weekly conference QE re status and                                                                   0.30      432.00
                                         strategy (partial attendance) (0.3).

07/18/23       IN                        Confer PWP re 2004 discovery (0.5).                                                                  0.50      720.00

07/24/23       KJS                       Analyze correspondence and                                                                           0.40      766.80
                                         pleadings re government gag order
                                         request re SBF (0.4).

07/24/23       APA                       Review current deadlines and tasks                                                                   0.20      288.00
                                         (0.2).

07/24/23       IN                        Weekly conference QE re status and                                                                   0.40      576.00
                                         strategy (0.4).

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07/27/23       KJS                       Review correspondence re SBF                                                                         0.10       191.70
                                         hearing re gag order (0.1).

07/29/23       KJS                       Analyze revised plan and plan term                                                                   0.80      1,533.60
                                         sheet (0.8).

07/31/23       KJS                       Analyze plan filing and UCC                                                                          0.50       958.50
                                         response (0.5).

07/31/23       IN                        Confer QE and Ray re status and                                                                      2.20      3,168.00
                                         strategy (0.8); conference QE in prep
                                         for same (0.6); weekly conference QE
                                         re status and strategy (0.3); confer
                                         Kutscher regarding McCaffrey issues
                                         (0.2); email PWP re McCaffrey (0.3).

                                                                                  SUBTOTAL                                                  13.10      18,808.20

06 Employment and Fee Applications


07/01/23       JP                        Review and revise May bill for                                                                       1.80      2,057.40
                                         confidentiality and privilege and
                                         compliance with U.S. Trustee
                                         guidance (1.8).

07/03/23       KJS                       Exchange correspondence with Matt                                                                    0.30       575.10
                                         Scheck re preparation of monthly fee
                                         statement and analyze documents re
                                         same (0.3).

07/03/23       JP                        Review, revise, finalize, and file May                                                               4.20      4,800.60
                                         fee statement and exhibits and
                                         conference calls with M. Scheck and J.
                                         Shaffer to discuss same (4.2).

07/03/23       MRS                       Revising monthly fee statement and                                                                   1.60      2,109.60
                                         conferring with J. Shaffer and J.
                                         Palmerson regarding the same (1.6).

07/07/23       KJS                       Correspondence re interim fee                                                                        0.30       575.10
                                         applications (0.3).

07/12/23       JP                        Transmit LEDES file to fee examiner                                                                  0.20       228.60
                                         and U.S. trustee (0.2).

07/13/23       JP                        Review and revise June bill for                                                                      2.10      2,400.30
                                         privilege, confidentiality, and
                                         compliance with U.S. Trustee

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                                         guidance for monthly fee statement
                                         (2.1).

07/18/23       JP                        Review and revise June 2023 bill for                                                                 2.20     2,514.60
                                         privilege, confidentiality, and
                                         compliance with U.S. Trustee
                                         guidance for monthly fee statement
                                         (2.2).

07/19/23       JP                        Review and revise June bill for                                                                      5.20     5,943.60
                                         privilege, confidentiality, and
                                         compliance with U.S. Trustee
                                         guidance for monthly fee statement
                                         (5.2).

07/20/23       JP                        Draft monthly fee statement for June                                                                 1.20     1,371.60
                                         2023 and internal correspondence
                                         regarding same (1.2).

07/20/23       MRS                       Analyzing and revising monthly fee                                                                   1.30     1,714.05
                                         statement and conferring with J.
                                         Shaffer regarding the same (1.3).

07/20/23       KJS                       Confer with Matt Scheck and analyze                                                                  1.10     2,108.70
                                         documents re monthly fee statement
                                         (1.1).

07/27/23       KJS                       Exchange correspondence with                                                                         0.20      383.40
                                         accounting re preparation of monthly
                                         fee statement (0.2).

07/28/23       MRS                       Revising monthly fee statement and                                                                   0.60      791.10
                                         calls with J. Palmerson regarding the
                                         same (0.9).

07/28/23       JP                        Review and revise June 2023 bill for                                                                 3.30     3,771.90
                                         privilege and, confidentiality, and
                                         compliance with U.S. Trustee
                                         guidance (2.7); conference calls with
                                         M. Scheck to discuss revisions to June
                                         2023 bill for privilege and
                                         confidentiality (0.6).

07/28/23       KJS                       Analyze documents and exchange                                                                       0.30      575.10
                                         internal QE correspondence re
                                         preparation of monthly fee statement
                                         (0.3).

07/31/23       JP                        Review, revise, and finalize June 2023                                                               3.80     4,343.40
                                         monthly fee statement and
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                                         accompanying exhibits and internal
                                         correspondence regarding same (3.8).

07/31/23       KJS                       Revise monthly fee statement and                                                                     0.50       958.50
                                         exchange correspondence with Jackie
                                         Palmerson re same (0.5).

07/31/23       MRS                       Reviewing monthly fee statement                                                                      0.20       263.70
                                         and conferring internally regarding
                                         the same (0.2).

                                                                                  SUBTOTAL                                                  30.40      37,486.35

07 Plan and Disclosure Statement


07/12/23       SNR                       Review plan term sheet and                                                                           0.80      1,274.40
                                         comments to same (0.8).

                                                                                  SUBTOTAL                                                    0.80      1,274.40

08 Investigation


07/01/23       JV1                       Review and analysis of documents                                                                     5.00      2,227.50
                                         received from professionals in
                                         response to Rule 2004 requests (5.0).

07/01/23       JY1                       Review and revise memo on insider                                                                    4.50      5,325.75
                                         (4.2); correspondence regarding
                                         auditor review (.3).

07/01/23       JR9                       Prepared legal memorandum for R.                                                                     5.00      3,735.00
                                         Zink, M. Shaheen for new
                                         investigation target (5).

07/02/23       KS7                       Review documents from 2004                                                                           5.10      4,612.95
                                         document production (1.3); prepare
                                         background and analysis for
                                         memorandum re: same (3.8).

07/02/23       KL                        Review pertinent documents                                                                           0.20       318.60
                                         identified by investigations team (.2).

07/02/23       SNR                       Review materials re: 2004 discovery                                                                  1.80      2,867.40
                                         of professionals and address strategy
                                         and analysis re: same (1.8).

07/02/23       JR9                       Reviewed and revised legal                                                                           0.50       373.50
                                         memorandum for R. Zink, M.
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                                         Shaheen for new investigation target
                                         (.5).

07/02/23       RZ                        Analyze pertinent documents                                                                          4.50     6,480.00
                                         identified by team in connection with
                                         law firm investigation and internal
                                         work product (4.5).

07/03/23       MS11                      Conference regarding counsel                                                                         3.60     4,746.60
                                         conflicts investigation (.9); analyze
                                         strategy for document review and
                                         exchange emails regarding same (.4);
                                         review investigative plan and
                                         exchange emails regarding same (.5);
                                         prepare for and attend call with Mr.
                                         Zink to discuss draft investigative
                                         report, content of report, and
                                         investigative approach (.6); review
                                         memos and reports for related FTX
                                         conduct (1.2).

07/03/23       KS7                       Review 2004 findings regarding                                                                       0.70      633.15
                                         intercompany loans and incorporate
                                         into memorandum re: same (.7).

07/03/23       JY1                       Review and revise memo on auditor                                                                    5.30     6,272.55
                                         review (4.5); correspondence
                                         regarding interviews (.8).

07/03/23       JV1                       Review and analysis of documents                                                                     4.00     1,782.00
                                         received in response to Rule 2004
                                         requests to assist in investigation
                                         (4.0).

07/03/23       CM                        Research regarding severance                                                                         0.70      355.95
                                         payments (0.5); correspondence to S.
                                         Hill regarding severance payments
                                         (0.2).

07/03/23       TCM                       Call w/ S. Hill and S. Snower re.                                                                    0.50      607.50
                                         multiple investigation team projects
                                         (.5).

07/03/23       AC7                       Review documents and prepare                                                                         2.80     2,091.60
                                         memorandum on investigation target
                                         (2.8).

07/03/23       SGW                       Email correspondence with counsel                                                                    2.10     4,025.70
                                         for former employees regarding
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                                         interview scheduling (.2); email
                                         correspondence with SRand,
                                         KLemire, RZink and WBurck
                                         regarding JRay instructions and
                                         investigative next steps (.2); review
                                         JRay report to the board draft (.3);
                                         email correspondence with KLemire
                                         and JYoung from team regarding
                                         interview preparation and next steps
                                         (.3); email correspondence with
                                         counsel and KLemire re in-house
                                         counsel interview planning (.2);
                                         review documents for potential
                                         interviewees (.6); email
                                         correspondence with AAlden and
                                         JPalmerson regarding 2004 requests
                                         (.3).

07/03/23       KL                        Review and analysis documents of                                                                     3.20     5,097.60
                                         interest identified by investigations
                                         team (.8); edit report on investigative
                                         subjects (1.1); review email re person
                                         of interest (.9); review media stories
                                         (.2); emails re investigations
                                         assignments (.2).

07/03/23       JG1                       Conference regarding counsel                                                                         1.00     1,215.00
                                         conflicts investigation (.9); review
                                         2004 Request to law firm (.1).

07/03/23       KW5                       Conference regarding counsel                                                                         2.70     2,272.05
                                         conflicts investigation (0.9); review
                                         document requests to determine
                                         priority requests for counsel conflicts
                                         investigation (0.5); confer with
                                         document vendor team, R. Zink, N.
                                         Inns, J. Gindin, and J. Robbins
                                         regarding document review
                                         workspace, search terms, and review
                                         population parameters for counsel
                                         conflicts investigation (1.3).

07/03/23       JR9                       Reviewed and revised legal                                                                         10.30      7,694.10
                                         memorandum for R. Zink, M.
                                         Shaheen for new investigation target
                                         (5.6); conference regarding counsel
                                         conflicts investigation (.9); review
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                                         and revised legal memorandum for
                                         K. Lemire re: investigations target
                                         (.6); reviewed documents from
                                         investigations 2004 request (3.2).

07/03/23       SNR                       Address issues and strategy re:                                                                      3.40     5,416.20
                                         investigation of law firm by R. Zink
                                         and team and communications w/ R.
                                         Zink re: same (0.7); review and revise
                                         outline re: professional
                                         investigation/analysis report and
                                         related materials (2.3); various
                                         communications with A. Alden and
                                         K. Lemire re: same (0.4).

07/03/23       APA                       Review comparison of FDIC                                                                            2.00     2,880.00
                                         proposed PO and existing PO and
                                         email to S. Rand and J. Palmerson
                                         regarding same (1.1); emails to and
                                         from J. Palmerson regarding Wells
                                         Fargo (0.2); revise tracker of bank
                                         productions (0.1); email to Evolve
                                         Bank (0.1); review and revise Rule
                                         2004 requests to accounting firm (0.4);
                                         emails to and from S. Hill regarding
                                         review of law firm documents (0.1).

07/03/23       RZ                        Prepare for attending call with                                                                      5.40     7,776.00
                                         counsel for law firm in connection
                                         with investigation (2.5); analyze
                                         pertinent documents identified by
                                         team in connection with investigation
                                         of law firm (2); attend conference call
                                         with team members re: investigative
                                         updates and status (.9).

07/03/23       NI1                       Conference regarding counsel                                                                         1.50     1,761.75
                                         conflicts investigation (.9); prepare
                                         priority document requests for same
                                         (0.2); correspond with J. Gindin
                                         regarding search terms for same (0.1);
                                         analyze search term hit reports for
                                         same (0.3).

07/04/23       JY1                       Review materials and prepare outline                                                                 3.10     3,668.85
                                         for interview (2.8); correspondence
                                         regarding interview scheduling (.3).

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07/04/23       SGW                       Email correspondence with JYoung                                                                     1.10     2,108.70
                                         and KLemire regarding interview
                                         planning and scheduling (.3); email
                                         correspondence with counsel
                                         regarding same (.2); review draft
                                         interview outlines from JYoung (.6).

07/04/23       JR9                       Reviewed and revised legal                                                                           2.40     1,792.80
                                         memorandum for R. Zink, M.
                                         Shaheen for new investigation target
                                         (2.4).

07/04/23       KL                        Review pertinent documents of                                                                        0.60      955.80
                                         interest identified by investigations
                                         team (.4); review background
                                         information on person of interest (.2).

07/05/23       MS11                      Conference regarding counsel                                                                         2.20     2,900.70
                                         conflicts investigation (.4); exchange
                                         correspondence with Mr. Zink to
                                         discuss witness interviews and
                                         investigative scope (.7); prepare for
                                         and attend call with counsel for law
                                         firm to discuss document production
                                         and interviews (.7); exchange emails
                                         with team regarding document
                                         review parameters and search term
                                         analysis (.4).

07/05/23       CM                        Conference with team regarding law                                                                   4.40     2,237.40
                                         firm review (0.6); prepare law firm
                                         review section for draft report (0.9);
                                         correspondence to K. Sullivan
                                         regarding law firm time records (0.3);
                                         research regarding law firm review
                                         (2.6).

07/05/23       KL                        Review email regarding person of                                                                     0.10      159.30
                                         interest (.1).

07/05/23       AN4                       Prepare memorandum regarding                                                                         4.90     3,660.30
                                         third party professionals (4.9).

07/05/23       SGW                       Email correspondence with counsel                                                                    1.70     3,258.90
                                         regarding interview (.2); email
                                         correspondence with investigations
                                         team (KLemire, TMurray, SHill,
                                         JYoung) regarding 2004 requests to

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                                         law firms and review/edit 2004
                                         requests to law firms (.6);
                                         correspondence with OYeffet and
                                         review and analysis of law firm
                                         review process and law firm
                                         responses to 2004 requests (.6); email
                                         correspondence with counsel for
                                         employee and KLemire/JYoung
                                         regarding employee interviews (.3).

07/05/23       APA                       Teleconference with Rule 2004                                                                        0.50      720.00
                                         discovery team (0.3); emails to and
                                         from S. Hill regarding Rule 2004
                                         requests to accounting firm (0.2).

07/05/23       AC7                       Conference with O. Yeffet, K.                                                                        3.10     2,315.70
                                         Sullivan, and C. Mund re
                                         investigation target (0.6); review
                                         documents re same (2.5).

07/05/23       JB11                      Analyze documents related to a 2004                                                                  3.50     2,614.50
                                         request (3.5).

07/05/23       KS7                       Confer with O. Yefett, C. Mund and                                                                   8.10     7,326.45
                                         A. Curran re: 2004 review (.6); Confer
                                         with O. Yefett re: 2004 review (.2);
                                         Prepare and revise 2004 memo (7.3).

07/05/23       NI1                       Conference regarding counsel                                                                         1.60     1,879.20
                                         conflicts investigation (0.4); analyze
                                         documents in connection with
                                         counsel conflicts investigation (0.8);
                                         correspond with team regarding
                                         investigative plan for same (0.4).

07/05/23       KW5                       Multiple conferences with QE team                                                                    6.20     5,217.30
                                         regarding counsel conflicts
                                         investigation (1.6); review court
                                         documents and internal memoranda
                                         to prepare strategy for counsel
                                         conflicts investigation (2.3); review
                                         and revise memorandum for counsel
                                         conflicts investigation and
                                         correspondence with J. Robbins
                                         regarding same (1.3); correspondence
                                         with QE team regarding search terms
                                         for review of documents in counsel
                                         conflicts investigation (0.4);
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                                         correspondence with QE team and
                                         document vendor regarding
                                         document review workspace set up
                                         and administration items for counsel
                                         conflicts investigation (0.6).

07/05/23       WAB                       Steering committee call and follow                                                                   1.50      2,875.50
                                         up (0.8); call with JR regarding
                                         Bahamas litigation strategy (0.7).

07/05/23       SNR                       Address various strategy issues re:                                                                  4.70      7,487.10
                                         professional investigations report and
                                         analysis (1.8) various follow up w/ A.
                                         Alden and K. Lemire re: same (0.4);
                                         review professionals rule 2004
                                         materials and analysis of same (1.2);
                                         address strategy re: investigation of
                                         various insiders and review materials
                                         re: same (1.3).

07/05/23       JR9                       Reviewed and revised legal                                                                         10.60       7,918.20
                                         memorandum for R. Zink, M.
                                         Shaheen for new investigation target
                                         (5.6); Conference regarding counsel
                                         conflicts investigation (.4); reviewed
                                         documents for investigations 2004
                                         request (4.6).

07/05/23       RZ                        Review relevant materials and                                                                        7.90     11,376.00
                                         develop case strategy in connection
                                         with law firm investigation (6.5);
                                         prepare for and attend call with
                                         counsel for law firm in connection
                                         with investigation (1); participate in
                                         conference call with team members
                                         re: investigative updates and status
                                         (.4).

07/05/23       JG1                       Draft agenda for team conference (.1);                                                               2.30      2,794.50
                                         Conference regarding counsel
                                         conflicts investigation (.4);
                                         Conference with K. Whitfield
                                         regarding scope of counsel conflicts
                                         investigation and investigation
                                         strategy for same (1.2); Review
                                         superseding indictment against SBF
                                         (.6).

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07/06/23       NI1                       Conference regarding counsel                                                                         1.10     1,291.95
                                         conflicts investigation (.6);
                                         Conference with J. Gindin re: counsel
                                         conflict investigation document
                                         review strategy (.3); correspond with
                                         team regarding investigation search
                                         protocols (0.2).

07/06/23       MS11                      Conference regarding counsel                                                                         3.20     4,219.20
                                         conflicts investigation (.6); draft
                                         matter summary and exchange
                                         emails regarding same (.9); review
                                         disclosures filed with bankruptcy
                                         court (1); exchange emails regarding
                                         names of potential law firm
                                         interviewees (.3); discuss search
                                         terms and search term reports for law
                                         firm investigation (.4).

07/06/23       WAB                       FTX discovery requests call (.7).                                                                    0.70     1,341.90

07/06/23       CM                        Correspondence to K. Sullivan                                                                        0.90      457.65
                                         regarding investigative target
                                         involvement pre-petition (0.2);
                                         correspondence to J. Robbins
                                         regarding law firm review (0.3);
                                         review and revise portion of
                                         memorandum regarding target
                                         involvement (0.4).

07/06/23       KL                        Review media coverage (.3).                                                                          0.30      477.90

07/06/23       AC7                       Review documents re investigation                                                                    0.90      672.30
                                         target (0.9).

07/06/23       JP                        Conference call with A&M and QE                                                                      0.50      571.50
                                         team to discuss draft of next
                                         investigative report (0.5).

07/06/23       JB11                      Analyze documents related to a 2004                                                                  1.70     1,269.90
                                         request (1.7).

07/06/23       JY1                       Review and revise in-house interview                                                                 0.20      236.70
                                         memoranda (2).

07/06/23       KS7                       Review and revise 2004                                                                               4.60     4,160.70
                                         memorandum (3.7); Revise counsel
                                         interview notes (.8); Confer with


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                                         Relativity vendor re: search terms re:
                                         2004 document review (.1).

07/06/23       JR9                       Conference regarding counsel                                                                       11.00      8,217.00
                                         conflicts investigation (.6); reviewed
                                         documents for investigations 2004
                                         request (4.1); review and revised fact
                                         memorandum on investigations
                                         target (6.3).

07/06/23       SNR                       Address various strategy issues re:                                                                  3.50     5,575.50
                                         professional investigation/analysis
                                         report and follow up w/ A. Alden
                                         and K. Lemire re: same (2.1); review
                                         materials re: professionals rule 2004
                                         requests and analysis of same (1.4).

07/06/23       RZ                        Participate in conference call with                                                                  5.60     8,064.00
                                         team members re: investigative
                                         updates and status (.6); review
                                         pertinent documents identified by
                                         investigations team re law firm
                                         investigation and develop case
                                         strategy (5).

07/06/23       AG3                       Review and analyze documents                                                                         5.30     3,959.10
                                         relating to counsel target and prepare
                                         memorandum of same (4.7); review
                                         and analyze documents relating to
                                         counsel involvement (.6).

07/06/23       APA                       Emails to and from J. Palmerson                                                                      0.60      864.00
                                         regarding Evolve Bank and Wells
                                         Fargo (0.2); emails to and from S.
                                         Rand, K. Lemire, S. Hill regarding
                                         accounting firm investigations target
                                         (0.2); emails to and from counsel for
                                         accounting firm investigations target
                                         (0.1); email to S. Williamson
                                         regarding DBS Bank (0.1).

07/06/23       JG1                       Conference regarding counsel                                                                         1.30     1,579.50
                                         conflicts investigation (.6);
                                         Conference with N. Inns re: counsel
                                         conflict investigation document
                                         review strategy (.3); Conference with
                                         K. Whitfield re: counsel conflict

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                                         investigation document review
                                         strategy (.4).

07/06/23       AN4                       Prepare memorandum regarding                                                                         5.00     3,735.00
                                         third party professionals (5.0).

07/06/23       SGW                       Email correspondence with AAlden                                                                     0.60     1,150.20
                                         regarding 2004 requests to bank
                                         recipients and review draft corresp w
                                         2004 bank recipients (.3); review
                                         priority documents from doc
                                         reviewers re professionals service
                                         firms (.3).

07/06/23       KW5                       Confer with QE team regarding                                                                        3.30     2,776.95
                                         document review strategy for counsel
                                         conflicts investigation (.6); analyze
                                         related court filings and relevant
                                         document universe to inform review
                                         strategy (1.7); conference with QE
                                         team regarding counsel conflicts
                                         investigation (0.6); conference with J.
                                         Gindin regarding counsel conflicts
                                         investigation document review
                                         strategy (0.4).

07/07/23       NI1                       Conference regarding counsel                                                                         1.40     1,644.30
                                         conflicts investigation (.5); review
                                         documents in connection with
                                         counsel conflicts investigation (0.9).

07/07/23       AC7                       Review documents re investigation                                                                    4.00     2,988.00
                                         target (4.0).

07/07/23       JY1                       Investigations team meeting (.7);                                                                    2.30     2,722.05
                                         multiple conferences and
                                         correspondence regarding auditor
                                         review (1.3); correspondence
                                         regarding interviews (.3).

07/07/23       TCM                       Investigations team weekly call (.7).                                                                0.70      850.50

07/07/23       CM                        Conference with K. Sullivan                                                                          4.90     2,491.65
                                         regarding law firm review (0.2);
                                         research regarding law firm review
                                         (2.6); correspondence to J. Robbins
                                         regarding potential target (0.3);
                                         prepare portion of memorandum
                                         regarding potential target (1.2);
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                                         review and revise memorandum
                                         regarding potential target (0.6).

07/07/23       KL                        Review pertinent documents                                                                           1.00     1,593.00
                                         identified by investigations team (.2);
                                         edit agenda for investigations weekly
                                         meeting (.1); weekly investigations
                                         meeting (.7).

07/07/23       APA                       Email to counsel for accounting firm                                                                 0.40      576.00
                                         in connection with 2004 requests
                                         (0.1); emails to and from J. Palmerson
                                         regarding BNK/Goldfields, Wells
                                         Fargo and DBS Bank (0.3).

07/07/23       KS7                       Review 2004 report and reviewing                                                                     4.00     3,618.00
                                         potentially hot documents and
                                         interview memos re: same (3.8);
                                         Correspond with C. Mund re: 2004
                                         report (.2).

07/07/23       JG1                       Conference regarding counsel                                                                         2.50     3,037.50
                                         conflicts investigation (.5);
                                         Conference with K. Whitfield re:
                                         document review strategy and scope
                                         (1.3); Review key documents in
                                         connection with law firm
                                         investigation (.7).

07/07/23       ET3                       Conference with J. Young and J.                                                                      1.10      559.35
                                         Abrams regarding third party claim
                                         investigation (0.1); reviewing
                                         background materials for third party
                                         claim investigation target #2 (1.0).

07/07/23       SH6                       Meet and confer with 2004 counsel,                                                                   9.60     8,078.40
                                         K. Lemire and T. Murray (0.3); follow
                                         up with T. Murray re: same (0.1);
                                         meet and confer with 2004 target and
                                         follow up with T. Murray re: same
                                         (1.3); correspondence with S. Snower
                                         re: complaint target fact research
                                         assignment (0.5); follow-up with S.
                                         Snower with workflow re: same (0.4);
                                         review and revise professionals
                                         investigative report outline, and
                                         internal correspondence and fact
                                         research re: same (5.4); fact research
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                                         re: professionals investigations report
                                         and counsel conflicts and internal
                                         correspondence re: same (1.6).

07/07/23       SH6                       Weekly investigations leadership                                                                     0.70      589.05
                                         conference (0.7).

07/07/23       SGW                       Investigations team telephone                                                                        3.20     6,134.40
                                         conference with KLemire, TMurray,
                                         JYoung and SHill (.7); email
                                         correspondence with law firm 2004
                                         recipients (.3); review productions
                                         from law firm 2004 recipients (1.2);
                                         email correspondence with counsel
                                         for employees and KLemire/ JYoung
                                         re employee interviews (.2); review/
                                         edit draft outline for investigative
                                         report (.6); email correspondence
                                         with SRand, KLemire and TMurray
                                         regarding 2004 requests to university
                                         (.2).

07/07/23       KW5                       Correspondence with J. Gindin, N.                                                                    3.40     2,861.10
                                         Inns, and J. Robbins regarding search
                                         terms and review workspace
                                         parameters for counsel conflicts
                                         investigation (0.8); review documents
                                         for counsel conflicts investigation and
                                         correspondence with J. Robbins
                                         regarding same (0.4); conference
                                         regarding counsel conflicts
                                         investigation (0.5); conference with J.
                                         Gindin regarding document review
                                         strategy and scope for counsel
                                         conflicts investigation (1.3);
                                         correspondence with QE team and
                                         document vendor regarding
                                         document review strategy for counsel
                                         conflicts investigation (0.4).

07/07/23       JR9                       Conference regarding counsel                                                                         7.00     5,229.00
                                         conflicts investigation (.5); reviewed
                                         documents for investigations 2004
                                         request (3.4); review and revised fact
                                         memorandum on investigations
                                         target (3.1).


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07/07/23       JB11                      Analyze documents related to a 2004                                                                  2.70     2,016.90
                                         request (2.7).

07/07/23       RZ                        Attend conference call with team                                                                     4.00     5,760.00
                                         members re: investigative updates
                                         and status (.5); review and analysis of
                                         pertinent documents selected by
                                         investigations team in connection
                                         with law firm investigation (3.5).

07/07/23       AG3                       Review and revise memorandum                                                                         1.30      971.10
                                         relating to counsel target (1.3).

07/07/23       AN4                       Prepare memorandum regarding                                                                         6.70     5,004.90
                                         third party professionals (6.6);
                                         correspondence with JY re: same
                                         (.10).

07/07/23       MS11                      Conference regarding counsel                                                                         2.30     3,032.55
                                         conflicts investigation (.5); analyze
                                         and revise potential witness list and
                                         exchange emails and calls regarding
                                         same (.8); analyze search term report
                                         and exchange emails regarding same
                                         (1).

07/07/23       SNR                       Various communications re:                                                                           3.70     5,894.10
                                         professional investigations report and
                                         review materials re: same (2.3);
                                         review materials and various t/c re:
                                         insiders and address strategic issue
                                         re: same (1.4).

07/07/23       JA4                       Met to discuss third party                                                                           0.10       50.85
                                         professionals document review
                                         assignment (.1).

07/08/23       KS7                       Review comments and revise internal                                                                  2.90     2,623.05
                                         memorandum re: 2004 actions re:
                                         same (2.9).

07/08/23       CM                        Research regarding potential target                                                                  1.70      864.45
                                         (0.4); correspondence to K. Sullivan
                                         regarding potential target (0.1);
                                         research regarding law firm review
                                         (1.2).

07/08/23       KW5                       Correspondence with document                                                                         0.20      168.30
                                         vendor team regarding document
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                                         review workspace parameters for
                                         counsel conflicts investigation (0.2).

07/08/23       KL                        Review pertinent documents sent by                                                                   1.40     2,230.20
                                         investigations team (1.4).

07/08/23       SGW                       Review email correspondence from                                                                     0.60     1,150.20
                                         JRay regarding JPL claims (.3); email
                                         correspondence with S&C team
                                         regarding workplan (.3).

07/08/23       JG1                       Review analysis of case law re:                                                                      1.10     1,336.50
                                         conflicts of interest relevant to
                                         counsel conflict investigation (.3);
                                         Review filings from bankruptcy
                                         proceeding relevant to counsel
                                         conflict investigation (.8).

07/08/23       JR9                       Correspondence re: document review                                                                   0.10       74.70
                                         of investigations target (.1).

07/09/23       KS7                       Review comments to 2004                                                                              2.80     2,532.60
                                         memorandum and revise re: same
                                         (2.8).

07/09/23       CM                        Review and analysis of documents                                                                     2.70     1,372.95
                                         regarding law firm in connection
                                         with law firm investigation (1.8);
                                         correspondence to K. Sullivan
                                         regarding law firm review
                                         memorandum (0.3); review and
                                         revise law firm review memorandum
                                         (0.6).

07/09/23       KL                        Review and analysis of pertinent                                                                     0.60      955.80
                                         documents selected by investigations
                                         team (.6).

07/09/23       SGW                       Email correspondence with OYeffet                                                                    2.60     4,984.20
                                         and KSullivan regarding draft law
                                         firm investigative report (.6); review/
                                         edit initial draft of law firm section of
                                         professionals investigations report
                                         (1.8); email correspondence with law
                                         firm counsel (.2).

07/09/23       SNR                       Various communications re:                                                                           2.80     4,460.40
                                         professional investigations report and


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                                         analysis and review materials re:
                                         same (2.8).

07/09/23       JB11                      Analyze documents related to a 2004                                                                  0.80       597.60
                                         request (0.8).

07/10/23       KL                        Review emails re documents                                                                           0.70      1,115.10
                                         identified by investigations team (.4);
                                         meeting with J. Ray on investigations
                                         (.3).

07/10/23       CM                        Research regarding target                                                                            6.90      3,508.65
                                         involvement (0.8); prepare
                                         memorandum regarding target
                                         involvement (0.6); correspondence to
                                         K. Sullivan and O. Yeffet regarding
                                         target involvement (0.4); research
                                         regarding law firm review (3.2);
                                         review and revise memorandum
                                         regarding law firm review (1.3);
                                         correspondence to K. Sullivan
                                         regarding law firm review
                                         memorandum (0.6).

07/10/23       JA4                       Reviewed docs related to third party                                                                 2.80      1,423.80
                                         professionals (2.8).

07/10/23       KJS                       Analyze documents re professional                                                                    0.70      1,341.90
                                         investigations (0.7).

07/10/23       NI1                       Conference regarding counsel                                                                         0.50       587.25
                                         conflicts investigation (.5).

07/10/23       JB11                      Analyze documents related to a 2004                                                                  3.90      2,913.30
                                         request (1.2); Review and revise
                                         memo re professional groups (2.1);
                                         draft memo re use of ephemeral
                                         messaging applications (0.6).

07/10/23       ET3                       Reviewing documents regarding                                                                        0.90       457.65
                                         services performed by third party
                                         service provider (0.9).

07/10/23       JY1                       Correspondence regarding                                                                             0.40       473.40
                                         scheduling interviews (.4).

07/10/23       MS11                      Conference regarding counsel                                                                         8.60     11,339.10
                                         conflicts investigation (.5); review
                                         approximately 500 documents in
                                         review database (7.7); exchange
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                                         emails regarding noteworthy
                                         documents (.4).

07/10/23       KS7                       Correspondence with O. Yeffet re:                                                                    6.90     6,241.05
                                         2004 memorandum and
                                         memorandum edits (.2); Review
                                         documents and internal memoranda
                                         for additional information to add to
                                         2004 memorandum (1.1); Revise 2004
                                         memorandum (3.4); Review 2004
                                         memorandum comments and
                                         incorporate same (2.2).

07/10/23       JG1                       Conference regarding counsel                                                                         3.10     3,766.50
                                         conflicts investigation (.5); Review
                                         documents regarding counsel conflict
                                         investigation (2.6).

07/10/23       WAB                       Review key filings and background                                                                    5.00     9,585.00
                                         on Bahamas litigation (5.0).

07/10/23       KW5                       Conference regarding counsel                                                                         4.90     4,123.35
                                         conflicts investigation and follow up
                                         from same (0.5); review documents
                                         for counsel conflicts investigation and
                                         confer with QE team regarding same
                                         (4.4).

07/10/23       APA                       Teleconference with S. Rand, K.                                                                      0.80     1,152.00
                                         Lemire, M. Anderson, and M. Scheck
                                         regarding Rule 2004 discovery (0.6);
                                         emails to and from K. Lemire and J.
                                         Palmerson regarding Moore Stephens
                                         (0.1); emails to and from counsel for
                                         accounting firm (0.1).

07/10/23       JR9                       Conference regarding counsel                                                                         3.80     2,838.60
                                         conflicts investigation (.5); reviewed
                                         documents for investigations 2004
                                         request (3.3).

07/10/23       RZ                        Participate in conference call with                                                                  5.50     7,920.00
                                         team members re: investigative
                                         updates and status (.5); review and
                                         analyze pertinent documents
                                         identified by investigations team in
                                         connection with law firm
                                         investigation (5).

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07/10/23       SGW                       Participate in weekly telephone                                                                      5.00      9,585.00
                                         conference with JRay, S&C and
                                         leadership teams (.43); review/ edit
                                         draft law firm investigations report
                                         (.8); email correspondence with
                                         OYeffet, KSullivan, and CMund
                                         regarding law firm investigations
                                         report (.6); email correspondence
                                         with SWheeler (S&C) and KLemire/
                                         JYoung/ SHill regarding former
                                         employee indemnification requests
                                         (.6); participate in telephone
                                         correspondence with KLemire/
                                         TMurray/ JYoung/ SHill regarding
                                         investigations workstream (.4); email
                                         correspondence with NKutler
                                         (Covington)counsel for employee and
                                         KLemire/ JYoung regarding
                                         interview process (.3); review/ edit
                                         draft 2004 requests for law firms (.3);
                                         review draft FTX avoidance action
                                         from S. Ehrenberg (S&C) (1.3); review
                                         correspondence from counsel to law
                                         firm (.4).

07/10/23       AN4                       Revise memorandum regarding third                                                                    1.00       747.00
                                         party professionals (1.0).

07/10/23       SNR                       Attend joint SC/QE coordination                                                                      0.40       637.20
                                         investigations call (0.3); address
                                         strategic issues re: various insiders
                                         (0.1).

07/11/23       JG1                       Review documents regarding counsel                                                                   6.10      7,411.50
                                         conflict investigation (6.1).

07/11/23       KS7                       Correspondence with O. Yeffet re:                                                                    1.80      1,628.10
                                         2004 memorandum (.1); Confer C.
                                         Mund and J. Boxer re: 2004 review
                                         (.3); Review comments and revise
                                         2004 memorandum re: same (1.4).

07/11/23       APA                       Email investigative report outline to                                                                0.20       288.00
                                         S+C, Alvarez & Marsal and team
                                         (0.2).

07/11/23       MS11                      Review approximately 500and                                                                          7.60     10,020.60
                                         analysis of documents in connection
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                                         with law firm investigation (7.2);
                                         exchange emails regarding
                                         noteworthy documents (.4).

07/11/23       SGW                       Review/ edit draft investigative                                                                     4.50     8,626.50
                                         report regarding law firm (1.2); email
                                         correspondence with KLemire,
                                         AAlden. OYeffet, KSullivan and
                                         CMund regarding same (.8); review
                                         law firm response to 2004 request (.6);
                                         review/ comment on S&C draft
                                         avoidance action (.3); email
                                         correspondence with SRand, JShaffer,
                                         WBurck, and KLemire re drafting
                                         professionals investigative report (.5);
                                         review JRay emails regarding same
                                         (.3); review documents from priority
                                         collection regarding law firm and
                                         insiders (.8).

07/11/23       WAB                       Steering committee call (1.0); board                                                                 1.60     3,067.20
                                         call (partial attendance) (0.6).

07/11/23       KW5                       Review documents for counsel                                                                         6.70     5,638.05
                                         conflicts investigation and confer
                                         with QE team regarding same (6.0);
                                         review scope of work and document
                                         review strategy for counsel conflicts
                                         investigation and corresp with J.
                                         Robbins regarding same (0.7).

07/11/23       CM                        Research regarding target                                                                            8.60     4,373.10
                                         involvement (2.1); conference with K.
                                         Sullivan and J. Boxer regarding target
                                         involvement (0.3); correspondence to
                                         J. Boxer regarding target involvement
                                         (0.3); correspondence to S. Hill
                                         regarding target report (0.1); prepare
                                         report summary regarding law firm
                                         review 1 (0.8); prepare report
                                         summary regarding law firm review
                                         2 (0.6); prepare report summary
                                         regarding law firm review 3 (0.5);
                                         research regarding law firm review
                                         (2.2); review and revise
                                         memorandum regarding law firm
                                         involvement (1.7).
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07/11/23       JR9                       Reviewed documents for counsel                                                                       4.60      3,436.20
                                         conflicts investigation (4.6).

07/11/23       SNR                       Review and revise professionals                                                                      1.70      2,708.10
                                         investigations report outline and
                                         related materials (1.3); various
                                         communications w/ A. Alden re:
                                         same (0.4).

07/11/23       RZ                        Analysis of collection of documents                                                                  6.50      9,360.00
                                         from investigations team re law firm
                                         investigation (6.5).

07/11/23       JB11                      Zoom with K. Sullivan and C. Mund                                                                    8.00      5,976.00
                                         re law firm knowledge (0.3); Research
                                         and draft memo regarding same (6.1);
                                         Analyze documents related to a 2004
                                         request (1.6).

07/11/23       JA4                       Reviewed documents related to third                                                                  2.30      1,169.55
                                         party professionals (2.3).

07/11/23       MS1                       Call with S. Hill regarding                                                                          1.50      1,120.50
                                         investigations review (.1); review in
                                         connection with investigations target
                                         (1.4).

07/11/23       KL                        Review pertinent documents                                                                           1.20      1,911.60
                                         identified by investigations team (.3);
                                         tc S. Hill re persons and entities of
                                         interest (.4); review draft memo on
                                         person of interest (.4); review media
                                         coverage (.1).

07/12/23       MS11                      Prepare for and attend call with                                                                   10.10      13,316.85
                                         counsel regarding law firm proffer of
                                         attorneys to subjects (.5); exchange
                                         emails and calls with Mr. Zink
                                         regarding law firm proffer (.3);
                                         Conference regarding counsel
                                         conflicts investigation (.2); exchange
                                         emails and calls regarding analyses of
                                         attorneys to scope of work topics in
                                         connection with law firm
                                         investigation (.8); review and analysis
                                         of documents in connection with law
                                         firm investigation (8.3).


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07/12/23       WAB                       Law firm investigation calls and                                                                     0.90      1,725.30
                                         strategy (1.7).

07/12/23       JG1                       Review documents regarding counsel                                                                   4.80      5,832.00
                                         conflict investigation (4.8).

07/12/23       KL                        Email edits re person of interest                                                                    2.60      4,141.80
                                         memo (1.5); review pertinent
                                         documents identified by
                                         investigations team (1.1).

07/12/23       APA                       Emails to and from J. Palmerson                                                                      0.40       576.00
                                         regarding email to Wells Fargo (0.1);
                                         email draft letter regarding DBS to J.
                                         Ray (0.1); emails to and from J.
                                         Palmerson regarding DBS Bank, and
                                         Prager Metis (0.2).

07/12/23       KJS                       Exchange correspondence with QE                                                                      0.20       383.40
                                         team re professionals investigations
                                         (0.2).

07/12/23       KS7                       Review and revise supplementary                                                                      2.40      2,170.80
                                         section for 2004 report (2.2); Confer
                                         with C. Mund and J. Boxer re: same
                                         (.2).

07/12/23       ET3                       Reviewing documents regarding                                                                        1.40       711.90
                                         services performed by third party
                                         service provider (0.2); summarizing
                                         findings regarding outside counsel
                                         transactional law firm (1.2).

07/12/23       JY1                       Correspondence regarding                                                                             0.40       473.40
                                         interviews (.4).

07/12/23       KW5                       Review and revise list of relevant                                                                   5.60      4,712.40
                                         personnel for counsel conflicts
                                         investigation and confer with J.
                                         Robbins regarding same (0.6); review
                                         documents for counsel conflicts
                                         investigation and confer with QE
                                         team regarding same (5.0).

07/12/23       SGW                       Email correspondence with                                                                            5.70     10,926.90
                                         KSullivan, AAlden, CMund and
                                         KLemire re law firm investigative
                                         report (.7); review/ edit draft law firm
                                         investigative report and new insert
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                                         for investigative report (1.2); review
                                         documents from law firm
                                         production/ collection (.8); email
                                         correspondence with SWheeler from
                                         S&C and KLemire regarding
                                         workplan (.3); review S&C memo
                                         regarding Panamanian legal issues
                                         (.7); review priority documents from
                                         professional service firm collection
                                         (.8); email correspondence with
                                         TMurray, SRand and KLemire
                                         regarding 2004 request to university
                                         and related strategy (.3); email
                                         correspondence with counsel for
                                         former employees and
                                         KLemire/JYoung regarding interview
                                         scheduling for former employees (.3);
                                         review priority documents regarding
                                         insiders (.6).

07/12/23       JR9                       Conference regarding counsel                                                                         7.80     5,826.60
                                         conflicts investigation (.2); Reviewed
                                         documents for counsel conflicts
                                         investigation (4.4); prepared
                                         memorandum re: document review
                                         (3.2).

07/12/23       RZ                        Analyze pertinent documents                                                                          2.00     2,880.00
                                         identified by team in connection with
                                         law firm investigation (2).

07/12/23       AG3                       Review and analyze documents                                                                         6.10     4,556.70
                                         regarding potential claims against
                                         family target (2.8); review and
                                         analyze documents regarding
                                         consultant target (3.2).

07/12/23       JB11                      Zoom with K. Sullivan and C. Mund                                                                    8.10     6,050.70
                                         re law firm knowledge (0.2); Research
                                         regarding same (4.5); research and
                                         draft memo re crypto data company
                                         (3.4).

07/12/23       CM                        Research regarding target                                                                            8.60     4,373.10
                                         involvement (2.8); draft
                                         memorandum regarding target
                                         involvement (2.4); conference with K.

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                                         Sullivan and J. Boxer regarding target
                                         involvement (0.2); research regarding
                                         memorandum inquiries (1.2);
                                         correspondences to J. Boxer
                                         regarding target involvement (0.6);
                                         review and revise memorandum
                                         regarding target involvement (1.4).

07/12/23       GC2                       Fact development re: third party                                                                     2.20      1,643.40
                                         consultants (2.2).

07/12/23       SNR                       Review various materials re:                                                                         1.40      2,230.20
                                         professional investigative report and
                                         address strategy re: same (1.4).

07/12/23       NI1                       Conference regarding counsel                                                                         3.70      4,345.65
                                         conflicts investigation (.2); review
                                         documents in connection with
                                         counsel conflicts investigation (3.5).

07/13/23       TCM                       Call w/ QE team re. insider                                                                          0.60       729.00
                                         investigation and related discovery
                                         (.6).

07/13/23       WAB                       Review and analysis of pertinent                                                                     5.10      9,776.70
                                         documents in connection with
                                         Bahamas litigation and
                                         correspondence internally and with
                                         client regarding same (4.5); call
                                         regarding university 2004 (0.5); call
                                         with JR regarding advisors review
                                         (0.6).

07/13/23       JG1                       Prepare for conference regarding                                                                     4.30      5,224.50
                                         counsel conflicts investigation (.2);
                                         Conference regarding counsel
                                         conflicts investigation (.5); Review
                                         chart re: topics for counsel conflicts
                                         investigation (.3); Review documents
                                         re: counsel conflicts investigation
                                         (3.3).

07/13/23       MS11                      Conference regarding counsel                                                                         8.80     11,602.80
                                         conflicts investigation (.5); review
                                         and analysis documents in
                                         connection with law firm
                                         investigation (7.9); revise chart
                                         matching attorneys to various

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                                         workstreams and exchange emails
                                         regarding same in connection with
                                         law firm investigation(.4).

07/13/23       KL                        TC S. Rand, J. Shaffer, S. Williamson,                                                               0.80     1,274.40
                                         B. Burck, T. Murray re privilege
                                         issues (.6); tc S. Williamson re internal
                                         review (.2).

07/13/23       CM                        Research regarding law firm review                                                                   4.10     2,084.85
                                         (3.1); prepare correspondence to team
                                         regarding law firm review (0.3);
                                         review and revise memorandum
                                         regarding whistleblower agreements
                                         (0.4); correspondence to B. Carroll
                                         regarding whistleblower agreements
                                         (0.3).

07/13/23       APA                       Emails to and from Wells Fargo                                                                       0.30      432.00
                                         counsel and J. Palmerson (0.2); email
                                         to Redwood Valuation Partners (0.1).

07/13/23       KW5                       Conference regarding counsel                                                                         2.30     1,935.45
                                         conflicts investigation (0.5); review
                                         documents for counsel conflicts
                                         investigation and confer with QE
                                         team regarding same (1.8).

07/13/23       JB11                      Research crypto data companies (2.0);                                                                3.70     2,763.90
                                         Research FTX ventures (1.7).

07/13/23       KS7                       Review documents re: 2004                                                                            0.70      633.15
                                         knowledge of certain banking
                                         transactions and summarize same
                                         (.4); Confer with O. Yeffet re:
                                         privilege review (.3).

07/13/23       SGW                       Email correspondence with CMund,                                                                     4.80     9,201.60
                                         OYeffet, KLemire and AAlden re
                                         professionals investigatory report
                                         (.7); review/ edit insert to law firm
                                         investigations report and edit draft
                                         law firm investigations report (.8);
                                         review documents from priority
                                         collection (.7); email correspondence
                                         with WBurck, KLemire, SRand and
                                         MAnderson regarding FCPA issues
                                         and review related documents (.6);

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                                         email correspondence with OYeffet
                                         and AAlden regarding 2004 requests
                                         to professional service providers (.3);
                                         review summary of legal research
                                         regarding 2004 responses and related
                                         privilege issues and email
                                         correspondence with TMurray,
                                         SSnower, SHill, and KLemire
                                         regarding same (.5); telephone
                                         conference with JShaffer, TMurray,
                                         SRand and KLemire regarding
                                         insider investigation and related
                                         privilege issues (.6); telephone
                                         conference with KLemire regarding
                                         workplan and next steps (.2); email
                                         corresp with CDunne from S&C and
                                         review draft complaint against
                                         insiders (.7); email correspondence
                                         with counsel for employees regarding
                                         employee interviews and next steps
                                         (.2).

07/13/23       AG3                       Prepare memorandum regarding                                                                         4.80     3,585.60
                                         potential claims against consultant
                                         target (1); review work product
                                         relating to venture investment targets
                                         and prepare chart summarizing same
                                         (3.8).

07/13/23       JR9                       Conference regarding counsel                                                                         8.30     6,200.10
                                         conflicts investigation (partial
                                         attendance) (.3); review and revised
                                         document review memorandum
                                         (3.7); reviewed documents for
                                         counsel conflicts investigation (4.1).

07/13/23       KJS                       QE team call re insider investigation                                                                0.60     1,150.20
                                         and related discovery (0.6).

07/13/23       MS1                       Review and analysis of pertinent                                                                     9.10     6,797.70
                                         documents in connection with
                                         investigations target (9.1).

07/13/23       RZ                        Participate in conference call with                                                                  5.00     7,200.00
                                         team members re: investigative
                                         updates and status (.5); analyze select
                                         documents from investigations team

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                                         in connection with law firm
                                         investigation (4.5).

07/13/23       AN4                       Internal correspondence regarding                                                                    0.20       149.40
                                         investigation into third party
                                         professional (.2).

07/13/23       SNR                       T/c w/ Paul Hastings re:                                                                             1.70      2,708.10
                                         professionals’ investigation (0.4); QE
                                         team call re: insider investigation and
                                         related discovery (0.6); review
                                         materials re: professional
                                         investigations report and various
                                         communications re: same (0.7).

07/13/23       NI1                       Conference regarding counsel                                                                         0.50       587.25
                                         conflicts investigation (.5).

07/14/23       AG3                       Review and analyze documents                                                                         4.80      3,585.60
                                         relating to potential claims against
                                         family target and prepare
                                         memorandum summarizing same
                                         (4.8).

07/14/23       KL                        Correspondence with S. Hill re                                                                       1.50      2,389.50
                                         investigations meeting agenda (.1);
                                         investigations weekly meeting (.5);
                                         review and analysis of pertinent
                                         documents of interest selected by
                                         investigations team (.5); review and
                                         circulate memos on Bahamas (.2);
                                         emails re staffing for additional
                                         subjects (.2).

07/14/23       APA                       Revise email to Wells Fargo                                                                          1.30      1,872.00
                                         regarding documents (0.1); emails to
                                         and from S. Hill regarding list of law
                                         firms (0.4); emails to and from S. Hill
                                         and T. Murray regarding law firm
                                         conflicts (0.2); review memo on SVA
                                         (0.6).

07/14/23       MS11                      Conference regarding counsel                                                                         8.70     11,470.95
                                         conflicts investigation (.3); review
                                         and analysis documents in database
                                         in connection with law firm
                                         investigation (8.1); exchange emails


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                                         regarding noteworthy documents
                                         (.3).

07/14/23       JB11                      Zoom with K. Sullivan, O. Yeffet, C.                                                                 3.20     2,390.40
                                         Mund re 2004 request (.5); research
                                         and draft memo re same (2.7).

07/14/23       JA4                       Wrote memo summarizing role of                                                                       1.80      915.30
                                         consultant (1.8).

07/14/23       TCM                       Weekly investigations team call (.5).                                                                0.50      607.50

07/14/23       OBY                       Investigations team leadership call                                                                  0.50      452.25
                                         (.5).

07/14/23       ET3                       Reviewing documents regarding                                                                        1.30      661.05
                                         services performed by third party
                                         service provider (1.3).

07/14/23       JG1                       Conference regarding counsel                                                                         0.30      364.50
                                         conflicts investigation (.3).

07/14/23       CM                        Conference with O. Yeffet, J. Boxer,                                                                 2.80     1,423.80
                                         and K. Sullivan regarding law firm
                                         review (0.5); research regarding law
                                         firm knowledge (2.1); correspondence
                                         to J. Boxer regarding law firm
                                         knowledge (0.2).

07/14/23       JY1                       Weekly investigations meeting (.5);                                                                  1.70     2,011.95
                                         correspondence regarding interviews
                                         (.6); correspondence regarding
                                         review projects for accountants and
                                         auditors (.6).

07/14/23       SGW                       Email correspondence with KLemire,                                                                   3.40     6,517.80
                                         OYeffet, and JBoxer regarding
                                         priority documents and 2004 requests
                                         to professional service firms and
                                         review related documents (.8); email
                                         correspondence with ADevlin-Brown
                                         and NKutler (Covington) counsel for
                                         employee regarding former employee
                                         interviews (.3); telephone conference
                                         with TMurray, KLemire, SHill and
                                         JYoung re workplan and next steps
                                         (.5); email correspondence with
                                         counsel to law firm (.3); email
                                         correspondence with TMurray,
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                                         KLemire, SHill, SSnower and JYoung
                                         regarding communications with
                                         insider counsel and related next steps
                                         (.3); email correspondence with
                                         counsel regarding former employee
                                         interviews (.2); email correspondence
                                         with AAlden, OYeffet and KLemire
                                         regarding draft 2004 requests to
                                         professional service firms and review
                                         draft requests (.4); review production
                                         from law firm counsel (.6).

07/14/23       KW5                       Conference regarding counsel                                                                         2.20     1,851.30
                                         conflicts investigation (0.3); review
                                         documents for counsel conflicts
                                         investigation (1.9).

07/14/23       SNR                       Review 2004 motion re: professionals                                                                 2.90     4,619.70
                                         (0.7); t/c w/ W. Sears and K. Lemire
                                         re: investigation of insiders (0.4);
                                         review materials re: professionals
                                         investigatory report and various
                                         communications w/ A. Alden and M.
                                         Lev (1.8).

07/14/23       RZ                        Participate in conference call with                                                                  3.30     4,752.00
                                         team members re: investigative
                                         updates and status (.3); review
                                         relevant materials (3).

07/14/23       SH6                       Weekly investigations leadership                                                                     0.50      420.75
                                         conference (0.5).

07/14/23       KS7                       Review documents for privilege                                                                       4.70     4,251.15
                                         (summarize same) (4.2); Confer with
                                         O. Yeffet, J. Boxer, C. Mund re: 2004
                                         updates and revised searches (.5).

07/14/23       NI1                       Conference regarding counsel                                                                         2.50     2,936.25
                                         conflicts investigation (.3); review
                                         documents in connection with
                                         counsel conflicts investigation (2.2).

07/14/23       MS1                       Review and analysis of documents in                                                                  7.30     5,453.10
                                         connection with investigations target
                                         (7.3).

07/14/23       JR9                       Conference regarding counsel                                                                         4.40     3,286.80
                                         conflicts investigation (.3); reviewed
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                                         documents for counsel conflicts
                                         investigation (4.1).

07/15/23       APA                       Emails to and from J. Palmerson                                                                      0.10      144.00
                                         regarding emails to DBS Bank and
                                         Goldfields (0.1).

07/15/23       KL                        Review and analysis documents of                                                                     0.50      796.50
                                         interest identified by investigations
                                         team (.5).

07/15/23       SS7                       Compose internal memorandum                                                                          2.00     1,683.00
                                         regarding individual of interest (2.0).

07/15/23       SGW                       Email correspondence with SRand                                                                      0.80     1,533.60
                                         and KLemire regarding
                                         correspondence with 2004 recipient
                                         law firms and investigative next steps
                                         (.3); email correspondence with
                                         SRand, KLemire, MAnderson and
                                         team regarding FCPA research and
                                         document review (.3) ;); email
                                         correspondence with counsel
                                         regarding former employee
                                         interviews (.2).

07/15/23       AN4                       Document review regarding third                                                                      2.70     2,016.90
                                         party professional target (2.7).

07/16/23       JG1                       Review documents re: counsel                                                                         6.30     7,654.50
                                         conflicts investigation (6.3).

07/16/23       KW5                       Review documents for counsel                                                                         2.30     1,935.45
                                         conflicts investigation (2.3).

07/16/23       WAB                       Review and analyze documents in                                                                      0.50      958.50
                                         connection with Bahamas litigation
                                         (.5).

07/16/23       MS11                      Review and analysis of documents in                                                                  5.20     6,856.20
                                         database in connection with law firm
                                         investigation (5.2).

07/16/23       SGW                       Email correspondence with KLemire                                                                    1.20     2,300.40
                                         and TMurray regarding insider
                                         liability analysis (.3); review draft
                                         memo regarding potential insider
                                         liability (.6); email correspondence
                                         with AAlden and OYeffet regarding

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                                         2004 request to financial services
                                         providers (.3).

07/16/23       CM                        Review and analysis of documents in                                                                  1.60      813.60
                                         connection with law firm review
                                         (1.6).

07/16/23       KS7                       Prepare 2004 summary for                                                                             1.90     1,718.55
                                         memorandum (1.9).

07/16/23       APA                       Email to Alvarez & Marsal regarding                                                                  0.30      432.00
                                         SVA (0.1); review and revise Rule
                                         2004 request to financial consultant
                                         (0.2).

07/17/23       KS7                       Investigations update meeting (.2);                                                                  4.60     4,160.70
                                         Investigations update meeting
                                         continued (.2); Review internal
                                         documents and public source
                                         research for former employee
                                         interview (4.2).

07/17/23       WAB                       Review and analyze documents re                                                                      2.40     4,600.80
                                         Bahamian litigation and corr
                                         internally and with client re same
                                         (2.4).

07/17/23       APA                       Review and analysis of email from                                                                    1.70     2,448.00
                                         DBS Bank regarding documents (0.1);
                                         review and analysis of email from
                                         Paul Hastings regarding financial
                                         consultant (0.1); prepare for and
                                         attend call with Redwood Valuation
                                         Partners, O. Yeffet and Paul Hastings
                                         (0.5); teleconference with Alvarez &
                                         Marsal and QE team regarding
                                         professionals (0.8); review and
                                         analysis of email from Wells Fargo
                                         counsel and emails regarding same
                                         (0.2).

07/17/23       JY1                       Conferences regarding investigations                                                                 0.40      473.40
                                         projects (.4).

07/17/23       ET3                       Reviewing documents regarding                                                                        2.50     1,271.25
                                         services performed by third party
                                         audit service provider review (2.3);
                                         investigations team conference (0.2).

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07/17/23       SGW                       Email correspondence with KLemire                                                                    3.00      5,751.00
                                         and TMurray regarding insider
                                         liability analysis (.3); review/ edit
                                         memo re insider liability analysis
                                         (1.2); prepare for and participate in
                                         telephone conference with QE
                                         investigations team (KLemire,
                                         TMurray, JYoung, SHill) (.3 ); email
                                         correspondence with KLemire and
                                         MAnderson regarding Bahamian
                                         investigative process and related
                                         email correspondence with S&C team
                                         (.3); email correspondence with
                                         counsel for former employees
                                         regarding former employee
                                         interviews (.2); review/ edit draft
                                         insider complaint from S&C (.7).

07/17/23       MS11                      Review and analysis of documents in                                                                  8.90     11,734.65
                                         review database in connection with
                                         law firm investigation (8.7); exchange
                                         emails regarding document review
                                         (.2).

07/17/23       AN4                       Prepare Rule 2004 Request for third-                                                                 3.70      2,763.90
                                         party professional target (1.8);
                                         document review on third party
                                         professional target and prepare
                                         summary regarding same (1.9).

07/17/23       CM                        Conference with team regarding                                                                       2.00      1,017.00
                                         review progress (0.2); research
                                         regarding law firm review (1.6);
                                         conference with team regarding case
                                         developments (0.2).

07/17/23       KW5                       Conference regarding counsel                                                                         5.30      4,459.95
                                         conflicts investigation (0.3); review
                                         documents for counsel conflicts
                                         investigation and confer with QE
                                         team regarding same (5.0).

07/17/23       JB11                      Research and draft memo on a FTX                                                                     4.30      3,212.10
                                         Group vendor for professional
                                         groups memo (2.5); Analyze
                                         documents related to a 2004 request


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                                         (1.4); Zooms with FTX Team re
                                         investigations (0.4).

07/17/23       RZ                        Participate in conference call with                                                                  4.50     6,480.00
                                         team members re: investigative
                                         updates and status (.3); analyze
                                         pertinent documents identified by
                                         team in connection with law firm
                                         investigation (4.2).

07/17/23       GC2                       Call with Sophie Hill re: further fact                                                               1.70     1,269.90
                                         development assignments (0.1); Fact
                                         development regarding foreign
                                         counsel (1.6).

07/17/23       GC2                       Attend FTX all-team meeting with                                                                     0.40      298.80
                                         Sophie Hill and others (0.2); attend
                                         later FTX all-team meeting with
                                         Sophie Hill and Katie Lemire
                                         recapping progress and planning for
                                         future investigation (0.2).

07/17/23       KJS                       Analyze documents and exchange                                                                       0.40      766.80
                                         correspondence with investigations
                                         team re professionals’ investigations
                                         (0.4).

07/17/23       OBY                       Investigations team meeting (.2);                                                                    0.40      361.80
                                         second investigations team meeting
                                         (.2).

07/17/23       SH6                       All investigations team meetings                                                                     0.40      336.60
                                         (0.4).

07/17/23       JA4                       Met with team re timeline updates                                                                    1.80      915.30
                                         (.4); worked on third party
                                         professionals memo (1.4).

07/17/23       AC7                       Attend investigations team update                                                                    0.40      298.80
                                         calls ( 0.4).

07/17/23       DRM                       Confer with full investigations team                                                                 0.20      149.40
                                         re: future guidance (0.2).

07/17/23       BC6                       Investigations team meetings (.2, .2).                                                               0.40      298.80

07/17/23       JG1                       Conference regarding counsel                                                                         5.40     6,561.00
                                         conflicts investigation (.3); Review
                                         documents re: counsel conflicts
                                         investigation (5.1).
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07/17/23       JR9                       Investigations team call (.2);                                                                       8.40     6,274.80
                                         conference regarding counsel
                                         conflicts investigation (.3); reviewed
                                         documents for counsel conflicts
                                         investigation (3.9); prepared
                                         summary statistics and
                                         corresponding document review
                                         correspondence (4.3).

07/17/23       NI1                       Conference regarding counsel                                                                         2.40     2,818.80
                                         conflicts investigation (.3); analyze
                                         documents for counsel conflicts
                                         investigation (2.1).

07/17/23       KL                        Review and respond to email re                                                                       2.80     4,460.40
                                         status of investigations (.3); review
                                         background memo on firm of interest
                                         (.3); review internal FTX docs re
                                         person of interest (.3); call with J. Ray
                                         and S&C re weekly investigations
                                         update (partial attendance) (.3); tc S.
                                         Wheeler re investigative updates and
                                         meeting with associates (.8); tc S.
                                         Rand re J. Ray meeting (.2);corresp S.
                                         Hill re investigations meeting agenda
                                         (.1); corresp S. Rand re investigations
                                         staffing (.1); schedule S&C call re
                                         investigative write-ups (.1); prepare
                                         for internal investigations call (.1);
                                         internal investigations call (.2).

07/18/23       JB11                      Research and draft memo re audit                                                                     3.50     2,614.50
                                         vendor used by FTX Group (2.6);
                                         Review and revise memo re
                                         professional groups (0.9).

07/18/23       JR9                       Prepared for witness interviews in                                                                   7.00     5,229.00
                                         counsel conflicts investigation (6);
                                         reviewed documents for witness
                                         interview (1).

07/18/23       AG3                       Review and revise memorandum                                                                         0.90      672.30
                                         regarding potential claims against
                                         family target (.9).

07/18/23       KL                        Review media coverage (.1).                                                                          0.10      159.30



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07/18/23       KL                        Review documents of interest (.5);                                                                   1.30      2,070.90
                                         prepare for witness interview (.9).

07/18/23       JY1                       Correspondence regarding                                                                             2.70      3,195.45
                                         interviews and materials for
                                         interviews (1.2); review and revise
                                         interview outline (1.5).

07/18/23       ET3                       Reviewing background materials for                                                                   0.60       305.10
                                         third party service provider
                                         investigation (0.6).

07/18/23       MS11                      Review and analysis of documents in                                                                11.10      14,635.35
                                         review database in connection with
                                         law firm investigation (8.3); exchange
                                         emails regarding hot documents and
                                         upcoming witness interviews (.6);
                                         Conference regarding counsel
                                         conflicts investigation (.3); conference
                                         regarding document requests for
                                         counsel conflicts investigation (.3);
                                         review court filings to adjust scope of
                                         work accordingly (1.6).

07/18/23       KW5                       Multiple conferences regarding                                                                       7.10      5,974.65
                                         counsel conflicts investigation (1.3);
                                         review documents for counsel
                                         conflicts investigation (1.9); prepare
                                         materials for witness interview
                                         preparation for counsel conflicts
                                         investigation (3.9).

07/18/23       WAB                       Review of documents re Bahamian                                                                      4.00      7,668.00
                                         litigation and analysis of same and
                                         corr with client and internally re
                                         same (4.0).

07/18/23       SGW                       Review memo from MAnderson                                                                           2.10      4,025.70
                                         regarding FTX DM investigation (.6);
                                         email corresp w counsel for former
                                         employees regarding former
                                         employee interviews (.2); review
                                         selected documents for former
                                         employee interviews (.7); email
                                         correspondence with KLemire and
                                         JYoung regarding former employee
                                         review (.3); review draft memo
                                         regarding insider liability (.3).
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07/18/23       CM                        Research regarding law firm review                                                                   4.60     2,339.10
                                         (1.6); correspondence to J. Robbins
                                         regarding whistleblower concerns
                                         (0.1); review and revise draft
                                         investigative report (2.9).

07/18/23       RZ                        Participate in conference call with                                                                  5.30     7,632.00
                                         team members re: investigative
                                         updates and status (.3); prepare for
                                         witness interview re law firm
                                         investigation (5).

07/18/23       KJS                       Analyze memo re employee                                                                             0.50      958.50
                                         confidentiality issues and research re
                                         same (0.5).

07/18/23       APA                       Teleconference with Alvarez &                                                                        0.80     1,152.00
                                         Marsal and QE team regarding
                                         professionals (0.3); emails to and
                                         from J. Palmerson regarding
                                         Silvergate and Wells Fargo (0.2);
                                         emails to and from financial
                                         consultant regarding documents
                                         (0.1); review Alvarez & Marsal memo
                                         on financial advisor (0.4); review
                                         emails regarding financial advisor
                                         (0.2).

07/18/23       NI1                       Conference regarding document                                                                        6.50     7,634.25
                                         requests for counsel conflicts
                                         investigation (.3); conferences
                                         regarding counsel conflicts
                                         investigation (1.3); analyze counsel
                                         scope of work documents in
                                         connection with counsel conflicts
                                         investigation (2.9); analyze
                                         correspondence in connection with
                                         same (2).

07/18/23       KS7                       Review documents related to former                                                                   3.70     3,346.65
                                         employee interview and prepare
                                         interview outline re: same (3.3);
                                         Review and revise summary insert
                                         related to 2004 to add to overarching
                                         memorandum (.5).



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07/18/23       JA4                       Performed fact -check document                                                                       2.50      1,271.25
                                         review of third party professionals
                                         info (2.5).

07/18/23       AN4                       Review and revise third party                                                                        1.60      1,195.20
                                         professionals investigations report
                                         (1.6).

07/18/23       GC2                       Analyzing documents for factual                                                                      2.80      2,091.60
                                         development related to investigation
                                         of foreign counsel (2.8).

07/18/23       JG1                       Conference regarding counsel                                                                         7.90      9,598.50
                                         conflicts investigation (1); Conference
                                         regarding document requests for
                                         counsel conflicts investigation (.3);
                                         Conference with R. Zink re:
                                         interviews for counsel conflicts
                                         investigation (.3); Review
                                         background documents regarding
                                         various allegations against FTX in
                                         preparation for interviews for
                                         counsel conflicts investigation (3.7);
                                         Prepare for interviews for counsel
                                         conflicts investigation (2.6).

07/19/23       AG3                       Review and revise memorandum                                                                         0.90       672.30
                                         regarding potential claims against
                                         counsel target (.9).

07/19/23       JR9                       Prepare for witness interviews in                                                                  15.10      11,279.70
                                         counsel conflicts investigation (13.7);
                                         reviewed documents for witness
                                         interview (1.4).

07/19/23       NI1                       Prepare for witness interviews in                                                                    8.90     10,453.05
                                         counsel conflicts investigation (8.9).

07/19/23       DRM                       Confer re: new investigative target                                                                  0.10        74.70
                                         (0.1).

07/19/23       SGW                       Email correspondence with counsel                                                                    4.40      8,434.80
                                         and TMurray/KLemire/SHill
                                         regarding former employee
                                         interviews (.3); email correspondence
                                         with S&C team and
                                         MAnderson/KLemire regarding
                                         Bahamas/FTX DM investigative
                                         measures (.3); telephone conference
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                                         with MAnderson regarding S&C call
                                         (.1); telephone conference with
                                         MAnderson, JCroke (S&C) and
                                         SWheeler (S&C) regarding same (.8)
                                         email correspondence with
                                         SRand/KLemire regarding review of
                                         former employees and insiders (.2);
                                         review related correspondence with
                                         UCC counsel (.2); email
                                         correspondence with counsel for
                                         former employees regarding former
                                         employee interviews (.2); prepare for
                                         and participate in interview with
                                         former employee (1.1); review
                                         documents from S&C regarding
                                         Bahamas investigative measures (.7);
                                         review updated outline for draft
                                         investigative report (.3).

07/19/23       CM                        Correspondence to J. Robbins and S.                                                                  3.40      1,728.90
                                         Hill regarding whistleblower
                                         inquiries (0.3); correspondence with J.
                                         Boxer regarding law firm knowledge
                                         (0.2); review and revise target
                                         investigative report (2.6);
                                         correspondence to O. Yeffet
                                         regarding law firm payments (0.3).

07/19/23       KL                        Review and analysis of pertinent                                                                     3.40      5,416.20
                                         documents identified by
                                         investigations team (.2); prep for
                                         witness interview (1.2); corresp S.
                                         Williamson re investigation (.3);
                                         emails re investigative issues (.1);
                                         interview of former FTX employee
                                         (1.4); review email re investigative
                                         matters (.2).

07/19/23       JG1                       Prepare for witness interviews in                                                                  13.70      16,645.50
                                         counsel conflicts investigation (13.7).

07/19/23       KW5                       Prepare materials for witness                                                                      14.60      12,285.90
                                         interview preparation for counsel
                                         conflicts investigation (0.9); prepare
                                         for witness interviews in counsel
                                         conflicts investigation (13.7).


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07/19/23       SNR                       T/c w/ Paul Hastings re: various                                                                     2.90      4,619.70
                                         investigation issues (0.4); review
                                         materials re: professionals
                                         investigations report and follow up
                                         w/ A. Alden re: same (0.8); attend
                                         team call re: professionals
                                         investigations report (0.8 -partial);
                                         address strategy issues re: legal
                                         insider and follow up w/ K. Lemire
                                         re: same (0.9).

07/19/23       APA                       Teleconference with Alvarez &                                                                        1.20      1,728.00
                                         Marsal and QE team regarding
                                         professionals (0.3); emails to and
                                         from J. Palmerson regarding
                                         Silvergate and Wells Fargo (0.2);
                                         emails to and from financial
                                         consultant regarding documents
                                         (0.1); review Alvarez & Marsal memo
                                         on financial advisor (0.4); review
                                         emails regarding other financial
                                         advisor (0.2).

07/19/23       RZ                        Review documents and prepare for                                                                     7.50     10,800.00
                                         witness interviews in connection with
                                         law firm investigation (7.5).

07/19/23       MS11                      Prepare for witness interviews in                                                                  11.10      14,635.35
                                         counsel conflicts investigation (11.1).

07/19/23       JB11                      Analyze documents related to a 2004                                                                  3.50      2,614.50
                                         request (3.5).

07/19/23       ET3                       Review and revise investigative                                                                      1.80       915.30
                                         report regarding services performed
                                         by third party professional service
                                         providers (1.8).

07/19/23       KJS                       Analyze documents and exchange                                                                       0.70      1,341.90
                                         correspondence with Anthony Alden
                                         re professionals’ investigation and
                                         confidentiality issues (0.7).

07/19/23       JA4                       Ran searches on the use of audited                                                                   7.60      3,864.60
                                         financial statements for potential
                                         investors (2.1); ran document
                                         searches and drafted section of third
                                         party professionals memo (5.5).

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07/19/23       AN4                       Correspond via email with JY                                                                         0.20       149.40
                                         regarding third party professionals
                                         investigative report (.20).

07/19/23       KS7                       Attend interview of former employee                                                                  3.60      3,256.20
                                         alongside K. Lemire and S.
                                         Williamson (1.4); Prepare interview
                                         memorandum re: same (2.2).

07/20/23       JR9                       Prepare for witness interviews in                                                                    8.70      6,498.90
                                         counsel conflicts investigation (6).

07/20/23       CM                        Conference with team regarding law                                                                   3.40      1,728.90
                                         firm review findings (0.3);
                                         correspondence with S. Hill
                                         regarding target report (0.1); research
                                         regarding potential target (0.8);
                                         review and revise target report (2.2).

07/20/23       KS7                       Confer with O. Yeffet regarding 2004                                                                 2.00      1,809.00
                                         document review status (.3);
                                         Correspond with J. Boxer re: research
                                         project related to 2004 target (.1);
                                         Review newly released documents re:
                                         privilege and summarize same (1.6).

07/20/23       ET3                       Reviewing and revising and                                                                           3.50      1,779.75
                                         compiling documents referenced in
                                         investigative report regarding
                                         services performed by third party
                                         professional service providers (3.5).

07/20/23       SGW                       Email correspondence with KLemire                                                                    1.00      1,917.00
                                         regarding former employee
                                         interviews (.2); prepare for and
                                         participate in former employee
                                         interview (.8).

07/20/23       RZ                        Review documents and prepare for                                                                     8.20     11,808.00
                                         witness interviews in connection with
                                         law firm investigation (8.2).

07/20/23       MS11                      Prepare for witness interviews in                                                                    8.30     10,943.55
                                         counsel conflicts investigation (6.5);
                                         prepare for and attend meeting with
                                         law firm to discuss Interview
                                         preparations and scheduling (1.8).



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07/20/23       JG1                       Prepare for witness interviews in                                                                    7.80     9,477.00
                                         counsel conflicts investigation (7.2);
                                         conference with R. Zink, K. Whitfield,
                                         M. Shaheen and law firm personnel
                                         re: counsel conflicts investigation (.6).

07/20/23       JY1                       Prepare for and attend interview and                                                                 2.20     2,603.70
                                         review and revise interview
                                         memorandum (2.2).

07/20/23       KW5                       Prepare for witness interviews in                                                                    7.80     6,563.70
                                         counsel conflicts investigation (7.2);
                                         conference with R. Zink, M. Shaheen,
                                         J. Gindin, and law firm personnel
                                         regarding counsel conflicts
                                         investigation (0.6).

07/20/23       KJS                       Analyze documents and exchange                                                                       0.80     1,533.60
                                         internal QE correspondence re
                                         professionals’ investigation (0.8).

07/20/23       JA4                       Performed document review related                                                                    3.10     1,576.35
                                         to third party professional (3.1).

07/20/23       KJS                       Analyze filed insiders lawsuit (0.4).                                                                0.40      766.80

07/20/23       JB11                      Analyze documents related to a 2004                                                                  5.00     3,735.00
                                         request (1.9); Team Zoom re same
                                         (0.3); Review and analyze documents
                                         relating to potential claims against
                                         family target and relating to donation
                                         recipients (0.9); Research and revise
                                         memo re same (1.9).

07/20/23       NI1                       Prepare for witness interviews in                                                                    2.20     2,583.90
                                         counsel conflicts investigation (2.2).

07/20/23       KL                        Prepare for witness interview (.4);                                                                  3.00     4,779.00
                                         witness interview (.9); review and
                                         edit interview memos (1.7).

07/20/23       AC7                       Attend QE meeting re investigation                                                                   0.90      672.30
                                         target (0.3); review documents re
                                         investigation target (0.6).

07/20/23       AN4                       Review and revise third party                                                                        1.30      971.10
                                         professionals investigative report
                                         (.90); correspondence with SH
                                         regarding revisions to outside
                                         counsel memo (.4).
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07/20/23       APA                       Review and analysis of emails from                                                                   1.60     2,304.00
                                         Silvergate and Armanino regarding
                                         document productions (0.1); emails to
                                         and from S. Hill regarding additional
                                         professionals for investigation (0.2);
                                         review and revise notice of
                                         examination to Wells Fargo and
                                         emails regarding same (0.7); emails to
                                         and from J. Palmerson regarding
                                         Silicon Valley Accountants and Wells
                                         Fargo (0.6).

07/21/23       OBY                       Investigations team leadership                                                                       0.40      361.80
                                         meeting (.4).

07/21/23       TCM                       Investigations team weekly call (.4).                                                                0.40      486.00

07/21/23       ET3                       Review and revise investigative                                                                      2.70     1,372.95
                                         report on services performed by third
                                         party professional service providers
                                         (2.7).

07/21/23       SGW                       Email correspondence with JCroke                                                                     3.50     6,709.50
                                         from S&C regarding Bahamas
                                         investigation and review related
                                         materials received from S&C (1.3);
                                         email correspondence with KLemire,
                                         JYoung, OYeffet and TMurray
                                         regarding investigations legal
                                         research regarding in claim defenses
                                         and review legal research regarding
                                         same (.6); email correspondence with
                                         TMurray regarding 2004 requests and
                                         review correspondence with
                                         university regarding same (.5);
                                         telephone conference with
                                         investigations team (KLemire,
                                         JYoung, TMurray and OYeffet)
                                         regarding workplan and next steps
                                         (.4); review documents from priority
                                         document set regarding professional
                                         services firms (.7).

07/21/23       MS11                      Prepare for witness interviews and                                                                   1.90     2,505.15
                                         exchange emails regarding same
                                         (1.1); review noteworthy documents
                                         (.8).

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07/21/23       JY1                       Weekly investigations team meeting                                                                   0.40       473.40
                                         (.4).

07/21/23       KJS                       Analyze government request for SBF                                                                   0.10       191.70
                                         gag order (0.1).

07/21/23       KJS                       Confer with Marina Lev, Sascha                                                                       0.70      1,341.90
                                         Rand, and Anthony Alden re
                                         professionals’ investigation and
                                         analyze correspondence re same (0.7).

07/21/23       RZ                        Review documents and prepare for                                                                     8.50     12,240.00
                                         witness interviews (in connection
                                         with law firm investigation (6.5);
                                         construct draft report of law firm
                                         investigation (2).

07/21/23       KW5                       Confer with document review vendor                                                                   0.50       420.75
                                         regarding workspace parameters and
                                         documents received in connection
                                         with a 2004 request in counsel
                                         conflicts investigation (0.5).

07/21/23       APA                       Emails to and from S. Rand, J.                                                                       0.40       576.00
                                         Palmerson and Landis Rath
                                         regarding Silicon Valley Accountants
                                         (0.1); emails to and from Redwood
                                         Valuation Partners and O. Yeffet
                                         regarding documents (0.2); emails to
                                         and from J. Palmerson regarding
                                         Wells Fargo request (0.1).

07/21/23       JB11                      Review and analyze documents                                                                         3.00      2,241.00
                                         relating to FTX Group trading
                                         business and ventures (1.7);
                                         correspondence with K. Sullivan re
                                         same (0.2); review and analyze
                                         documents relating to potential
                                         claims against family target and
                                         relating to donation recipients (1.1).

07/21/23       JR9                       Prepare for witness interviews in                                                                    0.40       298.80
                                         counsel conflicts investigation (.4).

07/21/23       DRM                       Correspondence with S. Snower re:                                                                    0.20       149.40
                                         new investigative target review (0.2).

07/21/23       KL                        Weekly internal investigations                                                                       0.40       637.20
                                         meeting (.4).
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07/21/23       CM                        Review and revise target                                                                             1.60      813.60
                                         investigative report (1.6).

07/21/23       SNR                       Address strategy re: professionals                                                                   2.20     3,504.60
                                         investigatory report and various
                                         communications re: same (2.2).

07/22/23       SGW                       Review email correspondence with                                                                     0.60     1,150.20
                                         counsel to law firm and review
                                         selected documents from law firm
                                         production (.6).

07/22/23       JR9                       Prepare for witness interviews in                                                                    5.70     4,257.90
                                         counsel conflicts investigation (5.7).

07/22/23       JG1                       Draft interview outlines for witness                                                                 3.60     4,374.00
                                         interviews in counsel conflicts
                                         investigation (3.6).

07/22/23       NI1                       Analyze key documents in                                                                             0.50      587.25
                                         preparation for witness interviews
                                         for counsel conflicts investigation
                                         (0.5).

07/23/23       JB11                      Review and analyze documents                                                                         5.80     4,332.60
                                         relating to FTX Group trading
                                         business and ventures (5.8).

07/23/23       SGW                       Email correspondence with law firm                                                                   0.60     1,150.20
                                         investigations team and review
                                         proposed insert on law firm
                                         investigation for professional services
                                         report (.3); email correspondence
                                         with law firm 2004 recipients (.3).

07/23/23       APA                       Review Alvarez & Marsal memo                                                                         0.60      864.00
                                         regarding financial advisor (0.4);
                                         emails to and from J. Palmerson
                                         regarding Signature Bank (0.1)
                                         review and analysis of email from
                                         accounting firm’s counsel (0.1).

07/23/23       JR9                       Prepare for witness interviews in                                                                    0.80      597.60
                                         counsel conflicts investigation (.8).

07/23/23       MS11                      Exchange emails regarding upcoming                                                                   1.20     1,582.20
                                         interviews (.3); review interview
                                         outlines and exchange emails
                                         regarding same (.9).

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07/23/23       JG1                       Conference with K. Whitfield                                                                         4.60     5,589.00
                                         regarding preparation for witness
                                         interviews in counsel conflicts
                                         investigation (3.9); Draft interview
                                         outlines for witness interviews in
                                         counsel conflicts investigation (.7).

07/23/23       NI1                       Revise interview questions for                                                                       1.10     1,291.95
                                         counsel conflicts investigation (1.1).

07/23/23       KW5                       Review materials in preparation for                                                                  5.00     4,207.50
                                         witness interviews in counsel
                                         conflicts investigation (1.1);
                                         conference with J. Gindin regarding
                                         preparation for witness interviews in
                                         counsel conflicts investigation (3.9).

07/24/23       WAB                       Review of pertinent docs and                                                                         3.10     5,942.70
                                         communications re Bahamian
                                         litigation and correspondence with
                                         QE team and client re same (3.1).

07/24/23       KJS                       Analyze documents re insider                                                                         1.40     2,683.80
                                         investigation and preparation of
                                         potential claims (1.4).

07/24/23       JB11                      Review and analyze documents                                                                         6.30     4,706.10
                                         relating to FTX Group trading
                                         business and ventures (2.0); Review
                                         and analyze documents relating to
                                         potential claims against family target
                                         and relating to donation recipients
                                         (1.9); Review and revise memo re
                                         professional groups (2.4).

07/24/23       KW5                       Review documents for counsel                                                                         9.20     7,741.80
                                         conflicts investigation (4.1);
                                         conference regarding counsel
                                         conflicts investigation (0.3); confer
                                         with QE team regarding witness
                                         interviews in counsel conflicts
                                         investigation (0.3); arrange for
                                         witness interviews in counsel
                                         conflicts investigation (0.8); prepare
                                         summary of materials for witness
                                         interviews in counsel conflicts
                                         investigation and confer with QE
                                         team regarding same (0.5); review
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                                         and revise investigative report for
                                         counsel conflicts investigation (2.4);
                                         research regarding certain
                                         representations in connection with
                                         counsel conflicts investigation (0.8).

07/24/23       KS7                       Revise privilege review summary                                                                      1.90     1,718.55
                                         (.7); Revise interview summary for
                                         employee interview (.8); review and
                                         revise memorandum re same (.4).

07/24/23       GC2                       Fact development regarding foreign                                                                   1.90     1,419.30
                                         counsel (1.9).

07/24/23       CM                        Research regarding target                                                                            2.10     1,067.85
                                         involvement (1.4); prepare
                                         correspondence with J. Robbins
                                         regarding whistleblower payment
                                         (0.7).

07/24/23       KL                        TC S. Wheeler, S. Rand, N. Menillo re                                                                0.50      796.50
                                         indemnification issues (.3); tc A&M re
                                         professionals investigatory report
                                         (.2).

07/24/23       SNR                       T/c w/ A. Landis re: professional                                                                    0.40      637.20
                                         investigative report w/ B. Burck (0.4).

07/24/23       JG1                       Conference regarding counsel                                                                         4.60     5,589.00
                                         conflicts investigation (.3); Draft
                                         interview outlines for witness
                                         interviews in counsel conflicts
                                         investigation (4.3).

07/24/23       MS11                      Conference regarding counsel                                                                         4.80     6,328.80
                                         conflicts investigation (.3); prep for
                                         attorney interview in connection with
                                         law firm investigation, including
                                         review of hot documents and
                                         revising interview outline (2.1);
                                         review produced Signal messages
                                         and exchange emails regarding same
                                         (.4); exchange emails with counsel for
                                         law firm regarding updated
                                         interview schedule and document
                                         production status in connection with
                                         law firm investigation (.2);
                                         Conference regarding witness

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                                         interview (.1); Witness interview for
                                         counsel conflicts investigation (1.4);
                                         follow up conference regarding
                                         witness interview (.3).

07/24/23       JR9                       Conference regarding witness                                                                         9.00     6,723.00
                                         interview (.1); review and revised
                                         outline for witness interview (3.2);
                                         Witness interview for counsel
                                         conflicts investigation (1.4); follow up
                                         conference regarding witness
                                         interview (.3); prepared interview
                                         memo (4).

07/24/23       APA                       Emails to and from J. Palmerson and                                                                  0.70     1,008.00
                                         Paul Hastings regarding Silicon
                                         Valley Accountants (0.1); emails to
                                         and from T. Murray regarding Rule
                                         2004 request (0.1); email to Signature
                                         Banks counsel (0.1) review and revise
                                         Rule 2004 requests for accounting
                                         firm (0.2); email to SVA’s counsel
                                         (0.2).

07/24/23       SGW                       Participate in team telephone                                                                        1.50     2,875.50
                                         conference (.4); review draft inserts to
                                         professionals investigative report (.3);
                                         review selected documents from law
                                         firm productions (.6); confer with
                                         RZink regarding professionals
                                         investigative report (.2).

07/24/23       NI1                       Conference regarding counsel                                                                         2.10     2,466.45
                                         conflicts investigation (.3); conference
                                         regarding witness interview (.1);
                                         witness interview for counsel
                                         conflicts investigation (1.4); follow up
                                         conference regarding witness
                                         interview (.3).

07/25/23       KJS                       Analyze documents re insider                                                                         0.60     1,150.20
                                         investigations (0.6).

07/25/23       JB11                      Review and analyze documents                                                                         4.90     3,660.30
                                         relating to potential claims against
                                         family target and relating to donation
                                         recipients (3.0); Review and revise
                                         memo re professional groups (1.9).
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07/25/23       NI1                       Conference regarding counsel                                                                         0.80      939.60
                                         conflicts investigation (.4); review
                                         documents in connection with same
                                         (0.4).

07/25/23       GC2                       Fact development regarding foreign                                                                   5.10     3,809.70
                                         counsel (5.1).

07/25/23       SGW                       Email corresp with law firm 2004                                                                     0.60     1,150.20
                                         recipients and OYeffet (.3); email
                                         correspondence with Department Of
                                         Justice; email correspondence with
                                         SRand, WBurck and RZink regarding
                                         professionals investigatory report
                                         and related factfinding steps (.3).

07/25/23       KS7                       Confer with O. Yeffet and A. Alden                                                                   1.60     1,447.20
                                         re: privilege review (.1); Revise
                                         privilege tagging (.3); Review
                                         documents and materials for 2004
                                         review (1.2).

07/25/23       MS11                      Conference regarding counsel                                                                         2.50     3,296.25
                                         conflicts investigation (.4); review hot
                                         documents from law firm production
                                         and exchange emails regarding same
                                         (.6); exchange emails with aw firm
                                         regarding interview schedules and
                                         document production (.2); conference
                                         regarding counsel conflicts
                                         investigation (.5); exchange follow up
                                         emails and calls about format and
                                         substance of final investigatory
                                         report (.8).

07/25/23       JR9                       Conference 1 regarding counsel                                                                       9.20     6,872.40
                                         conflicts investigation (.4); conference
                                         2 regarding counsel conflicts
                                         investigation (.5); conference 3
                                         regarding counsel conflicts
                                         investigation (.3); review and revised
                                         interview memo (3.4); review and
                                         revised professionals investigative
                                         report (1.4); TC w/ K. Whitfield re:
                                         investigation protocol (.7); review
                                         and revised investigation protocol
                                         (1.5); prepared interview outline for

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                                         witness interview in connection with
                                         law firm investigation (1).

07/25/23       KW5                       Multiple conferences regarding                                                                     10.70       9,004.05
                                         counsel conflicts investigation (0.5)
                                         (0.4) (0.3); conference with R. Zink
                                         and J. Gindin regarding preparation
                                         for interviews in counsel conflicts
                                         investigation (0.5); conference with J.
                                         Gindin regarding investigatory
                                         report for counsel conflicts
                                         investigation (2.2); review and revise
                                         investigatory report for counsel
                                         conflicts investigation (4.9);
                                         conference with J. Robbins regarding
                                         counsel conflicts investigation (0.7);
                                         review documents for counsel
                                         conflicts investigation (0.4); prepare
                                         summary of investigative diligence
                                         for counsel conflicts investigation
                                         (0.8).

07/25/23       JG1                       Conferences regarding counsel                                                                      10.90      13,243.50
                                         conflicts investigation (1.2);
                                         Conference with K. Whitfield re:
                                         investigatory report for counsel
                                         conflicts investigation (2.2);
                                         Conference with R. Zink and K.
                                         Whitfield re: preparation for
                                         interviews in counsel conflicts
                                         investigation (.5); Draft interview
                                         outlines for witness interviews in
                                         counsel conflicts investigation (5.3);
                                         Prepare for interviews in counsel
                                         conflicts investigation (1.7).

07/25/23       RZ                        Prepare for and attended witness                                                                     8.50     12,240.00
                                         interviews re law firm investigation
                                         (8.2); participate in conference call
                                         with team members re: investigative
                                         updates and status (partial
                                         attendance) (.3).

07/25/23       AN4                       Revise memorandum regarding                                                                          4.10      3,062.70
                                         outside counsel investigation (4.10).



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07/25/23       APA                       Emails to and from O. Yeffet                                                                         2.00     2,880.00
                                         regarding Rule 2004 request to
                                         accounting firm and revise same
                                         (0.2); email to Silicon Valley
                                         Accountants (0.1); emails to and from
                                         K. Sullivan regarding financial
                                         advisor documents (0.1); review
                                         memo on BDO valuations and emails
                                         regarding same (0.5); review and
                                         analysis of email from Silicon Valley
                                         Accountants and emails regarding
                                         same (0.2); review Microsoft Office
                                         365 search parameters (0.1);
                                         teleconference with O. Yeffet and K.
                                         Sullivan regarding financial advisor
                                         documents (0.1); review Alvarez &
                                         Marsal memo on Redwood Valuation
                                         financial consultant (0.7).

07/25/23       CM                        Research regarding target interview                                                                  1.20      610.20
                                         inquiries (0.8); prepare response
                                         regarding target interview inquiries
                                         (0.4).

07/25/23       WAB                       Steering committee call (1.2); board                                                                 3.10     5,942.70
                                         call (0.9); call regarding law firm
                                         investigation (1.0).

07/25/23       SNR                       Address various issues re:                                                                           1.30     2,070.90
                                         professional investigations report and
                                         review material re: same (1.3).

07/25/23       KL                        Review developments in DOJ case                                                                      0.10      159.30
                                         (.1).

07/26/23       GC2                       Analyze documents and develop                                                                        3.70     2,763.90
                                         memorandum on foreign counsel
                                         (3.7).

07/26/23       APA                       Prepare for and attend call with                                                                     1.30     1,872.00
                                         SVA’s counsel and UCC regarding
                                         documents and Rule 2004 motion
                                         (1.1); revise email to SVA (0.2).

07/26/23       NI1                       Review interview documentation for                                                                   2.60     3,053.70
                                         counsel conflicts investigation (0.2);
                                         correspond with team regarding
                                         same (0.1); analyze invoices and

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                                         engagement letters in connection
                                         with counsel conflicts investigation
                                         (1.5); prepare interview questions
                                         based on same (0.8).

07/26/23       JB11                      Review and analyze documents                                                                         6.10     4,556.70
                                         relating to FTX Group trading
                                         business and ventures (0.5); Review
                                         and analyze documents relating to
                                         potential claims against family target
                                         and relating to donation recipients
                                         (4.2); Review and revise memo re
                                         professional groups (1.4).

07/26/23       KL                        Prepare for interview of former                                                                      1.20     1,911.60
                                         employee (.2); lead witness interview
                                         (.9); discuss interview with S.
                                         Williamson (.1).

07/26/23       KS7                       Interview former employee with K.                                                                    2.00     1,809.00
                                         Lemire and S. Williamson (.9); Revise
                                         memorandum of interview (1.1).

07/26/23       ET3                       Compiling documents for reference                                                                    1.10      559.35
                                         in investigatory report on third party
                                         professional service providers (1.1).

07/26/23       AN4                       Revise memorandum regarding                                                                          2.30     1,718.10
                                         outside counsel investigation (2.3).

07/26/23       JR9                       Review and revised interview outline                                                               10.00      7,470.00
                                         for witness interview in connection
                                         with law firm investigation (10).

07/26/23       KJS                       Research re confidentiality issues re                                                                0.80     1,533.60
                                         professionals investigation (0.8).

07/26/23       KJS                       Analyze documents re preparation of                                                                  0.60     1,150.20
                                         professionals’ investigation report
                                         (0.6).

07/26/23       MS11                      Prepare for interview of Jacob                                                                       5.30     6,988.05
                                         attorney in connection with law firm
                                         investigation (.6); attend interview of
                                         Jacob attorney in connection with law
                                         firm investigation (.8); review draft
                                         memo and exchange emails
                                         regarding same (1.5); prepare for 8/1
                                         PPT presentation reporting final
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                                         findings on law firm investigation
                                         (2.4).

07/26/23       SGW                       Email correspondence with KLemire                                                                    1.90      3,642.30
                                         regarding former employee
                                         interviews and workplan (.3);
                                         prepare for and participate in
                                         continuation of former employee
                                         interview (.9); review revisions to
                                         draft professional services firms
                                         investigative reports (.7).

07/26/23       KW5                       Prepare for and attend witness                                                                       7.20      6,058.80
                                         interview in counsel conflicts
                                         investigation (1.8); prepare summary
                                         of witness interview and confer with
                                         QE team regarding same (0.4);
                                         prepare materials and outline for
                                         presentation for counsel conflicts
                                         investigation (5.0).

07/26/23       RZ                        Prepare for and attend witness                                                                       8.70     12,528.00
                                         interviews in connection with law
                                         firm investigation (8.7).

07/26/23       JG1                       Prepare for interviews in counsel                                                                  10.50      12,757.50
                                         conflicts investigation (5); Conduct
                                         interview in counsel conflict
                                         investigation (.8); Draft interview
                                         outlines for witness interviews in
                                         counsel conflicts investigation (3.8);
                                         Draft investigation report for counsel
                                         conflicts investigation (.9).

07/26/23       SNR                       Address strategy re: professionals                                                                   2.20      3,504.60
                                         investigations report and various
                                         communications re: same (2.2).

07/26/23       WAB                       Call with JR regarding advisors                                                                      1.40      2,683.80
                                         investigatory report (0.6); review and
                                         analysis of communications re
                                         Bahamian litigation (0.8).

07/27/23       NI1                       Revise interview outlines for counsel                                                                2.80      3,288.60
                                         conflicts investigation (1.9); analyze
                                         documents in connection with same
                                         (0.5); confer with J. Furness regarding


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                                         witness interviews for counsel
                                         conflicts investigation (0.4).

07/27/23       APA                       Emails to and from J. Palmerson, S.                                                                  0.90     1,296.00
                                         Rand and O. Yeffet regarding emails
                                         to SVA, Silvergate and Evolve Bank
                                         (0.3); emails to and from financial
                                         consultant’s counsel regarding
                                         document requests (0.1);
                                         teleconference with J. Palmerson
                                         regarding Evolve Bank and Silvergate
                                         Bank (0.2); teleconference with
                                         Silvergate, S. Rand, J. Palmerson and
                                         Paul Hastings (0.3).

07/27/23       GC2                       Analyze documents and develop                                                                        3.90     2,913.30
                                         memorandum regarding foreign
                                         counsel (3.9).

07/27/23       JY1                       Conference and review materials to                                                                   1.20     1,420.20
                                         support insider memo (1.2).

07/27/23       KJS                       Exchange correspondence with                                                                         0.40      766.80
                                         Anthony Alden re preparation of
                                         professionals’ investigatory report
                                         (0.4).

07/27/23       CM                        Research regarding target                                                                            1.90      966.15
                                         involvement (1.3); correspondences
                                         to team regarding target involvement
                                         (0.3); correspondence to O. Yeffet
                                         regarding law firm involvement (0.1);
                                         correspondence to J. Robbins and B.
                                         Carroll regarding target involvement
                                         (0.1); correspondence to J. Boxer
                                         regarding target involvement (0.1).

07/27/23       MS11                      Prepare for and attend attorney                                                                      3.90     5,142.15
                                         interview in connection with law firm
                                         investigation (1); review and revise
                                         attorney interview outline and
                                         review corresponding exhibits (1.6);
                                         prepare for and attend attorney
                                         interview in connection with law firm
                                         investigation (.9); prepare for and
                                         attend part of J. attorney interview in
                                         connection with law firm
                                         investigation (.4).
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07/27/23       JR9                       Review and revised outlines for                                                                      5.70      4,257.90
                                         witness interviews in connection with
                                         law firm investigation (5.7).

07/27/23       KW5                       Review and revise presentation for                                                                 11.60       9,761.40
                                         counsel conflicts investigation (0.8);
                                         review documents to prepare for
                                         witness interviews in counsel
                                         conflicts investigation (0.4); review
                                         and revise summary of investigative
                                         diligence for counsel conflicts
                                         investigation (0.7); prepare for and
                                         attend multiple witness interviews in
                                         counsel conflicts investigation and
                                         confer with J. Gindin and R. Zink
                                         regarding same (9.7).

07/27/23       JG1                       Prepare for interviews in counsel                                                                  10.20      12,393.00
                                         conflicts investigation (5.6); Conduct
                                         interview in counsel conflicts
                                         investigation (.9); Participate in
                                         interviews in counsel conflicts
                                         investigation (1.1); draft investigation
                                         report for counsel conflicts
                                         investigation (2.6).

07/27/23       AN4                       Revise memorandum regarding                                                                          3.60      2,689.20
                                         outside counsel investigation (3.6).

07/27/23       JB11                      Review and analyze documents                                                                         6.50      4,855.50
                                         relating to potential claims against
                                         family target and relating to donation
                                         recipients (6.5).

07/27/23       SNR                       Attend Silvergate M/C re: discovery                                                                  4.70      7,487.10
                                         motion (0.3); review and revise
                                         professional investigations report and
                                         related materials and address various
                                         issues re: same (4.4).

07/27/23       WAB                       Call with JR regarding law firm                                                                      1.00      1,917.00
                                         review and other advisor review
                                         (1.0).

07/27/23       RZ                        Prepare for and participate in witness                                                               9.70     13,968.00
                                         interviews (in connection with law
                                         firm investigation (7.2); draft report
                                         of investigation (2.5).

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07/28/23       APA                       Emails to and from J. Palmerson                                                                      0.70      1,008.00
                                         regarding Evolve Bank (0.1); review
                                         and analysis of email from Deloitte
                                         regarding documents (0.1);
                                         teleconference with Evolve Bank and
                                         J. Palmerson regarding documents
                                         (0.4); review and revise email to
                                         Evolve Bank (0.1).

07/28/23       TCM                       Weekly investigations teams call (.3).                                                               0.30       364.50

07/28/23       OBY                       FTX investigation leadership meeting                                                                 0.30       271.35
                                         (.3).

07/28/23       NI1                       Revise interview questions in                                                                        2.30      2,701.35
                                         connection with counsel conflicts
                                         investigation (0.4); interview
                                         witnesses for same (1.9).

07/28/23       KS7                       Work with vendor to access 2004                                                                      0.60       542.70
                                         download of materials and arrange
                                         upload into our system re: same (.6).

07/28/23       AN4                       Revise memorandum on outside                                                                         6.70      5,004.90
                                         counsel investigation (6.7).

07/28/23       JB11                      Review and analyze documents                                                                         3.60      2,689.20
                                         relating to potential claims against
                                         family target and relating to donation
                                         recipients (3.6).

07/28/23       CM                        Correspondence to team regarding                                                                     0.20       101.70
                                         target involvement (0.1);
                                         correspondence to J. Boxer regarding
                                         target involvement (0.1).

07/28/23       SGW                       Review document production from                                                                      0.60      1,150.20
                                         law firm 2004 recipient (.6).

07/28/23       MS11                      Prepare for attorney interview in                                                                    7.80     10,284.30
                                         connection with law firm
                                         investigation (.8); conduct attorney
                                         interview in connection with law firm
                                         investigation (1.3); prepare for
                                         additional attorney interview in
                                         connection with law firm
                                         investigation (1.5); conduct additional
                                         attorney interview in connection with
                                         law firm investigation (.8); draft and
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                                         edit final investigative report (3.2);
                                         exchange emails and calls with law
                                         firm counsel about interviews and
                                         Signal files (.2).

07/28/23       RZ                        Draft report of law firm investigation                                                               9.50     13,680.00
                                         (8.5); prepare for and participate in
                                         witness interview in connection with
                                         law firm investigation (2).

07/28/23       JR9                       Review and revised outlines for                                                                    10.70       7,992.90
                                         witness interviews re law firm
                                         investigation (3.9); witness interview
                                         (1.1); witness interview (1); prepared
                                         witness interview memorandum and
                                         corresponding notes (4.7).

07/28/23       KL                        Internal investigation team meeting                                                                  0.60       955.80
                                         (.3); tcs T. Murray re memos on
                                         subjects of interest (.3).

07/28/23       WAB                       Review advisors investigatory report                                                                 5.50     10,543.50
                                         (3.0); call with JR regarding same
                                         (0.6); review and analyze docs re
                                         Bahamian litigation and corr with
                                         client and partners re same (1.9).

07/28/23       JY1                       Weekly team meeting (.3); review                                                                     1.10      1,301.85
                                         materials and correspondence to
                                         support insider memo (.8).

07/28/23       KW5                       Review and revise report for counsel                                                                 8.50      7,152.75
                                         conflicts investigation and confer
                                         with R. Zink and M. Shaheen
                                         regarding same (5.9); review invoices,
                                         engagement letters, and matter
                                         descriptions to analyze advice
                                         rendered for counsel conflicts
                                         investigation (0.9); prepare
                                         summaries of witness interviews in
                                         counsel conflicts investigation and
                                         confer with QE team regarding same
                                         (1.4); confer with document review
                                         vendor and QE team regarding
                                         documents for review in counsel
                                         conflicts investigation (0.3).



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07/29/23       APA                       Emails to and from Silvergate Bank,                                                                  0.20       288.00
                                         S. Rand and J. Palmerson regarding
                                         2004 requests (0.2).

07/29/23       MS11                      Draft and revise Final Report on law                                                               11.20      14,767.20
                                         firm investigation (11.2).

07/29/23       JG1                       Review and revise investigation                                                                      1.10      1,336.50
                                         report for counsel conflicts
                                         investigation (1.1).

07/29/23       RZ                        Draft report of law firm investigation                                                             10.00      14,400.00
                                         (10).

07/29/23       JR9                       Correspondence re: targeted searches                                                                 0.20       149.40
                                         document review (.1); reviewed
                                         targeted search documents (.1).

07/29/23       KJS                       Exchange correspondence with                                                                         0.70      1,341.90
                                         Anthony Alden re preparation of
                                         professionals’ investigative report
                                         and research re same (0.7).

07/29/23       KW5                       Review and revise report for counsel                                                               13.00      10,939.50
                                         conflicts investigation and confer
                                         with R. Zink and M. Shaheen
                                         regarding same (10.3); review
                                         documents for counsel conflicts
                                         investigation (1.9); prepare source
                                         materials for report in counsel
                                         conflicts investigation (0.8).

07/29/23       SNR                       Review and revise professionals                                                                      5.20      8,283.60
                                         investigative report and various
                                         communications re: same (5.2).

07/30/23       APA                       Emails to and from Silvergate Bank,                                                                  0.90      1,296.00
                                         S. Rand and J. Palmerson (0.2); emails
                                         to and from J. Palmerson regarding
                                         text search protocol for Silicon Valley
                                         Accountants (0.2); emails to and from
                                         J. Palmerson regarding Paysafe and
                                         Wells Fargo (0.2); review and analysis
                                         of email from Wells Fargo regarding
                                         Rule 2004 request (0.2); emails to and
                                         from Counsel for financial consultant
                                         regarding documents (0.1).



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07/30/23       SGW                       Review draft investigative report                                                                    1.70      3,258.90
                                         regarding professional service firms
                                         (.8); review draft memos regarding
                                         insiders (.6); review board plans/
                                         docs (.3).

07/30/23       MS11                      Draft and revise Final Report on law                                                                 7.90     10,416.15
                                         firm investigation (7.9).

07/30/23       JR9                       Review and analysis of targeted                                                                      2.10      1,568.70
                                         search documents (2.1).

07/30/23       WAB                       Review law firm investigation report                                                                 3.40      6,517.80
                                         (1.2); calls regarding finalizing
                                         advisors investigatory report (1.4);
                                         calls with JR regarding same (0.8).

07/30/23       RZ                        Draft and finalize report of law firm                                                              12.00      17,280.00
                                         investigation (12).

07/30/23       KJS                       Revise professionals’ investigative                                                                  1.20      2,300.40
                                         report and exchange correspondence
                                         with QE team re same (1.2).

07/30/23       KJS                       Attend call with Anthony Alden,                                                                      0.30       575.10
                                         Sascha Rand, and Marina Lev re
                                         professionals investigative report
                                         (0.3).

07/30/23       KJS                       Attend call with Bill Burck, Anthony                                                                 0.40       766.80
                                         Alden, Sascha Rand, and Marina Lev
                                         re professionals investigative report
                                         and confidentiality issues (0.4).

07/30/23       KW5                       Review and revise report for counsel                                                                 8.10      6,816.15
                                         conflicts investigation and confer
                                         with R. Zink and M. Shaheen
                                         regarding same (8.1).

07/30/23       SNR                       Review and revise professionals                                                                      4.70      7,487.10
                                         investigative report and various t/c
                                         re: same w/ W. Burck, A. Alden, M.
                                         Lev (4.7).

07/31/23       AG3                       Perform legal research into potential                                                                5.40      4,033.80
                                         claims against family target (4.8);
                                         prepare summary of same (.6).

07/31/23       MS11                      Revise and Finalize investigative                                                                    5.60      7,383.60
                                         report (4.9); review Signal
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                                         communications and corresponding
                                         interview memos (.7).

07/31/23       NI1                       Review draft report of counsel                                                                       0.50      587.25
                                         conflicts investigation (0.2);
                                         conference regarding same (0.3).

07/31/23       GC2                       Analyze documents and develop                                                                        0.90      672.30
                                         memorandum on foreign counsel
                                         (0.90).

07/31/23       SGW                       Review/ edit draft memos regarding                                                                   2.30     4,409.10
                                         insiders (.6); telephone conference
                                         with KLemire (.2); review draft
                                         investigative report regarding
                                         professional service firms (.6); email
                                         correspondence with SRand,
                                         KLemire, TMurray and WSears
                                         regarding insiders memo (.5); email
                                         correspondence with SWheeler from
                                         S&C and review asset recovery/
                                         avoidance action summary (.3);
                                         review production from law firm
                                         2004 recipient (.3).

07/31/23       APA                       Review and analysis of emails                                                                        0.20      288.00
                                         regarding law firm payment (0.2).

07/31/23       JR9                       Conference regarding counsel                                                                         4.20     3,137.40
                                         conflicts investigation (.3); review
                                         and revised interview memorandum
                                         (3.7); email memorandum re: counsel
                                         conflicts media sources (.2).

07/31/23       KW5                       Review and revise report for counsel                                                               11.20      9,424.80
                                         conflicts investigation and confer
                                         with R. Zink and M. Shaheen
                                         regarding same (3.9); conference
                                         regarding counsel conflicts
                                         investigation (0.3); prepare source
                                         materials for board presentation in
                                         counsel conflicts investigation (1.1);
                                         review and revise board presentation
                                         for counsel conflicts investigation and
                                         confer with R. Zink regarding same
                                         (5.3); review and revise interview
                                         memorandum for counsel conflicts
                                         investigation (0.6).
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07/31/23       RZ                        Participate in conference call with                                                                  5.80         8,352.00
                                         team members re: investigative
                                         updates and status (.3); draft deck for
                                         board presentation (5.5).

07/31/23       AC7                       Prepare memorandum re                                                                                0.50          373.50
                                         investigation target (0.5).

07/31/23       WAB                       Finalizing advisor investigatory                                                                     2.20         4,217.40
                                         reports (2.2).

07/31/23       KJS                       Review final insider investigatory                                                                   0.70         1,341.90
                                         memos and exchange
                                         correspondence with QE team re
                                         same (0.7).

07/31/23       SNR                       Review and revise professionals                                                                      5.10         8,124.30
                                         investigative report and numerous
                                         calls re: same (4.7); address issues re:
                                         law firm investigation (0.4).

07/31/23       JG1                       Review and revise investigation                                                                      8.20         9,963.00
                                         report for counsel conflicts
                                         investigation (.6); Conference
                                         regarding counsel conflicts
                                         investigation (.3); Review slide deck
                                         for counsel conflicts investigation (.7);
                                         Draft interview memoranda for
                                         counsel conflicts investigation (6.6).

07/31/23       KJS                       Attend QE call re preparation for                                                                    0.60         1,150.20
                                         John Ray call (0.6).

07/31/23       KJS                       Confer with John Ray re                                                                              0.80         1,533.60
                                         investigatory reports, Bahamas
                                         litigation, and insider claims (0.8).

                                                                                  SUBTOTAL                                             1,463.00        1,591,674.30

09 Non-working travel


07/18/23       JR9                       Travel to DC for witness prep (3.6).                                                                 3.60         2,689.20

07/19/23       JR9                       Travel to DC (.7).                                                                                   0.70          522.90

07/20/23       JR9                       Return travel from witness interview                                                                 0.30          224.10
                                         prep (3).

                                                                                  SUBTOTAL                                                    4.60         3,436.20
              Abu Dhabi | Atlanta | Austin | Beijing | Berlin | Boston | Brussels | Chicago | Dallas | Doha | Hamburg | Hong Kong | Houston | London
                       Los Angeles | Mannheim | Miami | Munich | Neuilly La Défense | New York | Paris | Perth | Riyadh | Salt Lake City
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                                                                    Fee Summary

Attorneys                            Init.             Title                                             Hours                     Rate                  Amount
K. John Shaffer                      KJS               Partner                                           112.20                 1,917.00               215,087.40
William A. Burck                     WAB               Partner                                            41.40                 1,917.00                79,363.80
Richard East                         RCE               Partner                                             4.00                 1,917.00                 7,668.00
Sam Williamson                       SGW               Partner                                            61.10                 1,917.00               117,128.70
Jonathan Pickhardt                   JEP               Partner                                            44.60                 1,593.00                71,047.80
Sascha Rand                          SNR               Partner                                           170.80                 1,593.00               272,084.40
Katherine Lemire                     KL                Partner                                           109.20                 1,593.00               173,955.60
Anthony Alden                        APA               Partner                                            77.40                 1,440.00               111,456.00
Benjamin Finestone                   BF1               Partner                                             9.40                 1,440.00                13,536.00
Isaac Nesser                         IN                Partner                                            26.30                 1,440.00                37,872.00
Robert Zink                          RZ                Partner                                           147.90                 1,440.00               212,976.00
Eric D. Winston                      EDW               Partner                                             5.00                 1,440.00                 7,200.00
Alex Nelder                          AN3               Associate                                          26.60                 1,336.50                35,550.90
Matthew R. Scheck                    MRS               Partner                                           155.10                 1,318.50               204,499.35
Michael Shaheen                      MS11              Partner                                           151.80                 1,318.50               200,148.30
Emily Kapur                          EK                Partner                                           110.40                 1,246.50               137,613.60
William Sears                        WS1               Partner                                            12.20                 1,246.50                15,207.30
Blair Adams                          BA1               Partner                                             0.50                 1,246.50                   623.25
Tyler Murray                         TCM               Counsel                                           143.60                 1,215.00               174,474.00
Jennifer Gindin                      JG1               Counsel                                           121.60                 1,215.00               147,744.00
Andrew Kutscher                      AK2               Counsel                                           166.90                 1,215.00               202,783.50
K. McKenzie Anderson                 KMA               Counsel                                           129.00                 1,215.00               156,735.00
Marina E. Lev                        MEO               Counsel                                           146.70                 1,215.00               178,240.50
Kurt Wolfe                           KW                Counsel                                            26.80                 1,215.00                32,562.00
Justine Young                        JY1               Associate                                          77.40                 1,183.50                91,602.90
Anil Makhijani                       AM0               Associate                                          83.40                 1,183.50                98,703.90
Ben Odell                            BO1               Associate                                           4.70                 1,183.50                 5,562.45
Nicholas Inns                        NI1               Associate                                          45.50                 1,174.50                53,439.75
Jaclyn Palmerson                     JP                Associate                                          81.50                 1,143.00                93,154.50
Ari Roytenberg                       AR0               Associate                                           0.50                 1,143.00                   571.50
Andrew Sutton                        AS2               Associate                                          87.40                 1,143.00                99,898.20
Max Meadows                          MM2               Associate                                          23.40                 1,107.00                25,903.80
Jared Dummitt                        JD4               Associate                                          50.70                 1,048.50                53,158.95
Peter Collins                        PC2               Associate                                          35.30                 1,048.50                37,012.05
Kelsey Sullivan                      KS7               Associate                                          66.60                   904.50                60,239.70
Olivia Yeffet                        OBY               Associate                                          69.10                   904.50                62,500.95
Sara Turk                            ST4               Associate*                                          3.80                   904.50                 3,437.10
Cameron Kelly                        CK5               Associate                                          41.60                   904.50                37,627.20
Natalie Huh                          NH2               Associate                                          65.90                   904.50                59,606.55
Jeffery Arnier                       JA6               Associate                                          13.60                   841.50                11,444.40
Tanmayi Sharma                       TS4               Associate                                          11.30                   841.50                 9,508.95
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Sydney Snower                         SS7               Associate                                         102.00                    841.50               85,833.00
Sophie Hill                           SH6               Associate                                         183.90                    841.50              154,751.85
Kiersten Whitfield                    KW5               Associate                                         159.60                    841.50              134,303.40
Mark Fuchs                            MF6               Associate                                          77.50                    841.50               65,216.25
Jeffrey Boxer                         JB11              Associate                                          88.40                    747.00               66,034.80
Jack Robbins                          JR9               Associate                                         177.60                    747.00              132,667.20
Arielle Gerber                        AG3               Associate                                          83.80                    747.00               62,598.60
Gavin Coyle                           GC2               Associate                                          32.60                    747.00               24,352.20
Marissa Smith                         MS1               Associate                                          32.00                    747.00               23,904.00
Adelyn Curran                         AC7               Associate                                          12.60                    747.00                9,412.20
Ben Carroll                           BC6               Associate                                          23.80                    747.00               17,778.60
Angela Nelson                         AN4               Associate                                          56.60                    747.00               42,280.20
Michael Wittmann                      MW2               Associate                                          32.90                    747.00               24,576.30
Destiny Rose Murphy                   DRM               Associate                                          27.20                    747.00               20,318.40
Cara Mund                             CM                Law Clerk                                          81.00                    508.50               41,188.50
Jonathan Abrams                       JA4               Law Clerk                                          22.00                    508.50               11,187.00
Elijah Turner                         ET3               Law Clerk                                          16.90                    508.50                8,593.65
Todd Riegler                          TR2               Attorney                                            1.10                    445.50                  490.05
John Volpe                            JV1               Attorney                                            9.00                    445.50                4,009.50

Case Assistants                       Init.             Title                                             Hours                      Rate                Amount
Connie Kim                            CK                Paralegal                                          3.50                     432.00               1,512.00
Michael Guerrero                      MG2               Paralegal                                          0.30                     432.00                 129.60
                                                            * Admitted to practice by at least one state bar; not admitted to practice in state where officed.



                                                                 Expense Summary

Description                                                                                                                                              Amount

Meals during travel                                                                                                                                          17.33

Lexis Courtlink - Off Contract                                                                                                                               26.60

Express mail                                                                                                                                                 85.32

Online Research                                                                                                                                            184.00

Local business travel                                                                                                                                        61.59

Document Reproduction                                             0.10                                                                                     274.70

Travel                                                                                                                                                     759.00

Color Document Reproduction                                       0.40                                                                                     317.20

Word processing                                                                                                                                               0.00

Hotel                                                                                                                                                      759.48

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Description                                                                                                                                              Amount

Service of process                                                                                                                                         -225.00

Out-of-Town Travel                                                                                                                                           67.07

Air travel                                                                                                                                                 921.91

Document Services                                                                                                                                         6,778.16

Local meals                                                                                                                                                   0.00

PACER Services                                                                                                                                                0.00

                                                                           Total Expenses                                                               $10,027.36




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                              San Francisco | Seattle | Shanghai | Silicon Valley | Stuttgart | Sydney | Tokyo | Washington DC | Zurich
